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                              R    E    P O R      T
                                              VOLUME
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                                  TRIAL      COURT          CAUSE NO.         48950-D

       THE   STATE    OF TEXAS                                          IN   THE    320TH       DISTRICT         COURT



       vs.                                                              IN AND      FOR



       TRAVIS   TREVINO       RUNNELS                                   POTTER      COUNTY        TEXAS




                                             TRIAL       ON THE        MERITS

                                              OCTOBER          26       2005


                                                                                           FILED            IN
                                                                                     COURT OF    CRIMINAL   APPEALS

                                                                                            MAY 0 2 2005


                                                                                     Louise
                                                                                                Pearson     Clerk




                              On       the   26th       day   of       October 2005             the    following

      proceedings       came       on to      be heard          in the        above-entitled and

      numbered       cause    before         the       Honorable        Don       Emerson Judge

      Presiding        held       in Amarillo               Potter      County Texas

                              Proceedings               reported        by Machine          Shorthand.




                                                                                         ORIGINAL
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                                                                                     2



                               A-P-P-E-A-R-A-N-C-E-S

       FOR   THE   STATE                  MR.   RANDALL SIMS
                                          SBOT    18426650
                                          MR. JAMES ALLEN YONTZ
                                          SBOT    24044106
                                          MR. JOHN L. JACK OWEN
                                          SBOT    15369200
                                          47th District Attorneys Office
                                          501 Fillmore Suite 5-A
                                          Amarillo Texas             79101



       FOR   THE   DEFENDANT              MR.   JAMES D. DURHAM
                                          SBOT     06284000
                                          Attorney at Law
                                          1008 W.      10th
                                          Amarillo       Texas       79101



                                          MS.   LAURA     D.    HAMILTON
                                          SBOT      20016450
                                          Attorney      at     Law
                                          215 W.    7th
                                          Amarillo        Texas      79101
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       Proceedings      ---------------------------------------------
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       Jury Sworn ----------------------------------------------
                                                           4


       Defendants       Plea     ----------------------------------------
                                                                     8


       States Opening          Statement   -------------------------------
                                                                       21


       STATES WITNESSES                     DX    CX        RDX      RCX      VDX

       CATHERINE    NALL                    24


       SRIDHAR    NATARAJAN       M.D.      26    42


      BUD    WILLIAMS      JR.              52    65         76          78
                                                             82          83


      WILLIAM GILCHRIST                     84   111


      JIMMY    JORDAN                      124   136        158      159
                                                            163      1   64


      WILLIAM ELKINS                       165   178        192      196
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      TONY    IRVINE                       199   213                          202
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                                           DX       CX     RDX       RCX      VDX

       Elkins       William               165     178       192      196
                                                            198


       Gilchrist       William             84     111


       Irvine       Tony                  199     213                         202
                                          202


       Johnson       Eugene               216     224


       Jordan       Jimmy                 124     136      158       159
                                                           163       1   64


       Nall       Catherine                24


       Natarajan       M.D.     Sridhar    26      42


       Williams       Jr. Bud              52      65          76        78
                                                               82        83


       Yow       Phillip                  231     242



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       EXHIBIT
       NUMBER          DESCRIPTION                              OFFERED             ADMITTED


       Sx.   1        Photo   of Stanley        Allen    Wiley       25                 25


       Sx.   36       Diagram   of neck                              41                 41
                      used to   describe
                      injuries

       Sx.   37       Diagram   of neck                              41                 41


       Sx.   51       Photograph     of knives                      105                105
 --3
THE STATE OF TEXAS




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                                       Multi-Page
   Case 2:12-cv-00074-D-BR Document 84-2 Filed 01/17/13
vs. TRAVIS TREVINO RUNNELS




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                                                     PROCEEDINGS

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                                                                                                    of Corrections




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                                                                                                                                                                                            Gary




                                                                                                                                                                               were not going



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                                                                                                                                                                                   will
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                                                                                                                                                                                                     the indictment
                                                                                                                                                                                                                     TRIAL ON THE MERITS
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                                                                                                                                                                                                                      some

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                                                                                                                                                                                                                of take pride
                                                                                                                                                                                                                                      things


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                                                                                                                                                                                                                                          read.
                                                                                                                                                                                                                                                    in
                                                                                                                                                                                                                                                         with me.




                                                                                                                                                                                                                                                    for you.

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                                                                                                                                                                                                                                                                                                     Thats



                                                                                                                                                                                                                                                                                                 morning
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                                                                                                                                                                                                                                                                                                               say
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                                                                                                                                                                                                                                                                                                                    get
                                                                                                                                                                                                                                                                                                                            Page    5




11                                MR.         DURHAM A                               trial      amendment                  after         we pick                    11   completion              of the indictment being read                                              we         will       take the

                                                                                                                                                                    12   defendants                formal plea                                                                                  in
12       the    jury       three          years       after the             alleged             crime           two years                   after                                                                             to the            charge contained                                     the


13       the    indictment                     We     cannot agree on that                                   Your Honor.                         We     move        13   indictment.               After that               Ill       swear              as    many              of    the       jurors

14       that                                    to   trial     on      the          indictment                that       was                                       14   sic who            are here            in    the hallway                        and present                   at this            time as
                 they proceed

15       returned.                                                                                                                                                  15   a group          so   I   wont          have         to      do       it
                                                                                                                                                                                                                                                        individually.


16                                MR.         OWEN                   Thats fine Your Honor.                                         We           were               16                         MR.         DURHAM                          Pardon                 me.           You mean                   the


17                                to     save     some time                 in the           presentation.                                                          17   witnesses
         just    trying


18                                THE COURT                           Well maybe saving time would have                                                             18                         THE COURT                              What did                    I   say

19       been     easier            if    we    had       indicted              it   to    begin            with.                                                   19                         MR.         DURHAM                          The           jurors.


20                                Okay.           Bring         the     jury           in.                                                                          20                         THE COURT                              No            I   just       swore          them.

21                                Jury          enters      the       courtroom                                                                                     21                         MR.         DURHAM                          I    thought                you       did.           I    was

22                                THE COURT                           Well we                   are      all                       here                             22   wondering             if   we      were        going             to    have           a      shadow jury or something.
                                                                                                               finally


23       together.            Thank             you       for   being with                   us.         The       first thing               I                      23                         THE COURT                              Okay.                  Well as long as Mr. Durham

24       need     to     do       this        morning           is    swear            you       in      as    jurors.             If   youll                       24   is    here       hes going             to    keep         me on my toes                            with           the       words           that


25       each                       raise                               hands.                                                                                      25   I    use.       The witnesses                 is    who          Ill           swear          as a       group and                     that
                  please                        your       right



                                                                                                                                                         Page   4                                                                                                                                                           Page 6

 1                                Jury panel sworn                                                                                                                   I
                                                                                                                                                                         way we dont have                        to     do       it    individually.


 2                                THE COURT                           Okay.               You have some                            instructions                      2                         After that then                        I   will           remove             all the


 3       there.      Those              are your           rules        of      the       road         to    operate           by during                             3   witnesses          who were                 sworn            from              the    courtroom                    and have                 them    wait


                                                                                     you know one copy                                                               4                                                                 in the
 4       the    trial    of       this case.              Theres             --                                                         is                               in the         hallway or elsewhere                                              building.


                                                                                                                          But theres                                 5                         The attorneys                     will      have              an       opportunity                    to    make
                                                            you cant
 5       laminated.                                                                    fold        that
                                    Obviously                                                                  up.

                                         that                                                fold               and                      with you.                   6   opening          argument              to    you.            Opening                  argument                is       not       --
                                                                                                                                                                                                                                                                                                               actually
 6       another         copy                    you can              certainly                          up                keep

                                  The important                                   about                                                                              7        should       call                              statement.                      Its not intended                             to   be
 7                                                                   thing                       these         badges          you have                                  I                          it    opening

                                                                     those on                            times                                                       8                      in     the case            its       more intended                             to    be an outline of
 8       is   that   I   need            you     to   keep                                at     all                  that         youre                                 argument

 9       in the      courthouse.                     No one would                       intentionally                 say anything                      in           9   how         the presentation of the evidence                                             will      go how                   the

                                                                                                 knew you were                                                      10   witnesses          will         come         forth        to testify                  perhaps                by name but an
         your presence about                                    case                                                                    a juror
                                                      this                   if
10                                                                                   they

                                                                                                                                                                                                   will    be given              whether                  theyre            going           to       proceed
                                              you dont have                                              on
                                                                                  a badge                                                                           11
11       but    if   they
                                  --    if                                                                     they might not                                            explanation

12       know.           We               ride             in the        same             two       elevators              together                                 12   kind of chronologically                             or whether                       things            will       be a       little        bit
                                    all              up

13                      those of us               who choose                    to     walk                   the    stairs.            I    dont                   13   mixed up and out of order so                                          that       you         can        better          understand
         except                                                                                       up

14       know                                                                   think           there                some           that         do                 14   the       nature of        how         the    case           will      progress.
                     any of those folks but                                                                  are
                                                                            I



                                                                                                                if                                                  15                         Neither          side        is   under              an        obligation               to       make an
15       that but          the         rest    of us       ride       the       elevator.                So          youll           keep

                                                                                                                                                                    16   opening          statement              but they normally                                 do.          The        State          normally
16       those       on       I   would          certainly             appreciate                  it.




                                                                       various times while                                we       were                             17   makes an opening                       statement                 first          because                the    burden              of proof
17                                As      I   told    you       at


18       selecting            the      jury      in this        case         we        will        work from about                                                  18   is    always       on      them as we discussed.

                                                                                          five     oclock.                Well take an                              19                         The defendant                     may            choose                to   make an opening
19       nine oclock                   each      day       until       about

20       hour and             15 minutes                  or so       for       lunch           each         day.         We        will try            to          20   statement          or     may          choose           to    wait             until         the   State           has concluded

                                                                                                                      and                                           21         presentation of evidence                                and          then          make an opening
                                          major break                                                                              one during
                                                                                          the                                                                            its
21       take only one                                                during                     morning

                                                                                                                                                                    22   statement.            Thats completely up                                      to    them          and        I    havent asked
22       the    afternoon                 and well              just    move through                           this       case      as

23       quickly         and expeditiously as                               we        possibly can.                                                                 23   and       they havent              told       me as              to    what           they intend                      to   do        about

                                                                                                                                                                    24   that.       Thats the next thing                             that       will         happen                  if   it   does.
24                                There         may       be     things              that      come up and                     I
                                                                                                                                   may           need


25             remove                     from        the       courtroom                    for    other reasons                       so   that       the         25                         After that well                         begin             the      presentation of the
         to                       you

320TH DISTRICT COURT
                                                                                                                                                                                                                                                                                                                       -
                                                                                                                                                                                                                                                                                                 Page            3          Page    6

POTTER COUNTY TEXAS
THE STATE OF TEXAS                      Multi-PageT                                                                                                                                         TRIAL ON THE MERITS
vs. Case 2:12-cv-00074-D-BR
     TRAVIS  TREVINO RUNNELSDocument 84-2 Filed 01/17/13                                                                                                                          Page 6 of 67 PageID 2688 26 2005
                                                                                                                                                                                                OCTOBER
                                                                                                                      Page       7                                                                                                                                                  Page 9
     1   evidence.          Well       just     start     going       through           the witnesses                one by               1                           THE COURT                             That        instruction            will      preclude               them

     2   one and see where we go.                                                                                                     2       from        even        having         the opportunity                      to    consider whether                      the       State

     3                      Okay.        All    right.      Mr. Runnels                   if   you would                              3       has met           its    burden             of proof.           Your plea of                  guilty           in this


     4   please      stand     for the indictment                    to   be read.                                                    4       case        --   and     this       doesnt          differ          from any               other        criminal

     5                      Mr. Sims           if   you would             read      the      indictment                               5       case        --   will     be    all    the evidence                  thats        necessary               to    support a

     6   please.                                                                                                                      6       finding of              guilt.        Do you            understand                that

 7                          MR. SIMS                In    the       name and by                the Authority                of        7                               MR. RUNNELS                             Yes            sir.



 8       the State of         Texas                                                                                                   8                               THE COURT                             Even        though           thats true             the       State


 9                          The     Grand Jurors for Potter County Texas                                                              9       no        doubt     will       put     on much of                   the    same evidence                    that       it   would

10       duly organized             and sworn as such                      at the January                 Term A.D.                  10       have        anyway             in    order        to   give     the       jury an idea of what                          this


11       2004      of the District             Court of the 251st                   Judicial District                   in           11       case       is    all    about.         Do you            understand                   that

12       and for Potter County Texas                                upon their oaths                 in that         Court           12                               MR. RUNNELS                             Yes            sir.



13       at   that   term      present that Travis                    Trevino Runnels                      on or about               13                               THE COURT                             But    there        will      not be an             issue of

14       the 29th       day    of   January 2003                    and before the presentment                              of       14       your        guilt      or innocence.                    Do you             understand               that

15       this    indictment in Potter County Texas                                       did       then    and there                 15                               MR. RUNNELS                             Yes            sir.



16       intentionally         or   knowingly cause                       the death           of   an individual                     16                               THE COURT You                                 understand                 that      you        still



17       namely         Stanley        Allen        Wiley by              cutting       Stanley           Allen       Wiley          17       maintain            all   the       rights        and     privileges              that      you         enjoy under

18       with    a   knife and the defendant                         was then           and there                                    18       the       constitution              and laws of the                   State       of Texas               and      of    the




self-23
19       incarcerated          in a penal           institution to-wit                       the   William P.                        19       United           States but the                --      with regard               to   the    jury being                able

20       Clements        Unit of the Texas Department                                   of    Corrections                            20       to    consider guilt/innocence                                stage of          this trial that                 will    not

21       Institutional         Division and                the said Stanley                   Allen Wiley was                        21       be one of           them

22       then    and there employed                      in the operation                of said penal                               22                               You         still    have       the    right against


         institution.                                                                                                                23       incrimination                  you          know.         Youre             not going              to    have      to       testify


24                          Against the peace                  and dignity of the State.                                             24       in this case.                And       I    only       tell
                                                                                                                                                                                                             you        that    because               there    have


25                       It is    signed        by the foreperson                   of the         grand                             25       been        cases       in   the past where                    people have                  said         Well my

                                                                                                                      Page       8                                                                                                                                               Page         10

 1       jury.                                                                                                                        1       entering            a plea           of guilty to the jury                             is    really in effect

 2                       THE COURT                        Mr. Runnels               how do you plead                                  2       testifying               and nobody                     told        me         that    I    didnt           have to do that.

 3       guilty or not         guilty                                                                                                 3                               And         our court of criminal appeals                                              has      said

 4                       MR.        RUNNELS                    I   plead         guilty       Your Honor.                             4       No          thats         not the             case             but        --   under Texas law and the

 5                       THE COURT                        Members of               the       jury     I   will       need             5       United States constitutional                                         law         but        Im telling you                        that

                                                                                   at              time.    Ill                       6       just to give                           a    heads up on                    that.           All     right
 6       you     to step into the jury                   room       please              this                                                                            you

 7       get    you back out here shortly.                                                                                            7                               And youre                      still   going             to be       able         to you              know
 8                                  left   the      courtroom                                                                         8       call       witnesses                of your            own          cross-examine                        witnesses have                     all
                         Jury

 9                       THE COURT                       Mr. Runnels                you have entered                    a             9       the witnesses                   testify in front of you.

10       plea of guilty to the offense charged                                   in the indictment                   before          10                               Nothing              is   going to change in this trial with

                                                         come                                                                                                                      your rights other than the ability of the
                                                                                        at this point            that                11                              all
11       this   jury.       Several       things                    into play                                            I                    regard to                      of

                                                                                                                                                                                                        --                                                                        the
                               with                                                                                                  12       jury to require                     the State                   and your ability to require
12       need to     visit               you about.

13                       First of all because                      this   is     a case       in   which                             13       State to           prove            their case            beyond                 a reasonable                   doubt with

14       the State has indicated                    its   --       that its seeking                the death                         14       regard to              your guilt or innocence.                                       Do you             understand                 what

15       penalty its not a situation where any jury                                           trial   can ever          be           15       Ive        told        you
16       waived.        You      understand              that                                                                        16                               MR.         RUNNELS                          Yes          sir.




17                       MR.        RUNNELS                    Yes        sir.                                                       17                               THE          COURT                     Knowing                 that        your plea of guilty

                                                         And thats                                                                                                                                          to result in                                         found
18                       THE COURT                                                why        the jury      is    here.               18       if    I   receive         that         is    going                                         you being
                                                                                                                                                                                            and knowing                        that the State                                           the
19       However your               --
                                         your plea of guilty before the jury you need                                                19       guilty of this case                                                                                              is     seeking


20       to   understand sir that                   if
                                                         you       persist in that plea                   and    I                   20       death           penalty          in this          case do you really want                                        to     do this

21       find that that plea              is -- is       voluntary           and that you have done                                  21                               MR.         RUNNELS                          Yes          sir.




22       it   with   full     knowledge             of the results of              your plea of guilty                               22                               THE          COURT                     Okay.             The State                is still           going to

23       Ill instruct the jury to return                           in accordance               with       your plea                  23       as    youve             heard          us discuss time and time again                                                 for     days        they


24       a finding       of   guilt.       Do you         understand               that                                              24       have the burden                        of     proof with regard to the                                     first       special

                                                                                                                                                                                                                                                                      with
25                       MR.        RUNNELS                    Yes        sir.                                                       25       issue            and there will                   still       be evidence                   entertained



320TH DISTRICT COURT                                                                                                                                                                                                                                                  7     -
                                                                                                                                                                                                                                                       Page                     Page          10

POTTER COUNTY TEXAS
THE STATE OF TEXAS                     Multi-PageIm                                                                                                                                                      TRIAL ON THE MERITS
   Case 2:12-cv-00074-D-BR Document 84-2 Filed 01/17/13
vs. TRAVIS TREVINO RUNNELS
                                                                                                                                                                                               Page 7 of 67 PageID 268926 2005
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     1
         regard to the                 second special issue                             that being                 the mitigation                        I   will     invoke        the    Rule.          Our witnesses                    are under            subpoena            for


 2       issue.        You           understand                 that                                                                                 2       the     31st and            they    will      be    instructed                as   to   the    Rule.

 3                              MR.          RUNNELS                        Yes      sir.                                                            3                             THE COURT                         Okay.             Thank         you      sir.



 4                              THE COURT                             So    the    only thing                 thats         going         to         4                             Does        the      State    wish       to       make an opening

 5       change            is   that     I   will        have to           tell    this   jury that they                     must                    5       statement

 6       return        a finding of guilt                        if   you persist in this plea.                                 Is                   6                             MR. SIMS                 Your Honor                      could      we       approach            a

 7       that      what you want                         to   do Do           you want to persist in it                                              7       moment

 8                              MR. RUNNELS Yes                                      sir.                                                            8                             THE COURT                         Sure.

 9                              THE COURT Okay.                                                                                                      9                             At     the    bench off             the       record

10                              MR.          DURHAM                        Your         Honor           I    have a document                    I   10                             THE COURT Okay                                    folks       were going               to   take a

11       wish to           file       for the Court.                  Ill provide                a    copy unsigned                                 11       15-minute             recess.          I   know         youre           sitting there           thinking           He
12       copy        but        a    copy         to the        district      attorney.                                                             12       tells    us he        moves these cases quickly and we just dont

13                              THE COURT                             Okay.         Mr. Runnels                          this affidavit             13       believe         it.    Well        get      rolling       here one of these days.


14       that Ive been handed says that you having discussed                                                                          the           14                             Okay.         And        feel free to               step     outside         in   the

15       strategic          and        tactical           aspects           of a plea of guilty in this                                             15       hallway          whatever           you care             to    do.


16       case freely and voluntarily                                    decided           to enter this plea of                                     16                             Okay.         Were           in recess.


17       guilty        and you have signed                              that.                                                                       17                             Jury        left the         courtroom

18                              Is    that    what            you fully intended                       to     do                                    18                             MR. SIMS                 I    wanted           to      make sure were on the

19                              MR. RUNNELS Yes sir.                                                                                                19       same page             about       --
                                                                                                                                                                                                    procedurally about                          what       we   thought         was

20                              THE COURT All right.                                       I    will         file    that       then                20       going      to    happen           which        I   think       were going                 to   put on         some

21       among         the papers                  of this cause.                                                                                   21       evidence          probably             significantly                less      than what            we would have

22                              Okay.             Bring the jury                  in.                                                               22       youre going             to    wind up charging                          the jury then              well come




--6
23                              Jury returned                    to the       courtroom                                                             23       back      and then do the punishment                                 phase         issues       separate

24                              THE COURT                             Members             of the        jury the defendant                          24                             THE COURT                         Well        I    anticipated            that    it   would

25




 1
         has entered




         indictment before you.
                                     his plea of guilty to the charge




                                                          I   have      talked with             him and he
                                                                                                            contained




                                                                                                                          persists
                                                                                                                                     --Page
                                                                                                                                     in the


                                                                                                                                               12
                                                                                                                                                    25




                                                                                                                                                     I
                                                                                                                                                             be a unified procedure




                                                                                                                                                                                   MR. SIMS
                                                                                                                                                                                                           just      like




                                                                                                                                                                                                                 Okay.
                                                                                                                                                                                                                                                                                         Page     14



 2       in his      plea of          guilty.        I   have     found       that      that     plea         is    freely                           2                             THE         COURT                   I   mean             I   dont         see     any reason             not


 3       and       voluntarily           entered into and because                              of that         at the                                3       to send them out with one charge                                              at this point              instructing

 4       conclusion              of    this   case        I    will instruct            you     to    return         a                               4       them to return                  a finding of guilty based upon that                                                and then

 5       finding of             guilty       of    the   charges           contained           in the        indictment                              5       to      answer the questions




--15
         in this case.                                                                                                                               6                             MR. SIMS                      Okay.

 7                              That does            not preclude             anything about                       the                               7                             THE         COURT                   --   that are asked.


 8       presentation of                the       evidence.           The     State       will       still    call                                   8                             MR.         DURHAM                       I    thought             that     --
                                                                                                                                                                                                                                                                     well       I   thought

 9                              as    will the       defense           with regard             to    other          factors                          9       they would              go      out        and find            --    a charge             to find guilt                 and then
         witnesses

10       in this case.               Then         both    sides       are    interested          in    you having               a                   10       come back and proceed on the punishment                                                            and two different

11       full    and                          opportunity              to    know       everything                 that    you can                  11       charges           because to do                    it   in    one charge                  you are in effect




--19
                           complete

12       about       this       case    in    order       to    make an            intelligent         decision with                                12       instructing             them to find him guilty which                                              is   entirely            proper

                                                                                                                                                             but its at the               same           time        that they              have to make certain other
13       regard       to   those        special          issues       that   we discussed                    that    will                           13

                                                                                                                                                    14                         that       is   the States              burden                   and    I    believe        that
14       still     be put       to    you.                                                                                                                   findings

                                              Do you                                                                                                                                                                                      would        be proper for the
                                                                            any witnesses               here                                        15       its our position
                                                                                                                    that                                                                                                             it
                                Okay.                           have                                                        are                                                                     procedurally

16       to   be    sworn                                                                                                                           16       jury      at    this time           to be          sent out to return                         the verdict              of

                                                                                                                                                    17                      and then           proceed on punishment.
17                              Pause                                                                                                                        guilty

                                THE COURT                                                                                                                                          THE         COURT Well




--25
18                                                               Okay.        If    you        folks        who intend               to             18


         testify this           morning            will       please       raise   your        right        hands.                                  19                             MR.         DURHAM     would             It                       be a     little      more

                                                                                                                                                    20       cumbersome                   but       we     believe              its       more protection                      for the
20                              Witnesses                sworn

                                THE COURT                                                                                                           21       defendant              in    terms of making                         sure that            the      burden          is       squarely
21                                                               Okay.        If    you would                 step       back

22       outside please                  well        call      you    in     when we need you. Do not                                               22       on the State rather than                            going in with a ringing endorsement

                                                                                                                                                             of the State            by        instruction to find the defendant                                           guilty
23       discuss anything about                           the    case       among yourselves or with                                                23

                                                                                                                                                    24       followed              by questions
24       others.


                                MR.      DURHAM                       Your Honor                for the            record       we                  25                             THE         COURT                  Well                the ringing           endorsement                 of



320TH DISTRICT COURT                                                                                                                                                                                                                                                                             14
                                                                                                                                                                                                                                                                                -
                                                                                                                                                                                                                                                            Page          11            Page

POTTER COUNTY TEXAS
 --2
THE STATE OF TEXAS
vs. Case




 3


 4

 5

 6

 7

 8

 9
     1
         2:12-cv-00074-D-BR
     TRAVIS


         the
             TREVINO RUNNELS




         about

         to




         still
                State




               stop




         charges
                 when
                      the
                            is



                                 MR.




                             ringing




                            Im
                                        Multi-Page
                            Document 84-2 Filed 01/17/13

                                     driven




                                 THE COURT
                                 MR.




                                 THE COURT

                                 I    send them

                                      still
                                                  by    the


                                                DURHAM Oh


                                                DURHAM
                                                 endorsement

                       before they consider punishment.




                                                 going
                                                         out

                                                          to
                                                               defendants




                                                               tell
                                                                    --




                                                                    --
                                                                         I




                                                                         if
                                                                             of




                                                                              I




                                                                    Well whichever



                                                                             them
                                                                                  I
                                                                                       I




                                                                                  guilty.


                                                                              understand.


                                                                                      just




                                                                                      do
                                                                                                plea

                                                                                           understand




                                                                                              would




                                                                                             that


                                                                                           again
                                                                                                     in


                                                                                                      --
                                                                                                           --




                                                                                                                Im
                                                                                                                      that.




                                                                                                                like the




                                                                                                                way

                                                                                                            separate
                                                                                                                           not complaining




                                                                                                                           it
                                                                                                                                 ringing




                                                                                                                                is       Im
                                                                                                                                                 Page         15

                                                                                                                                                                    1




                                                                                                                                                                    2

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                                                                                                                                                                    6

                                                                                                                                                                    7

                                                                                                                                                                    8

                                                                                                                                                                    9
                                                                                                                                                                        testimony




                                                                                                                                                                        entire thing.
                                                                                                                                                                                       and then

                                                                                                                                                                                      MR.




                                                                                                                                                                                      THE



                                                                                                                                                                                      MR.
                                                                                                                                                                                          DURHAM Why
                                                                                                                                                                                      THE COURT Because
                                                                                                                                                                        to present testimony.

                                                                                                                                                                                      MR.
                                                                                                                                                                                                           TRIAL ON THE MERITS
                                                                                                                                                                                                 Page 8 of 67 PageID

                                                                                                                                                                                                          at
                                                                                                                                                                                                                     269026 2005
                                                                                                                                                                                                               OCTOBER

                                                                                                                                                                                                                   some point




                                                                                                                                                                                                 DURHAM Hes pled guilty.
                                                                                                                                                                                                 COURT Doesnt make any difference.
                                                                                                                                                                        State has the right to present




                                                                                                                                                                                                 DURHAM
                                                                                                                                                                                                                                      is




                                                                                                                                                                                                                               testimony




                                                                                                                                                                                                                           Okay.
                                                                                                                                                                                                                                             testimony




                                                                                                                                                                                                                                                   with regard to the



                                                                                                                                                                                                                                            So its going
                                                                                                                                                                                                                                                                     necessary

                                                                                                                                                                                                                                            the State has got the right




                                                                                                                                                                                                                                                                        --
                                                                                                                                                                                                                                                                             youre
                                                                                                                                                                                                                                                                                   Page 17




                                                                                                                                                                                                                                                                                        The




10                               MR.        DURHAM                       I    understand                   that.                                                   10   going    to allow        repetitious             testimony

11                               THE COURT                          --   in the             punishment                 charge             You                      11                 THE        COURT                  Well yeah              I
                                                                                                                                                                                                                                                   guess         thats one way




--20
12       having        found              the    defendant           guilty                of the offense of                     capital                           12   of putting    it.    I   mean          I   think       thats what               the     --   thats what

13       murder must now assess                                his       punishment.                                                                               13   the court    of criminal          appeals              has told        us that the State has

14                               MR.        DURHAM                       I    understand                   that.                                                   14   the right to do.

15                               THE COURT                          You               do     so    by       blah blah                    blah.                     15                 MR.        DURHAM    understand      I                            that.




re-23
16                               MR.        DURHAM                       I    understand                   that.                                                   16                 THE        COURT Thats one of the                                    things         that the

17                               THE COURT                          And           I    assume          that        no charge has                                   17   jury will    be instructed                 in   making        the decision               in regard             to

18       been prepared                     and not laying on your desk                                      to    instruct               them    to                18   these    two questions            is all         the evidence              surrounding                   the


19       return       a    verdict          of guilty                                                                                                              19   crime.      Right        Isnt that part of the

                                 MR.        OWEN               No            Your Honor.                                                                           20                MR.         DURHAM                    Well         I    understand              thats what             the

21                               THE COURT                          And           the       jury     --    do     you           have      any                      21   Court has done in terms where there was a plea of not guilty

22       basis    for       me doing              that    other          than                      a gnawing                feeling                                22   and the State proved              their case             and then           the evidence                  was
                                                                                       just


                                 MR.        DURHAM                       Just          --
                                                                                            just     the        feeling          within         my                 23   tendered     either through                a    motion to reconsider                      or to recall

24       innards           also       know         as           feeling                yeah uh-huh.                                                                24   the   same witnesses.             But when we have a plea of guilty                                            I
                                                         gut

25                               THE COURT                          Okay.                  How       about         you           Ms.      Hamilton                 25   think    that that   would         be just like calling                     --    that       would         be


                                                                                                                                                              16                                                                                                                  Page      18
                                                                                                                                                 Page

 1                               MS.            HAMILTON                              The only                  other case                Ive had                   1
                                                                                                                                                                        calling the    same       witness              twice    on the same issue.

 2       this    way             and        it   wasnt         a death                     penalty          case was that they                                      2                THE         COURT                  Well thats what well do                                   then.


 3       did     put on a                 little bit      of evidence                         and then                 they did             send       the          3                Now          given     that         do you         still      want         two separate

 4       jury out           and instructed                     them to come back with guilt and then                                                                4   charges

         we went on                                                                    We       did              that                                               5                 MR.        DURHAM No.




--13
 5                                    into punishment.                                                     it
                                                                                                                            way.

 6                               MR. SIMS                      It    doesnt matter                              to     me.           I
                                                                                                                                         just                       6                THE         COURT Do you                         want         to    let    it   in   anyway
 7       want         to    make            sure    were             all      on the same page.                                                                     7                MR.         DURHAM No                        I   dont         think         so.      What youre

 8                               THE COURT                               For 20-odd                    years                I   have        done       it    as     8   proposing     makes         it   even more prejudicial                           so     Im forced              to


 9       a unified procedure.                             Maybe Ive been wrong                                                  all      this    time               9   withdraw      my request.
10       but     --                                                                                                                                                10                THE         COURT                  Okay.         All     right.


11                               MR.            DURHAM                        I
                                                                                      just think                that        -- I
                                                                                                                                      perceive          it         11                MR. SIMS                      So were just going to do one

                                                                                                     make                                                          12   unified charge           at the   end then               or




--22
12       to be        prejudicial                 to the defendant                            to                      it    a unified


         procedure and its                              my     obligation                       to try to prevent                          that                    13                THE         COURT                  Apparently so yes                        sir.




                                           Im requesting                                                                                                                             Were                                        -- if




--23
14                                   so                                       the           Court to send                        the jury out                      14                             going        to begin                      somebody                changes
         prejudice

15       for a verdict                    and then            start          on punishment.                                                                        15   their mind      thats       fine.          Were         going        to begin           presenting


16                               THE COURT                               Do           you want                  me to           handwrite              one         16   evidence.


17       here     on a yellow pad and send                                             them out with                            it                                 17                 MR. SIMS                     Okay.        Were          ready to do               that.      We
18                               MR.            DURHAM                        I       dont          expect             the Court                 to   do     the   18   just wanted     to try to line up                  some witnesses                     because            we
19       States            work.                                                                                                                                   19   werent planning             some until next week.                           Those that were from

                                                                                                                                                                                                                                                               them until next
20                               THE COURT                               I   can           do      that.         It    would             be very                   20   out of   town we werent                     planning          on getting

                                                                                                                                                                        week     and well get them in here sooner                                  because well just




--320TH
21       short        and sweet.                   Wouldnt                    be       a     lot    of repeated                    things in           it.         21

                                 I   think        what we will do                               is --      you have somebody                                       22                THE         COURT Oh                       okay.         But you do

                      to prepare                                                  sir --                                                                           23                 MR. SIMS                     Theres        about        ten witnesses                  we wont
         begin                                    that    please

24                               MR. SIMS                      Yes            sir.                                                                                 24   call.



25                               THE COURT                               --   and well                     begin            to take             some               25                 THE        COURT                  Youve         got      somebody                 here



                      DISTRICT COURT                                                                                                                                                                                                                Page             15      -
                                                                                                                                                                                                                                                                                  Page      18

POTTER COUNTY TEXAS
THE STATE OF TEXAS                    Multi-Page                                                                                                                                                      TRIAL ON THE REERI TS
   Case 2:12-cv-00074-D-BR Document 84-2 Filed 01/17/13
vs. TRAVIS TREVIINO RUNNELS
                                                                                                                                                                                            Page 9 of 67 PageID 269126 25
                                                                                                                                                                                                           OCTOBER
                                                                                                                         Page           19                                                                                                                                                  Page 21
     1                         MR. SIMS Oh yes were ready to                                               go.                                1   with        will be                 in       accordance                  with
                                                                                                                                                                                                                                          my         instruction.

 2                             THE COURT    ready to put on
                                                                 --                                                                           2                              So Ill              tell      you to find him guilty and then

 3                             MR. SIMS                 Yes           sir     were      ready         to go.                                  3   youll find him guilty.                                          Does           everyone                   understand              that             And
 4                             THE COURT                         Okay         okay.                                                           4   then       you         will              proceed to answer the questions                                                 that     we

 5                             MR. SIMS                 Weve             got at least seven                     or eight                      5   discussed                  at great length.


 6       that are ready                  to go.                                                                                               6                              Okay.                State          wish to make an opening                                      statement

 7                             THE COURT                      Bring           the jury         in please.                                     7                              MR.               SIMS              A   very            brief           one Your Honor.
 8                             MR.       DURHAM                       You      will explain               to the jury about                   8                              THE               COURT                  Go         ahead.


 9       the unified               charge                                                                                                     9                                       STATES OPENING STATEMENT
10                            THE COURT                       Yeah.                                                                          10                              MR. SIMS                            May        it
                                                                                                                                                                                                                                     please           the        Court Mr. Durham.

11                            MR.        DURHAM                       Before        we       start    --                                     11                              Good morning                             ladies              and gentlemen.

12                            THE COURT                       I    think       I
                                                                                   really already                did.        I               12                              JURY PANEL                                   Good morning.

13       said    --   I    said         Im going              to      tell    you     in the       Courts charge                             13                              MR. SIMS                            The guilty plea in regards to this

14       that    you are to return                     a verdict             of guilty         and then you will                             14   particular case                           is    going to shorten the States witness                                                       list


15       go on to consider those                         two questions.                                                                      15   by     quite           a       bit.          At     this point                 I    would            anticipate            were going

16                            MR.        DURHAM                       Well see my problem                           is   that         was    16   to   probably call about ten to 12 witnesses                                                                    in regards to the

17                                              me.                                                             would                                                  and incidents                         that occurred                           on January 29th 2003 to
         really not clear to                            I    really thought                  that they                           go          17   matters

18       out    and return               a verdict.           Im not            sure its clear to them.                                      18   establish              that             it   occurred              at the           prison that the defendant

19                            THE COURT                       Okay.                                                                          19   was involved                            in this particular incident                                         and that Mr. Wiley

20                            MR.        DURHAM                       And      Im going              to    make      a request               20   was working there and was the victim                                                                     in regards to the


21       that                             it    where they              --   where       I   understand             it   and                 21   offense.
                 you       restate


22       hopefully             they      will.                                                                                               22                              I   m not            going to go into a very long lengthy

23                            THE COURT                       Okay.            All     right.                                                23   statement                  about what                      all     were going                        to    go through but were

24                            Jury entered               the      courtroom                                                                  24   going           to    call           --      were         going          to        call       someone              to identify                 a


25                            THE COURT                       Okay.            Members               of the      jury at                     25   photograph                      of       Mr. Wiley                 so that               it    can be used for


                                                                                                                         Page          20                                                                                                                                                   Page 22
                --                                                                 words have been confusing                                      identification                                           with      some of our other witnesses
 1       the         with       the possibility that                     my                                                                   1
                                                                                                                                                                                   purposes

                                                                                                                                                                                                                                                what happened
                                                       morning Ive
 2       at different times                    this                                   decided         to    tell                 --           2                                  the       inmates          that     observed                                                that       day.
                                                                                                                    you                           particularly


 3       explain          a   little     more         in depth.                                                                               3   And        in     fact          I       anticipate             well      tell       you some of the                     things


 4                            You know we                                    the entire jury selection                                        4   that   would indicate                           that      the case             --
                                                                                                                                                                                                                                      and        the       actions by         the
                                                              spent

 5       process          talking to            you    about           the bifurcated                system        we        have in          5   defendant              were              thought          out and         planned.                   Well probably bring

 6       Texas law that the                      first      portion           of the     trial       has to       do with                     6   somewhere                  in       the neighborhood                      of        six to          eight       witnesses         in


 7       the guilt/innocence                     stage of the                trial.    The testimony                 is                       7   regards          to    that.


 8                             with                         that.        The jury then                takes        a charge                   8                           That             will                            conclude                  then        the evidence
         presented                       regard to                                                                                                                                                   probably

 9       that    I   read       to      you back to the jury room and you consider                                                    that    9   that   we        will          present             to    you during                the       guilt/innocence phase

10       charge       and consider your verdict                                and determine                    whether           the        10   of   the    trial          and           then       we     will     move on                   into       some other

                                                                  your satisfaction. And                                                                                          we
                                                                                                                                                  evidence                                     think                                            in
11       State has            met       its   burden        to                                                     if   it       has         11                         that                               will assist            you                regards         to    answering

12       then                 return      a verdict           of guilty.                                                                     12   Question              No.           I    and Question                   No.        2.
                 you
13                            At that point then the second phase                                          of the                            13                           The evidence                       that     youre going                      to     hear    in


14                                                                                  The       --   what were doing                           14                    to    the          offense             that   occurred                 on     January            29th    of    2003
         trial the         punishment                 phase        begins.                                                                        regards

         here                                         with       the plea of guilty                  by the defendant                        15   when Mr. Wiley                            was       killed              also        going           to    be    critical    and
                 today however                                                                                                                                                                                       is
15

16       will result in only                    one charge              being       presented              to   you      and you             16   important              for       you          to    know         and      assess              in    determining your

17       will    do two things in that charge.                                                                                               17   answer           to    Question                 No.        I   and       Question                  No.     2.     Thats        the




--23
18                            As        a matter       of fact          that charge            will sort of                                  18   reason          were going                     to       go ahead          and           present that evidence                        to


                          to begin            with that because                    the defendant                 has pleaded                 19           even           though                the defendant                has pled guilty because                                its
19       tell   you                                                                                                                               you

20       guilty       and      I   have accepted                 his plea of guilty                   that       you are                     20   going       to       provide              you information                          that       will       assist    you     in



21       instructed            to return         a finding of guilty.                                                                        21   answering               the         probability of future dangerousness                                                 as well


                              Then             we were           to                to the      back of the                                   22   as
22                                        if                           jump
         different charges                     that   youll receive                   they will talk again                                   23                           MR.              DURHAM                         Pardon            me        Your Honor.                 Its       --   I



                     --                       the jury will             make        a decision             there in                          24   have       to                            They have              the      burden               to   prove        future
24       about            I
                               mean                                                                                                                                object.


25       accordance                --   one of the things that you                            will    make         a decision                25   dangerousness                            so its not an assist its                                  their    burden        to



             COURT
320TH DISTRICT                                                                                                                                                                                                                                                Page          19      -
                                                                                                                                                                                                                                                                                         Page         22

POTTER COUNTY TEXAS
                                                                                                                                                                                                TRIAL ON THE MERITS
                                                                                                                                                             TM
THE STATE OF TEXAS                    Multi-Page
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vs. TRAVIS TREVINO RUNNELS
                                                                                                                                                                                      Page 10 of 67 PageID 269226 2005
                                                                                                                                                                                                     OCTOBER
                                                                                                                               Page     23                                                                                                                                     Page 25

     1
         prove        future         dangerousness.                                                                                               1   States Exhibit No.                         1.   Do you know who                         that    individual              is

 2                               THE COURT                      Okay.               Thank         you.                                        2              A.     Yes        this       is
                                                                                                                                                                                               my brother             Stanley.


 3                               MR. SIMS                Again             the      State       of Texas         has the                      3              Q.     Where did Stanley work

 4       burden           of proof on             Question           Issue No.              1.      We      have    no burden      of         4              A.     Stanley          worked           at the     prison             in the    boot       factory.


 5       proof on Question                       Issue No.           2.                                                                       5              Q.     And        do    you know             what        his          position     was as an employee

 6                               That      is    what    were going                  to     do     in    regards     to                       6       of    the   prison

 7       our     case.          As    I   said     it   will    be    quite          a    bit    shorter         than                         7              A.     I    believe         he     was a    supervisor.


 8       what        it   would         have      been     otherwise.                 I   appreciate you being                                8                               MR.        YONTZ             I    have          no    other questions                Your

 9       here.                                                                                                                                9       Honor.            May we publish                   Exhibit              1
10                               Judge          that    concludes              my statement.                                                 10                               MR.        DURHAM                  May           I   see Exhibit           1     I   didnt

11                               MR.       DURHAM                    Your Honor                     the    defendant         Travis          11       look    at the          back        of    it.




12       Runnels               reserves         opening         statement             until       presentation            of the             12                               MR.     YONTZ                It
                                                                                                                                                                                                                says          I.
13       States case                 before       we     call   our witnesses.                        Thank        you.                      13                               MR.     DURHAM                     Well          I    dont      -- I
                                                                                                                                                                                                                                                      havent seen

14                               THE COURT                      Okay.               Call your            first   witness.                    14       the    back        of    it    so    --
                                                                                                                                                                                                okay.      No        objection.


15                               MR. SIMS                Catherine              Nall.                                                        15                               THE COURT                    Okay.               Are you offering Exhibit                            1
16                               Your Honor may we approach                                         a    minute                              16                               MR.     YONTZ                Yes.


17                               THE COURT                      Sure.                                                                        17                               THE COURT                    All       right.          Now        no    objection

18                               At       the   bench on             the       record                                                        18       correct

19                               MR. SIMS                Weve             got family              members that we may                        19                               MR.     DURHAM                     Thats correct Your Honor.

20       call    in the         punishment              phase        and       theyre            still    in the                             20                               THE COURT                    All       right.          The     exhibit      is




21       courtroom.                                                                                                                          21       received.


22                               THE COURT                      It   is    a unified procedure.                                              22                               MR. YONTZ No further questions.
23                               MR. SIMS                Pardon                                                                              23                               MR. DURHAM    have no questions.   I



24                               THE COURT                      Weve            got a unified proceeding                      at             24                               THE COURT Okay Ms. Nall you                                                may       step       down

25       this point.             Youre going               to   have           to    take them            out of    the                      25       please.           If   you would return outside                               please.



                                                                                                                               Page     24                                                                                                                                     Page 26
 1       courtroom.                                                                                                                           1                               MS.        NALL             Have            I   been excused                     Do    I    need to

 2                               MR.        DURHAM                         I   invoked             the Rule.                                  2       go outside

 3                               MR. SIMS                   Okay.                                                                             3                               MR.        YONTZ                  May           she     be excused

 4                               MR.        DURHAM                        Your Honor                       while     were      here     --    4                               THE        COURT                  Does           anybody               intend        to recall the


 5       while        were here                   they have inmates                             who       are    under subpoena               5       witness

 6       that they intend                       to call     I    want them brought                               into the                     6                               MR. SIMS                   For right                 now        if   she    could wait

 7       courtroom and sworn and instructed                                                     on the Rule.                                  7       outside            please.

 8                              THE COURT                            Ill       do that           at      the next break.                      8                               MR.        DURHAM                       I   have no objection                        to her          being

 9                              MR.         DURHAM                         Okay.                                                              9       excused.


10                              Open            court                                                                                        10                               THE        COURT                  Call          your next witness.

11                                              CATHERINE                       NALL                                                         11                               MR.        YONTZ                  Your Honor                     the State           would           next


12                            been    first      duly      sworn               testified            as    follows                            12       call    Dr.        Sridhar           Natarajan.
         having

13                                         DIRECT EXAMINATION                                                                                13                               THE         COURT                 Doctor               if   you      would           come        right      up
14       BY       MR.            Y_ONT_Z_                                                                                                    14       please            and take               a seat here           on the witness                   stand.


15              Q.        Would you                state    your           name             please          maam.                            15                                     SRIDHARNATARAJAN M.D.
16              A.    Yes          sir.         My      name         is    Catherine                Nall.                                    16       having been                   first       duly sworn testified as follows

17              Q.        Where do you live                                                                                                  17                                       DIRECT                EXAMINATION
18           A.           I   live in       Austin         Texas.                                                                            18       BY-MR.                  YONTZ
19              Q.        Ms. Nall do you know                                  an    individual                 by the name of              19              Q.     Sir would                   you     state        your          name        please

20                            Allen        Wiley                                                                                             20              A.     Sridhar           Natarajan.
         Stanley

21           A.       Yes          that         would      be        my        brother.                                                      21              Q.     How         are       you employed sir
                                                                                                                                             22              A.     The Chief Medical Examiner                                            for      Lubbock          County             the
22              Q.    And          --


23                              MR.         YONTZ                May            I
                                                                                     approach               Your        Honor                23       Director               of the Division               of Forensic                    Pathology            at    the       Texas

24                              THE COURT                            Sure.                                                                   24       Tech        School            of    Medicine              and an assistant professor                                    at the


25              Q.        BY       MR.          YONTZ                 Ill       show you whats marked                              as        25       School of Medicine.


320TH                DISTRICT COURT                                                                                                                                                                                                                Page        23         -
                                                                                                                                                                                                                                                                              Page        26

POTTER COUNTY TEXAS
THE STATE OF TEXAS                    Multi-PageTM                                                                                                                                                                    TRIAL ON THE MERITS
 Case 2:12-cv-00074-D-BR
  TRAVIS
vs.
                         Document 84-2 Filed 01/17/13
           TREVINO RUNNELS                                                                                                                                                                                  Page 11 of 67 PageID 269326 2005
                                                                                                                                                                                                                           OCTOBER
                                                                                                                                                Page        27                                                                                                                                                      Page 29
     1             Q.       Following                  that       answer            Ive           got a couple                 more                                   I   forensic           pathology.                     And        from there                I    came out               to    Lubbock and

     2    questions.                   First of all                  whats              forensic             pathology                                            2       Texas           Tech.

     3.            A.       Forensic                 pathology               is   the       --
                                                                                                  providing               a   manner and                          3                  Q.    As a forensic                     pathologist               and the head                    of    the


     4    cause             of death             on a deceased                     individual                  after       most times                             4       division           at    Texas              Tech        in   Lubbock                  how      did       you become involved

     5    conducting                       an    autopsy taking                         photographs                     making              sure the              5       in     a    Potter       County              case

     6    body          is       properly              identified                 examining the body for wounds                                                   6                  A.    The County                   of    Lubbock and Texas                                  Tech        has contracts

     7    natural               disease              completing                  a formal               report          as well         as                        7       with         the   outlying counties                           such          as   Potter          County                where when

     8    providing                   expert           testimony.                                                                                                 8       a     justice      of    the      peace            requests             an    autopsy              it   will        come out

     9             Q.       Doctor what experience                                      have you had                       -- let      me        go               9       to     us.


10        back beyond                       that.           Can you briefly outline your medical                                                                 10                  Q.    And approximately how many autopsies have you

11        training for the ladies                                 and gentlemen                                                                                  11       performed                or    assisted             in

12                                    MR.        DURHAM                           Your Honor well                              stipulate that                    12               A.       Ive performed                      myself approximately                                 1300 autopsies

13        the doctor                   is   qualified.                                                                                                           13       and        Ive overseen and reviewed                                         approximately                    three          to   four

14                                    THE COURT                              Come up               just a           minute please.                               14       thousand              autopsies.


15                                    At        the    bench            on the record                                                                            15                                MR.        YONTZ                     Your Honor                     at this          time           we would

16                                    THE COURT                              I   know what                   they want to                   do        but        16       tender Dr. Sridhar Natarajan                                        as an expert                  in    the area of

17        you       know               you cant run                      their          case so please                     dont         offer to                 17       forensic           pathology.

18        stipulate in front of the jury.                                           I   mean              if   you want to come                                  18                                MR.        DURHAM                          I   have          no    objection.


19        up       here          and do that and                        if   they want                  to accept             the                                19                                THE COURT                             Okay.              The witness                 is    qualified.


20        stipulation                      thats       fine.                                                                                                     20       Lets          proceed.

21                                    MR.        DURHAM                           Just not              do     it   in front of                 the              21               Q.       BY       MR.           YONTZ                      Doctor can                 you explain                    to   us what

22        jury                                                                                                                                                   22       an autopsy               is    and          the    steps       that       are taken pursuant                            to


23                                    THE COURT                           Yes.                                                                                   23       protocol           in    conducting                     one

24                                    MR.        DURHAM                           Okay.            I    can do            that.                                  24               A.       Initially          a       body        will       be received               at    the medical

25                                    THE COURT                              Because then                    it     kind of puts them                            25       examiners                office.             It    will      arrive          in   a    --
                                                                                                                                                                                                                                                                      usually           in    a     body


                                                                                                                                                Page    28                                                                                                                                                         Page 30
 1        in   a   position                of you know                  --                                                                                        I
                                                                                                                                                                          bag.          Photographs                   will    be       taken.           There         will        be    verification


 2                                    MR.       DURHAM                       Which           I   intended           to do.                                        2       of     the      identity       of the decedent                          after      which           an individual

 3                                    THE COURT                         Okay.           Well then                   Im     going       to                         3       will       be assigned                 to    conducting                 an    autopsy.

 4                                                                                                                                                                4                               The autopsy                     --   the    body          will       then be placed
          instruct              you not         to    do     it   again.                                                                                                                                                                                                                                    on

 5                                    MR.       YONTZ                Ill just           be       real    brief       on    this    and                            5       a     table      and     an external examination                                      will    be performed                        which


 6        well      tender.                                                                                                                                       6       will       include examination                            of clothing as                    pertinent.


 7                                THE COURT                             Okay.                                                                                     7                               Once the              external             examination                    is    done which

 8                                    Open           court                                                                                                        8       well          be looking for                  things          such        as disease processes

 9              Q.          BY         MR.       YONTZ                   Again Doctor                        would         you     briefly                        9       injuries           as well as examining                                 the   body          for    height and

10                                                                                                                                                               10
          outline           your medical                   experience             and        your experience                   as a                                       appropriate              age.


11        forensic              pathologist                                                                                                                      11                               Once thats completed                                   then an            internal


12              A.              did             medical                                          Medical            University of                                12       examination                  will      be     conducted                  which             will    involve actually
                            I
                                       my                         degree          at the


13        South Carolina                        in   Charleston where                        I   received           my M.D.                                      13       cutting          into    the      body and                   this will            begin with a Y-shaped

14                                         entered          active                  service             in the      Army          and       I                    14       incision           which          is    on        the    chest          and       then proceeds                    down           the
          Afterwards                   I                                 duty

15        trained           at the         Walter          Reed      Army          Medical               Center         in    Washington                         15       chest         to the     abdomen.


16        D.C.      and          the       Brooke          Army         Medical              Center          in     San    Antonio               Texas           16                               The       tissue           and       skin       will      be       reflected          back.

          where                 did                                  as well as                                               anatomic                           17       Again            there       will      be an evaluation                       for                            and        natural
17                      I
                                      my        internship                                   my         training        in                                                                                                                                       injuries


18        and      clinical                                                                                                                                      18       disease.           The        ribs      will        be    removed organs within                                     the      chest
                                       pathology.

19                                Afterwards                  I   was        retained            at the      Brooke           Army                               19       as well as             the    abdomen                   will       be    removed weighed                                and       examined.


20        Medical               Center and             was        the    medical             director           there      for                                   20                               In    a   similar               fashion          the neck             and       head            will      be

21        microbiology                      transfusion medicine                             as well         as     flow cytometry                               21       examined.                Once the scalp                       is    removed and reflected                                 the      bone

22        and      also         conducted              autopsies and                was a              surgical         pathologist.                             22       will       be cut        the      brain           will       be taken out examined.                                     And        once

                                                                                             went                    Army                                        23       all    of                               are        done        there         may           be photographs                      taken
23        I   completed                my       time       in the       Army.           I                in the                     Reserves                                            these      things


24        and      at that            time      also    I   went        over       to    the      Bexar           County          Forensic                       24       during          the    process.

25        Science Center and                           received          my        subspecialty                   training        in                             25                               When           completed                   well       provide a preliminary


             COURT
320TH DISTRICT                                                                                                                                                                                                                                                                    Page              27       -
                                                                                                                                                                                                                                                                                                                  Page   30

POTTER COUNTY TEXAS
 --4
 --7
THE STATE OF TEXAS




 2

 3




 5

 6




 8

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11
     1
         report

         couple




         on




         medical




         had
                A.

                Q.




                A.

                 taken
                       and

                       of

                Q. Doctor




                       body

                       Yes.

                       Can you



                       It
                                 at


                             months
                                      Multi-Pager
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                                       some point probably within a few weeks




                            investigators

                             was received

                              place.
                                           in




                                            tell




                                                It
                                                  a

                                                 regard

         Haven Dysart authorize and request an autopsy

                the               of Stanley Allen
                                                       final




                                                      us    how
                                                                report


                                                               to




                                                           sic office

                                                            with

                                                      was brought

                Q. What do you mean by medical intervention
                                                                     this did




                                                                     that
                                                                          Wiley
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                                                                               body




                                                                     some medical

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                                                                                       be put

                                                                                      Justice
                                                                                                    together.


                                                                                                    of




                                                                                         was received




                                                                                         --
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                                                                                                                       Peace

                                                                                                                        be performed




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                                                                                                                                                                       Indicating




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                                                                                                                                                                                                        TRIAL ON THE MERITS
                                                                                                                                                                                              Page 12 of 67 PageID
                                                                                                                                                                                                            OCTOBER

                                                                                                                                                                                                           in this


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                                                                                                                                                                                                     location under

                                                                                                                                                                                                     Were you able

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                                                                                                                                                                                                                                                                                some
                                                                                                                                                                                                                                                                                     left
                                                                                                                                                                                                                                                                                              Page 33




12              A.     By medical                    intervention              Im      stating      that       Mr.           Wiley                    12          Q.     Doctor were                      there      any other             significant             injuries         to


13       after    receiving              some          injuries          had    been         transported                to    a   local               13   other       parts        of    the      body other than the neck                             and        throat       area

                                                                                                                                                      14          A.     The only other finding was evidently some
14       hospital           where        an      attempt was made                      to try      to     minimize                 his


15                      or             to repair            them.                                                                                     15   cardiopulmonary                         resuscitation                 had been          performed                   and   there
         injuries             try


16              Q.     In    conducting                 an autopsy              do     you      also       review             the                     16   were     two        associated                rib    fractures             which        we       felt    were       due       to


17       medical                                                                                                                                      17   the    CPR.
                        history             that      may accompany                     the    person              I
                                                                                                                       guess         like


18       hospital       reports             hospital           information              that    may          give        you an                       18                            MR.        DURHAM                      Are you asking me                         to      approve          it




19       idea    as    to     what         the                       did                                                                              19   before        you        ask questions
                                                     hospital


20              A.     Yes.                                                                                                                           20                            MR.       YONTZ No Im                              asking           for    you        to   look      at


21              Q. And did you do                            that    in this      case                                                                21   it.




22              A.     Yes.                                                                                                                           22                           THE COURT                          Just go          on with your examination                                of


23              Q.     Im        sorry          you were             telling      us    how        the    body           arrived.                     23   the    witness.


24              A.     Correct.             It     -- it
                                                            just     was received with a tan                                                          24          Q.     BY             MR.       YONTZ                Doctor could                     I   have     you        step      down

25       blanket overlying                       the    body        in    a    body bag and we                         also       had law             25   please


                                                                                                                                          Page   32                                                                                                                                           Page 34

 1       enforcement               accompany                   the    body        to attend         the      autopsy.                                  1                           MR.            DURHAM                         If   he intends to use that as an

 2              Q.     Okay.             Is that        unusual           to   have     law enforcement                                                2   exhibit             I   dont want                    it   shown            to the jury until its properly


 3                                                                                                                                                     3   admitted.
         accompany

 4              A.     No.        In     a case         where        theres a suspicious death or a                                                    4                           THE            COURT                    Okay.            Have            the witness              identify


 5       violent       death           oftentimes law enforcement                                  will      accompany                   the           5   that     please.

 6       body.
                                                                                                                                                       6                           MR.            YONTZ                   Ill        do that with                  my     next       question

 7              Q.     Did       you        in       fact     conduct           an autopsy              on     the      body         of                7   Your Honor.

 8       Mr.     Wiley                                                                                                                                 8                       COURT
                                                                                                                                                                                   THE                                     Okay.

 9              A. Yes.                                                                                                                                9          Q.     BY MR. YONTZ                                       Doctor                are       you familiar with this

                                                                                                                                                                                    item
                                            you use the same protocol as you outlined
10              Q.     And        did                                                                                                                 10   particular

I1                                                                                                                                                    11          A.     Yes.
         previously

12              A. Yes.                                                                                                                               12          Q.     And            what         is   this

13              Q.     Can you explain                        to the       ladies      and     gentlemen                 what                         13          A.     This           is    a   diagram of the region of the neck by a

14                                                                        far as                        that    had          been                     14   gentleman                    by    the    name            of    Frank Netter                       who       did      quite         a   few
         your examination                        revealed           as                injuries


         sustained                                                                                                                                    15   anatomy                 illustrations.
15

16              A.     The main                 injuries       sustained to Mr. Wiley                              involved                           16          Q.     And            are the Netter                    diagrams accepted                          as accurate


                                                                                             when he arrived                                          17   anatomical                   depictions
17       his    neck        region.             Essentially              we had        --                                           to


18                                         --
                                                since he had               been                     at the                                            18          A. Yes.
         the    morgue be                                                            already                           hospital

19       one of        the    things            that    had taken place                 was        there       was a                                  19          Q.     And is               this also              accurate

                                         wound                      was found                   his      neck.           The wound                    20          A.     Yes.
20       suturing of             the                       that                          on

21       once     it   was opened                     up we         measured           it.    It   was approximately                                  21                            MR.           YONTZ                   Your Honor we would                                    move States

                                                              and                                            from high                                22   Exhibit 37                   --    not       -- I    would            mark        it    at       this    time as States
22       23     centimeters              in length                       essentially          began                                  up on

                                                               and        then proceeded                 downward                   towards           23   Exhibit             37.        I
                                                                                                                                                                                              may have                a mark on                  it.
23       the    right side            of    his       neck

24       the    front       of   the       neck across                the      front and           then over                 to   the                 24                            MR.           DURHAM                         I   certainly              have no objection                       to


                                                                                                                                                      25   it
                                                                                                                                                                 being         marked.
25       side    on     the      left.




             COURT                                                                                                                                                                                                                                                             31    -
                                                                                                                                                                                                                                                                                            Page         34
320TH DISTRICT                                                                                                                                                                                                                                                Page

POTTER COUNTY TEXAS
THE STATE OF TEXAS                     Multi-Page                                                                                                                                                   TRIAL ON THE MERITS
vs.Case 2:12-cv-00074-D-BR
    TRAVIS                 Document 84-2 Filed 01/17/13
             TREVINO RUNNELS                                                                                                                                                              Page 13 of 67 PageID
                                                                                                                                                                                                        OCTOBER269526 2005
                                                                                                                                   Page    35                                                                                                                                             Page 37
     1                           MR.         YONTZ                  Thats fine its already marked.                                                   I   to the        body
     2                           THE COURT                           Okay.         Are you        offering            it   then                  2             A.      Well with                    a sharp              force       injury         such as this you

     3                           MR. YONTZ                          No      sir because           we may mark                  on    it.         3       are going             to    have a great deal of blood and                                              --   blood thats

     4    I   dont want            to    --                                                                                                      4       going       to   be released from both                                      the vein        and the artery

     5                           MR.         DURHAM                       Then     I   dont want            it
                                                                                                                 displayed                       5       particularly                the artery                  and even more so because the entire

     6   until      its     --   until       its admitted                  Your Honor.               I   think thats                             6       vessel has            been           cut.


     7   the    proper procedure.                                                                                                                7             Q.      Okay.              And           in this           case was            it    a transection                    of

     8                           MR.         YONTZ                  Not when youre using                         charts      and                 8       those       vessels

 9       diagrams           to    diagram               injuries.                                                                                9             A.      Yes          it   was.

10                               MR.         DURHAM                       Your Honor             this     is   improper                         10             Q.      Does         that pose                  a serious risk to the individuals

11       argument            before          the jury.              Ive made            my objection.                                           11       health

12                               THE COURT                           For    the    purposes        of      illustration                         12             A.      Yes.

13       Ill    allow       you        to exhibit             it.                                                                               13             Q.      Can you                explain            that to the ladies                       and gentlemen

14                               MR. YONTZ                          Thank         you.                                                          14             A.    Yes.           Once            vessels of                 this    size with a large amount

15                               THE COURT                           And     then      you can           offer    it   later   as               15       of    blood flow going through                                         them      are either partially cut or

16       marked up. Thank you.                                                                                                                  16       transected             theres going to be a great deal of hemorrhaging

17                               MR.         YONTZ                  Thank         you.                                                          17       or bleeding                taking              place.

18              Q.     BY MR. YONTZ                                  Doctor            could   you        step    down         please.          18                             Theres               a large              amount         of    blood flow that goes

19                               Doctor            what        are    we     looking       at                                                   19       to the      head           and        it       precedes               through       these         vessels.              So

20             A.     This        is    a diagram               of   the     neck.       Mainly          its showing                            20       theres        going             to   be hemorrhaging coming                                      out and then                     in

21       here    the       anterior          or    the    front       aspect        of   the   neck       with        the                       21       addition            the tool itself the                              weapon              also cut across                    the

                                                                                                                                                                                                                                                                      --
22       skin and           some of           the       muscle            and    tissue    has been            removed.             So          22       trachea          opening the trachea                                   as well           as being                  the thrust

23       youre lookingat                      the       internal          contents        essentially            of    the                      23       was forceful enough that                                    it       went towards the spine striking

24       neck predominantly of the                                   vessels       and    skeletal         muscle.                              24       the    spine which                    is       located               behind     all       of these            systems.

25             Q.    Okay.              This        indicates             superficial      veins.          Are     there                        25             Q.    You        indicated                  the       word trachea                   what             is   the    trachea


                                                                                                                                   Page 36                                                                                                                                                Page 38
 1       structures          beneath           this       also                                                                                   1                             MR.        DURHAM                          Pardon        me        Your Honor.                   If    counsel

 2             A.     Yes.                                                                                                                       2       is   not using        the        chart          he should              remain       seated            is
                                                                                                                                                                                                                                                                     my
 3             Q.     And         what        would those                  be                                                                    3       understanding                   of the         rules.       The doctor              is    the one using                the


 4             A.     If    you were               to reflect             or take      away    the       superficial                             4       chart.


 5       muscles           here        such        as    the    sternocleidomastoid                      muscle and                              5                             THE COURT                            Overruled.

 6       moved        it    back         which           has been           done       over here          you would see                          6             Q.    BY        MR.            YONTZ                  Go        ahead.        What         is    the trachea


 7       deeper      vessels.                                                                                                                    7       Doctor

 8                           So the           right       side       is    showing        more superficial                                       8             A.    The trachea                   is    the   airway where                  oxygen            and        other

 9       but with          reflection          of       the     muscles youre seeing some of                                 the                 9       elements         are going             to      be proceeding                 down         into        the    lungs.


10       deeper      vessels.                                                                                                                   10             Q.    Doctor              Ill    show you what                        has been        marked as

11             Q.    You indicated                       that    there       was a       rather    lengthy            cut.                      11       States Exhibit No.                         36 and           ask        if
                                                                                                                                                                                                                                     youre familiarwith                         this


12       Can you           indicate           to    us approximately                     where       that      cut     would have               12       particular        item

13               through           on        the    superficial             vessels                                                             13             A.    Yes.
         gone

14             A.                            complies                                                                                           14             Q.    What           is   this
                      Witness

15             Q. Okay.                As     it    transversed across there                         what         if   any                      15             A.    These          are       diagrams              that       we use     in       our    office          to


16                           were                               or severed                                                                      16       describe         in   a region of the                      neck         injuries that            may         have
         structures                      damaged

17             A. The            main        injuries that                took    place here were                to    the                      17       taken      place.


18       external          carotid the              internal         jugular on           the    right side.                                    18             Q.    And       does           this relate            to       any    particular          individual


19             Q. Okay.                                                                                                                         19       specifically

20             A.    And those                --    we can           see the       external       carotid         over                          20             A.    Yes.       This          relates          to    Stanley A. Wiley.

21       here    but       its     not as          easily        labeled here because                     they                                  21             Q.    What           are       we    looking              at    here on    these      three           areas

22       reflected         more of            the       tissue.       It    happens       to   be on        the    left                         22             A.    Here       were looking                        at    --
                                                                                                                                                                                                                               actually      just    looking               at


23       side but          in this particular                                the    injuries      themselves                                    23       the   front      of   the       trachea.              This       is    some     tissue      here            soft
                                                                 case

24       took place          on        the                side.                                                                                 24       tissue.       This     is       cartilage         here.              And then we have                      the
                                              right

                                                                                                                                                                                                                               downward.             And             if
                                   you cut a major vessel like that what
25             Q.    When                                                                                         happens                       25       tracheal      cartilage              as    it
                                                                                                                                                                                                         proceeds                                                         you

             COURT
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THE STATE OF TEXAS                    Multi-Page                                                                                                                                                TRIAL ON THE MERITS
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vs. TRAVIS TREVINO RUNNELS
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     1   continued you would                               see    it
                                                                       branching                into each           of the right                1                              MR.      YONTZ              Your Honor                      the     State        would move

 2       and     left      lungs respectively.                                                                                                  2   Exhibits              36   and 37        at    this time.


 3                              Theres           a line that has                   come across                here      which                   3                              MR.      DURHAM                      No       objection.


 4       essentially             is    descriptive            of the type of injury that                                was                     4                              THE COURT                   Exhibits are                    received.


 5       received          location-wise                   on the trachea.                                                                      5                              MR.      YONTZ              Thank              you.

 6              Q.    Okay.            There          is   also items               on this one which                        is    the          6          Q.        BY        MR.      YONTZ                  Doctor               youve          indicated sharp force


 7       diagram on the                    left      here what are we looking                                 at   here       and               7   injury.           What are you                talking           about           when you say the words

 8       whats noted                                                                                                                            8   sharp        force            injury

 9              A.    If   you were to take this diagram and rotate it you                                                                      9          A.        Sharp        force     injuries           are injuries due                   to     some         sort


10       would        be        looking          at the      back of               it.    And      thats       what were                       10   of a    tool          or implement             where            the      cutting       edge        is   sharp enough

11       looking           at    here       is   the       back side of this diagram here which                                                11   that    once          it is    striking most                times the skin                    theres going


12       is   now showing you                         --
                                                            again youre                       looking       at the        back of the          12   to   be clean separation of                          the    tissue         without what                     we    see

13       cartilage here.                   This       is   the    epiglottis.                                                                  13   underneath                 something           we     call       bridging of underlying                             tissue

14                              And down              here we             just indicated                   that the                            14   in   other        words           strands of          tissue             that    are    still      connected             as


15       thyroid gland                 was cut with                    that injury               as well       as on one                       15   we would               see     in   blunt force trauma.


16       side    it   was completely                       cut and then on the other side                                      it   was        16          Q.    Would               this   be consistent with an                          injurythat could

17       partially             cut.                                                                                                            17   be caused              by     a sharp         knife

18              Q.    You            indicated         this      is cartilage.                  As    far as the                               18          A.    Yes.


19       make-up of things in the body skin muscle                                                          bone how                 does      19          Q.    Doctor              during        the    course of your examination                                     did


20       this    relate         in density            and     I                    toughness                                                   20   you     determine                a cause       of death              in this         matter
                                                                  guess

21              A.    Its                   to       be more tough                      than     skeletal          muscle or                   21          A.    Yes.
                                 going

22       muscle         itself.            Its    going       to be           --   essentially the concept                                     22          Q.    What was that

23       of    once        a    wound           is   penetrated               through           the     skin       if   your        blade      23          A.        Sharp        force     injuries           of    the      neck.


24       is   sharp        enough            its going                to continue               to cut until            it                     24          Q.    Okay.               And    in    regard            to    this      is    that    --   are those


25       strikes something                       very       firm which                    would       be      most likely like                 25   findings also consistent with                               the          finding that           the     manner of


                                                                                                                               Page       40                                                                                                                                      Page 42

 1       dense        bone.                                                                                                                     1   death       is    a   homicide

 2                              In    striking        something                like           cartilage       if   your                         2          A.    Yes.

 3       weapon            is    sharp       enough and there                            is   enough of an adequate                             3                          MR.          YONTZ              I   have           no    further         questions            Your

 4       thrust       it       should       cut through                 it.                                                                     4   Honor.


 5              Q.    And you               indicated            this actually                  went through                 and                5                          MR.          DURHAM                  If       I
                                                                                                                                                                                                                             may         have     just      a   moment Your

 6       actually          went         into the spine in the                            back of the neck                                       6   Honor.


 7              A.    Thats            correct.                                                                                                 7                                       CROSS-EXAMINATION

 8              Q.    Is       that a      wound           thats        going            to    be sustained simply                              8   BYM R_DURHAM_
 9                                                                across            or are       we                       at                    9          Q. Just a couple                   of    questions.                 And         usually          when a
         by drawing a sharp                          object                                             looking

                                                                              as with           considerable                 force             10   lawyer says a couple                          of questions they go on                              and       on but
10       something               you would                 describe

11                              MR.        DURHAM                      Your             Honor some                 leading          is         11   really I          just      have     two.




--17
12       acceptable                  but   --                                                                                                  12                          Youve            just testified that                     the   manner of death

13                              THE COURT                         Your         objection              as to leading                 --         13   was homicide                     but thats not              consistent                with your autopsy


14                              MR.        DURHAM                       Leading.                                                               14   report           is   it


15                              THE COURT                         -
                                                                        is    sustained.                                                       15          A.        The manner of death                        if       I   was asked             the opinion


16                          DURHAM
                                MR.                                     Thank             you Your Honor.                                      16   of


                Q.    BY MR. YONTZ                                     How         would         you describe the force                        17          Q.        Sir its a yes-or-no                   question.                 Is    it    consistent



                                to cut through                the structures                    of the        neck as well               as    18   with what              you put on your autopsy report
18       necessary

         the cartilage                and into the spine                                                                                       19          A.        The manner of death would be determined                                                     by    the
19

20              A.    When            were           describing              force            we dont         really use             a         20   justice      of       the     peace.

21                                    number value                    with     sharp            force    injuries.             But with        21          Q.        Okay.           You    didnt         determine                 the    manner of death
         quantitative

22       the type of injuries that are                                              I    would        state    that this            is         22          A.        No.
                                                                       seen

23       a    moderate to severe level of force required                                                 since       it      did               23          Q.        So        see   Im     already
                                                                                                                                                                                                               --
                                                                                                                                                                                                                    already gone                  past
                                                                                                                                                                                                                                                            --   thats

                                                                                                                                                                                                                                                            Lets
                                                                                                                                                           two except Ive got one more so its                                                                                 for
24       strike the spine.                                                                                                                     24   my                                                                                          three.                  go


25                                                                                                                                             25   four.
                Q.    Okay.

                                                                                                                                                                                                                                                                                         42
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THE STATE OF TEXAS                    Multi-Page                                                                                                                                                      TRIAL ON THE MERITS
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     1                       How          long        is    23       centimeters                                                                            I         Q.    Depends             on the size of your neck

 2              A.                                         nine       to ten        inches.                                                                 2         A.    Yes.
                      Approximately

 3              Q.    All    right.        Would                you open              that      board         and        draw     the                       3         Q.    Thats          the reason                they       make     shirts    in different


 4       approximation of 23                         centimeters                   for the          jurys          benefit                                  4   sizes

 5                                                                                                                                                          5         A.    Well       its nine             inches          on your neck.
         please

 6                           Or      better          yet        could      we        --    could         you
                                                                                                                   --
                                                                                                                         well                               6         Q.    Well       Im sorry                  I    asked you more than                     two questions

 7                         not                                                                                                                              7   but   I    really intended                  to       only    ask    two.      Thank          you     very much.
         these      are          to       scale are              they

 8              A.    No     theyre          not.                                                                                                           8                       MR.         DURHAM                      Ill pass        the witness.


 9              Q.    Okay.           So    it   would be                 --
                                                                               you couldnt                    -- if
                                                                                                                         you put                            9                       MR.         YONTZ                  No       further questions              Your Honor.

10       23    centimeters on               that           it   wouldnt show                        it   properly             would                        10                       THE         COURT                  Okay         Doctor         you can step down.

11       it                                                                                                                                                11                       MR.         YONTZ                  Your Honor may                    Dr.    Natarajan             be

12              A.    I    dont      believe          it    would.                                                                                         12   excused

13              Q.    Okay.          Well        just           open      the       board           and       demonstrate             to                   13                       MR.         DURHAM We                          certainly        have no objection.

                                                                                                                                                                                    THE         COURT                               Youre




--22
                                                                                                                                                                                                                                                   free to go.               Thanks.
                          how long 23 centimeters is                                                               you know                                14                                                          Okay.
                                                                                                         --   if
14       the   jury                                                                       if
                                                                                               you

15       exactly          how long 23 centimeters                                  is.                                                                     15                       DR.     NATARAJAN                              Thank      you.

16              A. Well we would need a                                    ruler.                                                                          16                       THE         COURT                  Call       your    next witness.


17              Q.    Okay.           I   dont have                  a   ruler.                                                                            17                       MR. SIMS                     Bud        Williams.         Our next witness                       has


18                           THE          COURT                      Go    to      my      office         and       get one.                               18   not   been sworn Your Honor.

19              Q.    BY         MR.       DURHAM                          Does           that      have       centimeters on                it            19                       At      the   bench on                  the    record

20       It   doesnt        have      centimeters.                                                                                                         20                       MR.         DURHAM                      This    is   an   inmate          who when               he

21              A.    Well we can                    just
                                                                --
                                                                     we can              convert.                                                          21   gets through               testifying                will   go back

                Q.    Okay.                                                                                                                                22                       THE COURT Okay                                  okay.     All    right.          I   wasnt

23              A.    2.5    centimeters                   --                                                                                              23   aware that we were beginning                                     with the penitentiary                   guys.        I




24                    You may be able to but                                       cant.                                                                   24   thought         I   said    I   was going               to take         them out and swear them                            all
                Q.                                                             I



                                                                                                                                                           25   in.
25                           Just         draw       it    there         for us.




                                                                                                                                           Page      44                                                                                                                       Page 46

 1              A.    Witness              complies                                                                                                         1                       MR. SIMS                     Okay.

 2              Q.    Okay.           Thats                --
                                                                 youre              showing               thats          --   how       long                2                       Open court
 3       is    that       please                                                                                                                            3                       THE COURT Okay                                  folks     if   youll step into

 4             A.     This       should              be approximately                               23 right here.                                          4   the jury        room         please.

 5                                                                                                                                                          5                       Jury        left   the           courtroom
         Indicating

 6              Q.    Okay.           Okay.                So in inches                        -- tell        me in        inches                           6                       THE         COURT                  Okay Gary              --   how many                  witnesses


 7       about        what that would                           be.       Just           measure              it   there.        Just        kind           7   do you have down                       there that            you    intend        to call      who           are


 8       of    tell   us with             your measurement                                 about          how           far that        would        be.    8   inmates

 9             A.     It   would           be approximately                                nine inches.                                                     9                       MR. SIMS                     Eight Your Honor.

10              Q.    Okay.           Will           you put nine                          inches above that                                               10                       THE         COURT                  Okay.        I   need to chain               them       all   in


                           You see               I   dont             understand                    meters           and centimeters                  or   11   a line     and bring             them up here.
11       please

12       millimeters.                So     the       wound                was           about           nine inches              long right               12                       MR. SIMS                     Actually theres                  only       seven there

13             A.     Yes.                                                                                                                                 13   Your       Honor.           One        is   on parole              so   hes   not in the back.


14              Q.    And        a   round            --        and a roundness                          like       --   of     course                     14                       THE         COURT                  Okay.        So seven         of      them on a chain

15       the neck           is   round.                                                                                                                    15   and bring            them up here to the courtroom please.                                          Go no

                                     the   wound                         nine        inches                                                                16   further than           the      edge        of the jury            box with         them when theyre
16             A.     Well                                       is                                   long.

17              Q.    On     a    round surface                                                                                                            17   brought         up.        You    can take              this      guy back and do him the same

18             A.     It   would           be on any surface                                   its nine inches.                                            18   way.
                                            --                                     thats                            Im just                                19                       With        regards to             your others            what       I   know        is
19              Q.    Well           but             well yeah                                      right.

                                                                                                                                      would                                     there will         be no ability to keep these people
20       saying that             if   I    draw nine inches                               across          my neck                it                        20   coming                                                                                                       apart

                                                                                                                                             could         21   after their testimony.                       Ill       swear them in Ill instruct them
21       cover        more than             my neck where                                  if   I   started          up here            it



                                                                                                                                 Would you                 22   on the      rule.      You may certainly                           voir dire       each of them as they
22       stop     somewhere in between or just past halfway.

23                    with       that                                                                                                                      23   come up             here    with regard to any discussions                                   they   have but
         agree

24              A.    I    would          just state that its
                                                              nine inches                                               on your                            24   there      is   simply no way to keep them separate.

25       neck and you could                            get       it      in a variety of                      ways.                                        25                       MR.         DURHAM                      I   understand         that       and    I   will


                                                                                                                                                                                                                                                               43        -                46
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THE STATE OF TEXAS                      Multi-Page                                                                                                                                      TRIAL ON THE MERITS
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             TREVINO RUNNELS                                                                                                                                                  Page 16 of 67 PageID 269826 2005
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     1   ask     -- I   would       like    the    opportunity             to    ask appropriate                                              I                       MR.          YOW            Yes         sir.      I    will not testify at                       all.


 2       questions about              their    contact         outside          the    presence of             the                            2                       THE          COURT                 Okay.              All       right.        So you will not

 3       jury.                                                                                                                                3   swear nor affirm that you will                                     tell    the truth              if   called        as a

 4                            MR. SIMS              Your Honor                  --                                                            4   witness           in this case




--11
 5                            THE COURT                   I   dont know                how      Ill    work          that.                    5                       MR.          YOW            Im         saying          that         I   would        not testify

 6                            Yes sir                                                                                                         6   so     I   would      not        swear        in.


 7                            MR.     SIMS          The guards have                    informed            me that                            7                       THE          COURT                 All     right.           Well          thats          a decision


                                                                                                                                                             you make.
                                                                                                                                                  that                             If                                        called                                        --
 8       they    dont      have       --
                                           theyre    just       in   hand        restraints.                                                  8                                          you      --    if   youre                             as a witness                       you

 9                            THE COURT                   Okay.                                                                               9   know Ive              got to          tell    you Mr.              Yow          I    feel     kind of foolish

10                            THE GUARD We                          have        other       restraints        down          in               10   telling       you this

         holding         we   can     get   them     if   we     need       it.                                                              11                       MR.          YOW            Uh-huh.

12                            MR. SIMS              And       they      also         are planning             Im      not                    12                       THE          COURT                 --
                                                                                                                                                                                                              you being                   in the penitentiary


13       sure how         but theyre              planning on             trying       to    keep     them                                   13   and        all.


14       separate.        Once they           testify         theyre going              to try      to     keep                              14                       MR.      YOW                Yes         sir.




15       them     not    --   from     getting      back       together.                                                                     15                       THE          COURT                But      if    you refuse to testify as a

16                            THE COURT                   Okay.                                                                              16   witness Ill hold you                          in     contempt              and keep you in                      jail        until




 --3
17                            MR.     DURHAM                   That       would meet             --   what        you       just             17   you do agree to                  testify.


18       brought        up    that    would be okay                 with me.                                                                 18                       MR.      YOW                Thats          fine.        Ill stay in jail                       sir.


19                            MR. SIMS              That had           been previously                   discussed                           19                       THE          COURT                Thats           why           I
                                                                                                                                                                                                                                          say       that      I feel       kind

20       with them.                                                                                                                          20   of foolish.

21                            THE COURT                   All   right.          If    thats     the                                          21                       Okay.          Now          as a practical                  matter              Mr.      Yow
22       situation       then       bow many             --   how many do you                       feel    comfortable                      22   what        is    going to happen though                              is    if       the State insists on


23       bringing up          at    a time here       just for            me to       swear      in      and    take                         23   calling           you into the courtroom as a witness                                             Im        still    going

24       them     back                                                                                                                       24   to bring           you     in.


25                         THE GUARD We                             can     bring them           all
                                                                                                         up     if   you                     25                       MR.      YOW               All      right.            Thats             fine.      Ill     come

                                                                                                                             Page       48                                                                                                                              Page 50

 1       need them              all   seven        of them.            We        have two officers in here.                                   1   sir.



 2                         THE COURT                          Okay.             That would               make          it    a   lot          2                       THE          COURT                And then well                          --   then       you can

         easier         then.      And just         bring           them and hold them right there                                            3   if   thats         your choice then                    youll repeat that refusal again.

 4       in that area           and Ill swear them in and then                                        --                                      4                       MR.      YOW               Yes          sir.




 5                         THE         GUARD                   Hand         restraints                                                        5                       THE          COURT                Okay.           All       right.            Now         what          I   was

 6                         THE COURT                          Well yeah keep                        --                                        6   going        to    tell   you      those        of     you who will testify                              is   this


 7                         MR. SIMS                  Just hands.                                                                              7   The Rule has been invoked.                                   What          that         means          is   that     I    am
 8                         THE COURT                          Yeah         just        hands        is     fine       yeah.                   8   instructing           you not to discuss your testimony                                                or the      testimony

 9                         Pause                                                                                                              9   of other witnesses                    with each             other or            anyone              else.


10                         MR. SIMS                  Judge           Ive now been                        told     theyre                     10                       Youre          not to read               anything                in the       newspaper                 or


I1       going      to   be put in the holding                        cell       together           after they                               11   watch         television          and see the media reports                                   of it         dont         listen

                                                                                                                                                                            about            on the radio               with regard to the testimony
                         Theres                                      keep them separate                          here.                       12   to anything                           it
12       testify.                          not a    way        to

13                         THE COURT                          Okay.                                                                          13   of other witnesses.                        Does everybody                       understand                  those        things

14                         Pause                                                                                                             14                       WITNESSES                         Yes          sir.


15                         THE COURT                          Okay          Im going                to     swear each              of        15                       THE          COURT                Okay.           All       right.            Thanks a               lot.


16               in as a                          then    Ill give                          some instructions with                           16                       No      sir step           back         please          while            were doing
         you                    witness                                         you

17                                                                                                                                           17   this.       Nobody but                prison         folks over             here.            Im completely
         regard to this             trial.


                                                                                                                                             18                     Mr. Sims not in this area.
18                         Witnesses               sworn                                                                                          serious

19                         MR.        YOW No                    sir.                                                                         19                       Okay.         All        right.        Take       them back please.

20                         THE COURT                          Okay.             And your name                        sir     is              20                       Okay.         Well be              in recess            for         about another                 ten


21                         MR.        YOW            Yow.                                                                                    21   minutes until the jury gets back then.




--320TH
22                         THE COURT                          Yow                                                                            22                       Okay.         I    need to make something clear here.                                                 No

23                         MR.        YOW            Yes         sir.                                                                        23   lawyers            State         defense        or otherwise                    are         allowed through                     this



24                         THE COURT                          Okay.             Will you affirm to that                                      24   door.


25       Mr.     Yow                                                                                                                         25                       MR.      DURHAM                         Ive       not


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     1                      THE COURT                        Nobody.                                                           1   hes wearing

     2                      MR.        DURHAM                     Ive     not       been through           there.              2         A.    Red     shirt       and tie glasses tan pants brown                                           shoes.

     3                      THE COURT                        I   know you havent                     sir   and its             3         Q.    How      long        have you known                        him
 4       not pointed          to       you    --                                                                               4         A.    About         eight       years.

 5                          MR.        DURHAM                     All     right.                                               5         Q. Before           being on the Clements                            Unit with                   him were
 6                          THE COURT                        --   that    comment.                                             6   yall in another                 unit     together

 7                         Another thing is                      this    is   a    huge security                               7         A.    In   the    Robertson              Unit.


 8       issue       and    Im running                 the       courtroom               so   when    I   say    Move          8         Q. For about how                    long           were you there together

 9       stop        dont          I   want     those       instructions followed                     explicitly.              9         A.    He was           in seg      and         I   was in G-3.              I    used to cut hair

10                         MR. SIMS                   Yes         sir.                                                        10   back then.          Didnt know him back                                   then.


11                         THE COURT                        Im not            trying to bully             this                11         Q.    Okay.         Do      --   did     you            know     Stan       Allen Wiley

12       courtroom           Im trying                to keep        the jurors               the litigants the               12         A.    Yes     sir.




13       lawyers and the gallery safe during                                       this   trial.                              13         Q.    Who was             he     out   at      the       prison sir

14                         MR. SIMS                   Yes         sir.                                                        14         A.    He was a boot                factory               worker       staff.


15                         THE COURT                        All      right.                                                   15         Q.    Ill    show you States                            Exhibit      No.        1.        Are you able

16                         Recess                                                                                             16   to recognize           that

17                         THE COURT                         Okay.            Everybody            be seated        please.   17         A.    Yes     sir.




18                         Jury returns to the courtroom                                                                      18         Q.    Who      is    that        sir

19                         THE COURT                        Be      seated          please.                                   19         A.    Mr. Wiley.

20                         Okay.         Bring Mr. Williams in please.                                                        20         Q.    How      did        you come                 to   know        Mr. Wiley                at the        prison

                           Mr. Williams                                               come                                    21         A.        worked          out there         about           12              in the           second shift
                                                                 you would                                                                                                                                 days
21                                                         if                                                                                  I
                                                                                                 right through

22       the    middle there             please            sir    and take           a seat     back on the                   22   boot factory.

                                                                                                                                               Thats                                                                                            that
                                                                                                                                                                   you worked
                                                                                                                              23                             all                                  at the boot                              is
23       witness          stand.                                                                                                         Q.                                                                           factory

24                         Now         reach       up and pull that microphone                             sort of            24   correct

25       towards you Mr. Williams.                                 Thank           you.                                       25         A.   Yes      sir.




                                                                                                                 Page   52                                                                                                                           Page 54
 1                         Go      right ahead.                                                                                1         Q.   Whats          your current            job
 2                                     BUDW_ILLIAM_ S                              JR.                                         2         A.    Barber.


 3       having been            first    duly         sworn          testified           as   follows                          3         Q.    On    January         29th    of      2003 are you aware                            of where         this


 4                                     DIRECT              EXAMINATION                                                         4   defendant         Mr.     Runnels was working

 5       BY-MR. SIMS                                                                                                           5                     MR.      DURHAM                        Calls for a hearsay                    response          Your

                     Would you                                                                 sir                             6   Honor       unless he         was personally
 6              Q.                           state     your name please                                                                                                                           present.


 7              A.   Bud Williams                    Jr.                                                                       7                     THE COURT                     Overruled.


 8              Q.   Where         are   you currently residing                                                                8         Q.    BY     MR. SIMS Are you                             aware      of where              Mr.     Runnels


 9              A.   Bill    Clements           Unit.                                                                          9   was working

10              Q.   Is   that a       maximum              security           unit for the          Texas                    10         A.   Yes     sir.



11                            of       Criminal            Justice        Institutional            Division                   11         Q.   Where was he working                           at
         Department
                                                                                                                              12         A.   First    shift     boot
12              A.   Yes     sir.                                                                                                                                         factory.


13              Q.   What      are      you in prison                for      at   this time         sir                      13         Q.   And     theres only one boot                         factory out           at the       prison

14              A.   Aggravated              sexual         assault.                                                          14   isnt there

15              Q.   Doing         a 55-year           sentence           out of Potter            County        is           15         A.   Yes     sir.




16       that    correct                                                                                                      16         Q.   From your discussions with Mr. Runnels are you

                                                                                                                              17   aware      of where        he   worked          at       before he        was     in the         boot    factory
17              A.   Yes     sir.



18                   In regards to                                                 here   today has anybody                   18         A.   He was         in the      boot     factory.
                Q.                            your testimony

19       promised you anything                         at   all                                                               19         Q. Before         he    was      in the     boot factory

                                                                                                                                         A.   Before       that he                                   as a barber and                  then
20              A.   No     sir.                                                                                              20                                          was working                                                           in


                     Do                                             Trevino Runnels
                           you know
21              Q.                              a Travis                                                                      21   the   kitchen.


22              A.   Yes     sir.                                                                                             22         Q.   And     from your discussions with Mr.                                 Runnels why was

                                                             courtroom today                                                  23   he no                     the    --   a barber            and    then      why was               he no
23              Q.   See    him here           in the                                                                                         longer   in                                                                                     longer

                                                                                                                              24   in the     kitchen     and now           in the          boot    factory
24              A.   Yes     sir.



25              Q.   Would you               please        point         him out and describe what                            25                     MR.      DURHAM                    Your Honor                 that       --   that    calls




                     DISTRICT COURT                                                                                                                                                                                                   51                     54
                                                                                                                                                                                                                                                -
320TH                                                                                                                                                                                                                 Page                          Page
POTTER COUNTY TEXAS
THE STATE OF TEXAS                     Multi-Page                                                                                                                                                   TRIAL ON THE MERITS
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 1   for    --
                 that    calls          for   a hearsay           response             unless            it   could                                    I
                                                                                                                                                                Q.     Was         Mr. Runnels                     upset       or    how would                     you characterize

 2   involve           subjective             desires.                                                                                                 2   Mr. Runnels                     behavior            in regards to              them not releasing                          him

 3                        THE COURT                          Overruled.                                                                                3   from work at the boot                           factory

 4          A.     He was working                        as a barber and                  he got switched                         to                   4        A.     He was              upset        because he was                    saying that                    once he got

                                                                                                                                                                             that          he would            get a barber               job which                  the sergeant
 5   the    kitchen but he had                        problems           in the        kitchen with                      someone                       5   released




--13
 6   but they never wrote                          him a case and he                      --                                                           6   said he         would           give        him a job and they didnt                                    release          him        so


 7                        MR.           DURHAM                    Thats exactly                     the       gravamen                 of   my         7   he   was        talking to             different          rank you                 know            about trying to

 8   objection           Your Honor.                     How would                he      know           that       --   what          those           8   get a     job         get       from out of              there.         And        one thing              led to


 9   problems            were           if there      were        in   fact         problems                                                           9   another          when he              said that          he was trying to leave                               from       --    he

10                        THE COURT                          As    I   understood                   --   and        I
                                                                                                                         may       be                 10   wanted           to   be from out               there.


                                                                                                                                                      11                         So that night                 I   went        in there             I   barber            I
11   wrong.            As     I   understood               the    question           was predicated on what                                                                                                                                                                   go

12   Mr. Runnels                  told    him.                                                                                                        12   to   school and                  I   went     in there


                          MR.           DURHAM                    That       was not            the       answer.               Thats                 13                         MR.        DURHAM                        At some point this became

                                       Then                                               ask                       be    --                          14   nonresponsive                    to the question.
14   my     objection.                             its   nonresponsive                              that       it



15                        THE COURT                          Sustained.                                                                               15                         THE COURT                          Sustained.


16                        MR.           DURHAM                    --
                                                                       stricken           and       the       jury       to                           16        Q.      BY         MR. SIMS                        Let    me ask          a    few questions                       in there


17   disregard.
                                                                                                                                                      17   okay
18                        THE COURT                          The jury             will     disregard                the       last                    18                         Now            in regards to this conversation                                      that


19                                                                                                                                                    19   happened two days before the incident                                                   at the         boot factory                 is
     answer        given.


20          Q.     BY         MR. SIMS                     Based       on your discussions with                                                       20   that     correct

21   Mr. Runnels                   what       is
                                                    your understanding                         of   why            he    was no                       21        A.     Yes         sir.


22   longer       in the          kitchen           just
                                                           --                                                                                         22        Q.     After that                --   now          you go to school                          is   that


23                        MR.           DURHAM                    Okay         --                                                                     23   correct




 --7
24                        THE COURT                          Sustained.                                                                               24        A.     Yes         sir.


25          A.     He     told         me     that    a sergeant          --                                                                          25        Q.     What         time         do you have to get up and go to school


                                                                                                                                        Page     56                                                                                                                                Page 58
                                                                                                                                                                                                        400.             have            be          school
 1
            Q.     BY         MR.         SIMS             No     you cant
                                                                                          --                                                           I        A.     I   get    up around                          I              to         at                   at



 2          A.                                                                                                                                         2   500.
                   Okay.

 3                 Just       a minute.              Let    me ask        it      this                    Well           Ill                           3        Q.     Okay.           Is that        about        the    same time            that       the
            Q.                                                                            way.

 4                                                                                                                                                     4   individuals           are getting            ready       to         to   the boot            factory
     come back              to that.                                                                                                                                                                                      go

 5                        Earlier            during        the    week of January                         29th of                                      5        A.     Yes        sir.



                                                                                                              discussions with                         6               Yall        start        out early
 6   2003 did you have some communications                                                      and                                                             Q.

                                              Runnels                                                                                                  7        A.     Yes.




--15
     the   defendant                   Mr.

                                                                                                                                                       8                          the prison                                 that
 8          A.    Yes         sir.                                                                                                                              Q.     --   in                          system is                    right

 9          Q.     Did        any of those deal
                                                with                         --
                                                                                  well         start          with       that                          9        A.     Yes        sir.




                         Where were you                           when you                first had             a discussion                          10        Q.     Okay.           Did you wake up one morning                                      and       find anything
10   Monday.                                                 at


11   with Mr.           Runnels                                                                                                                       11   under       your      door

12          A.    We        was on            the    pod     in the      section           together             where           we                    12        A.     I    woke up and                there       were      some barber combs                           up   under

                                                                                                                                                                             and           woke up and               asked         my    cellie         who       put them          under
13   stayed.                                                                                                                                          13   my door                     I




14                        MR.           DURHAM                    Would           you speak                   up    just      a   little              14   there.      So he said he didnt                      know.          So


     bit sir                                                                                                                                          15                         MR.       DURHAM                    Objection.               Its    --   Your Honor

                                                                                                                                                                                                 and     also has hearsay                     in    the answer.
16          A.    We        stayed           in the      same      section           together            on        the    pod.                        16   its not responsive


17          Q.     BY MR.                 SIMS             Okay.        What happened                          at that          time                  17                         THE COURT                      Sustained.


18          A.     He was              just    saying he          was        trying        to get             released                                18                         MR.       DURHAM                    May       I   have       an instruction


19   from        the    boot factory                to get       another          job      and       saying he                was                     19                         THE COURT                      Lets         proceed.


20   supposed            to       have    been       released          from         the    boot          factory              trying                  20        Q.      BY        MR. SIMS You                           didnt      know           who       had     placed         the


                                              barber.           And     he     said       that      the                                               21   barber      combs under                    there correct
21   to    go back          being a                                                                            plant

22                                                       said he       would           release            him if he would                             22        A.     Not       at that        time.     When           I   woke up           I    didnt.
     manager Mr. Williams

23          someone               to   call    him for a job.                And so             this          sergeant                                23          Q.    Okay.          You       asked         your      cellie     about          it   is    that
     get

     called       and       said he would                          him a job but they didnt                                                           24   correct
24                                                         give

25   release       him from               the job.                                                                                                    25          A.   Yes        sir.




             COURT                                                                                                                                                                                                                                                   55       -
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320TH DISTRICT                                                                                                                                                                                                                                          Page

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 5

 6
     1
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    TRAVIS  TREVINO RUNNELS




         couple

         the




         We
                Q.

                A.




                door.
                      After that


                      They

                      of




                continually
                              other




                               MR.
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                                  rolled


                                          guys
                                               who did you ask about it




                                           DURHAM
                                          get
                                                 the    doors

                                                     said




                                                 hearsay
                                                               Runnels
                                                                      for    us




                                                                      Your Honor

                                                                    responses.
                                                                                   to


                                                                                  put
                                                                                            come out and a

                                                                                            his      barber           combs under



                                                                                                       thats not responsive.
                                                                                                                                           Page   59
                                                                                                                                                        1



                                                                                                                                                        2

                                                                                                                                                        3

                                                                                                                                                        4

                                                                                                                                                        5

                                                                                                                                                        6
                                                                                                                                                                  Q.

                                                                                                                                                                  A.
                                                                                                                                                                       Did he

                                                                                                                                                                       --
                                                                                                                                                                            theyre going
                                                                                                                                                                  Q. Did he in fact

                                                                                                                                                                  A.

                                                                                                                                                                  Q.

                                                                                                                                                                  A.
                                                                                                                                                                       He gave me
                                                                                                                                                                       --



                                                                                                                                                                       Yes
                                                                                                                                                                            at that

                                                                                                                                                                                 sir.
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                                                                                                                                                                                               time
                                                                                                                                                                                                      a
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                                                                                                                                                                                                       OCTOBER



                                                                                                                                                                                                              to

                                                                                                                                                                                                             give

                                                                                                                                                                                                          letter.
                                                                                                                                                                                                                    ship

                                                                                                                                                                                                                     you a         letter
                                                                                                                                                                                                                                                                           Page    61




--15
 7                             THE COURT                            Sustained. Mr. Williams                                  listen to                  7         Q.   Okay.

 8       the    question         that       youre asked                 sir       and         answer         just          that                         8         A.   And       he     said Because                         if   they    dont          release      me     I




 9       question          all
                                 right                                                                                                                  9   aint coming               back.               Theyre going                 to ship      me       one way or the

10                             THE          WITNESS                   Yes         sir.                                                                 10   other.




--19
11              Q.    BY         MR. SIMS                     Once you got out did you decide                                              to          11                    MR.           DURHAM                       Thats           not responsive               to   any

12       make contact                 with Mr. Runnels                      about           --                                                         12   question.

                                           DURHAM                                                                Your Honor.                                                 THE COURT                              Sustained.




--20
13                             MR.                                    Leading             question                                                     13

14       Counsel         is    leading          his    witness.                                                                                        14                    MR.           DURHAM                       May        I    have

                               THE COURT                            Dont         lead     the        witness           please                          15                    THE               COURT                The jury            is   instructed         to


16       sir.
                                                                                                                                                       16   disregard.

17              Q.    BY         MR. SIMS                     Did     you eventually decide                                 to    contact              17         Q.   BY        MR. SIMS                      After          he gave you the letter whats

                                             combs                                                                                                     18   the very next thing                       that    happened                   Just
18       anyone          about        the                     that    were        left      under          your door

                A.   Yes         sir.                                                                                                                  19         A.   I
                                                                                                                                                                           put       the       letter


                     Who         did                                                                                                                   20              --   the      very next thing.                        Not a whole            bunch         just the
                Q.                          you contact                                                                                                           Q.




 --5
21              A.   When            I   come out             the    cell    door Runnels                        was standing                          21   next thing.

22       in the      day      room and he                  told      me he        put         the    combs under                      there.           22         A.   I
                                                                                                                                                                           put the             letter      up under           my        door.


23       I   said    For what And                             he said        --                                                                        23         Q.   Then          what        happened
24                             MR.         DURHAM                     Nonresponsive                        to the      question.                       24         A.   We     walked                 off the section.


25       Objection.                                                                                                                                    25         Q.   Okay.           Now            you      said      he told you what                    about the


                                                                                                                                           Page   60                                                                                                                       Page 62

 1                             THE COURT                            Sustained.                                                                          1   letter         What were your                      instructions to                 do with the letter

 2              Q.    BY MR.                SIMS Youve                       got         to    let     me    ask questions                              2                    MR.           DURHAM Asked and                                     answered.


 3       before you answer.                                                                                                                             3                    THE           COURT Sustained.
 4              A.   Okay.
                                                                                                                                                        4         A.   He asked me would                            I   mail       it




                Q.   You        just        cant       tell    a    narrative            story         okay                                             5                    THE               COURT                Okay.          You dont need                  to      answer

 6                             MR.         DURHAM                     Were         going             to    object          to the                       6   that question.                 I    sustained           the objection               to that       so hell


 7       sidebar comment.                                                                                                                               7   ask    you another                  question           now.

                               THE COURT                            Lets proceed.                                                                       8         Q.   BY        MR. SIMS                      Did you read the                     letter      at that     time
 8

 9              Q.   BY          MR.        SIMS              So     you talked                to this       defendant                    when          9         A.   No     sir.




10               said Mr. Runnels                       is    that    correct                                                                          10         Q.   At one point did you                             tell      him yes           you would              like
         you
11              A.   Yes         sir.
                                                                                                                                                       11   to    know what he was going                                to    do
12              Q.   And         be      told    you what                                                                                              12         A.   Yes       sir.




13              A.   That he put                 the    barber        combs up under my door.                                                          13         Q.   What happened                         after      you told him that




--21
14              Q.   What happened                       at that       point           very next thing
                                                                                                                                                       14         A.   He    told       me           what his intent                --   what      --    what     he      was

15              A.   He had a               letter in his            band         and asked                me would                   I                15   going      to do.


16       mail     this     letter        off    to   his      mom      if    he    dont come back.                               And       I           16         Q.   What          did        he    tell    you
                     him Where                                                                                    I                                    17         A.   He    said          he was going                 to get shipped                  one way or
17       asked                                   are     you going                     and he          said            might not

18       come back.              I    aint going               to    be coming                back.              So    I   said                        18   another         that he            was going to              kill      someone.              I
                                                                                                                                                                                                                                                             said    Man          you

                                                                                                                                                                                                              know What                                                   about
19       Okay.           What you going                       to    do                                                                                 19   tripping.            I
                                                                                                                                                                                     mean             you                                    are   you talking

20              Q. What happened                         at that      point
                                                                                                                                                       20   He    said      Im for real.                       So

                                                                                               under                  door                             21         Q.   What happened                         after      that
                A.   I
                         got     the      letter       and     just    slid       it
                                                                                       up                   my
22       and    we       were     walking              on     out.     He said                Do          you want               to       know         22         A.   He went on                    to the boot             factory         and    I    went on to

23       I   said    Not         really.             He said          I     aint coming                     back.           Just                       23   school.

                                                                                                                                                                       Did he give you                                            else at that           time
24       make sure             the       letter gets          mailed        to    my mom.                    I   said All                              24         Q.                                          anything


25       right.       He said Because theyre going                                                --                                                   25         A.   No     sir.




             COURT                                                                                                                                                                                                                                            59     -             62
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THE STATE OF TEXAS                    Multi-Page                                                                                                                                                TRIAL ON THE MERITS
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    TRAVIS  TREVINO       Document
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                                                                                                                                   Page   63                                                                                                                                        Page 65
                 Did                                                                                    sheet       of                              sir
                         you ever remember                                         a yellow                                                     I
 1          Q.                                                      seeing


 2   paper                                                                                                                                      2          A.        This      is
                                                                                                                                                                                    my         13th      year.


 3                       MR.         DURHAM                    Leading             question.                                                    3          Q.        Based          on    you being aware                         that     the    whole        unit had

 4          A.   No      sir.                                                                                                                   4   been     racked            up        based        on        your observations what                             did    you think

 5                       MR.         DURHAM                    Objection              --                                                        5   had     happened                that      day
 6                      THE COURT                         Sustained.                                                                            6                          MR.           DURHAM                       Your Honor                   thats          not admissible

 7                       MR.         DURHAM                    --
                                                                    to    the      leading
                                                                                                   --                                           7   what     he thought                  happened and                       it    calls    for    a hearsay             response

 8                      THE COURT                         Sustained.                                                                            8   and     it is     immaterial                and        it   is    irrelevant.


 9                      MR.         DURHAM                     May        I   have         an     instruction            to                     9                          THE COURT                             Sustained.


10   counsel      to    stop leading                                                                                                           10                          Rephrase              your question                         please.


11                      THE COURT                         Proceed.                                                                             11          Q.        BY        MR. SIMS                     After           the    unit     was racked up                 --
                                                                                                                                                                                                                                                                               or

12          Q.   BY MR.               SIMS               Besides         delivering              the    letter      did he                     12   as a matter of fact                        after       Mr.        Runnels             left    to    go   to    the boot

                                                                                                                                                                                                                             did                                  the defendant
13   ask    you   to     do       anything else                                                                                                13   factory and                you went             to     school                       you ever         see


14          A.   No     --                                                                                                                     14   again

15          Q. At       that      time        at that     time.                                                                                15          A.     No       sir not             until       today.

16          A.   No      sir.                                                                                                                  16                          MR. SIMS                      Ill      pass       the        witness         Your Honor.

17          Q. Okay.              Now         did    you       go on          and go         to    school        that     day                  17                          MR.           DURHAM                       Thank you.

18          A.   Yes      sir.                                                                                                                 18                                        CROSS-EXAMINATION

19          Q.   What happened                      while      you were              at     school                                             19   BY-MR.DURHAM_
20          A.   We      was        in   school doing               classwork                and        all   of a                             20          Q.        Mr. Williams                   just        a few        questions.


21   sudden they said                    --   bad    a response               to the        boot      factory.                                 21                          You           forgot       to   tell       the    jury about             Travis


22                      MR.         DURHAM                     Hearsay.                                                                        22   telling      you       that       Mr. Wiley                 was messing with him didnt                                     you
23                      THE COURT                         Okay.           Lets            dont ask open-ended                                  23          A.     He never               told     me       Mr. Wiley                   was messing with him.

24   questions         that       call for      a narrative               please.           Lets        ask      direct                        24          Q.     Well         in     your statement                    you said                that.    Do you          not

25   questions and                then    we      -- I    dont think Mr. Williams                                knows             when        25   remember your written statement


                                                                                                                                   Page   64                                                                                                                                       Page 66

 1   we want him               to    stop      you know               when           it    becomes            nonresponsive                     I                          MR.           DURHAM                       May          I   approach          the      witness Your

 2   so ask      direct       questions.                                                                                                        2   Honor

 3          Q.   BY MR.               SIMS               You went             on     to    school         that      day       is                3                          THE COURT                             Sure.


 4   that   correct                                                                                                                             4          Q.        BY        MR.        DURHAM                        Here you gave a                       rather      lengthy

 5          A.   Yes      sir.                                                                                                                  5   voluntary             statement              three          --   three        pages       worth.          Do you

 6          Q.   While         you were             at   school          that   morning did you                                                 6   want        --   do    you want              to      review         that             Go      ahead       and    review         it.




 7   become aware                 that     something           had        happened               on     the    unit                             7                          First         is    that    the       statement               you gave              Look       at


            A.   After they did a response                            and racked                  us up.                                        8   the    signature           there          and      see      if    thats the statement                      you gave.
 8

                                    DURHAM




--18
 9                      MR.                                    Your Honor thats a yes-or-no                                                     9          A.     Thats my                    signature.


10                                                                                                                                             10          Q.     Thats your signature thats your                                                statement.             Do
     question.


II                      THE COURT                         Sustained.                                                                           11   you     want          to   read       that      --     take a       moment please

12                      MR.         DURHAM                     Its not a responsive                           answer.                          12          A.        Witness             reading


13          Q.   BY       MR. SIMS                       Did   you become aware                           that      something                  13                          THE COURT                             Mr.        Durham               perhaps          youll      direct



14   had    occurred           on    the      unit                                                                                             14   his    attention           out of          that      three        pages            to the    part    that      you

                                                                                                                                               15   wish     to      cross-examine                    about.
15          A.   Not     until       they racked               us up.

16          Q.   Tell    the        ladies      and gentlemen                   of    the    jury what                                         16                          Pause
                                                                                                                                               17                          THE COURT                             Have you completed                           your
17   racking you             up means.
            A.   That     means            that     everybody              on the unit                you go back                              18                          THE WITNESS                                Yes          sir.



                                                                                                                                               19                          THE COURT                             --
                                                                                                                                                                                                                      review              Mr.    Williams
19   to   your    pod        to     your cell and              youre            in    lockdown.

                                                                                                              the    whole                     20                          THE WITNESS                                Yes          sir.
20          Q. Will       just       any kind of minor problem                                    cause

                                                                                                                                               21                          THE COURT                             Thank you.                   Lets proceed.                  He says
21   unit    to get     racked           up
22                      MR.         DURHAM                     Objection                  that    calls       for   an                         22   hes completed                     his      review.


23   interpretation            of prison policy                     Your Honor.                                                                23          Q.        BY        MR.        DURHAM                        Okay.             Right         and       did   you find         the


                                                                                                                                                                                                                                                                    with       Travis
24                      THE COURT                         Sustained.                                                                           24   part    where          you        told      them         about          Mr. Wiley              messing


25          Q.   BY       MR. SIMS                       How        long have              you been            in   prison                     25          A.        Yes       sir.




                                                                                                                                                                                                                                                                                               66
320TH DISTRICT COURT                                                                                                                                                                                                                                                    63     -
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POTTER COUNTY TEXAS
THE STATE OF TEXAS                     Multi-Page                                                                                                                                    TRIAL ON THE MERITS
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     1          Q.   Okay.           So you forgot                  to   tell       the jury about          that                       1           Q.    And if             your supervisor                       is    giving          you     a hard           time
     2   didnt        you                                                                                                              2   youre            an    unhappy                 prisoner               arent        you
                                                              --
     3          A.   Well        he      said that                                                                                     3           A.    Yes.

     4          Q.   Sir    did          you    tell   the jury about                     that in   all    the                         4           Q.    Okay.              Now           when           Travis          told      you he            --   he might not

     5   statements         you          made                                                                                          5   be coming              back             that        could have meant a                         lot      of things

     6          A.   Yes     sir.                                                                                                      6   couldnt               it




--14
     7          Q.   Oh     you          did    tell   them                                                                            7          A.    Well he                  stipulated              why he didnt want                            to    be out

     8          A.   Do    you want                 me to       tell     them                                                          8   there.


     9          Q.   And     I      missed it                                                                                      9              Q.     Stipulated                he did not want                       to   be there

10             A.    Do you           --   do you want me to                         tell    them                                  10             A.    Yes.

11              Q.   Sir did he             tell     you that Mr. Wiley                       was messing with                    11              Q.    So not coming                          back could mean that he was going to

12       him                                                                                                                      12       climb over              the       fence

13             A.    He    said       Mr. Wiley was messing with                                    him.                          13              A.    Well           he     put        it    in


               Q.    Yes     sir thats               --                                                                           14              Q.    Pardon
15             A.    Thats          what he          said.          I   dont know.                                                15              A.    --   words            that        he was going                   to   do something to make

16             Q.    Now         thats         just based on what he said                             right                       16       them ship him.

                                                                                                                                                                                         -- if      he ran to
17             A.    Yes     sir.                                                                                                 17              Q.    Well climb                                                      climb over                 the     fence

18             Q.    Okay.          Let     me       --   youve              been     in prison       quite       a               18       that    would          get their attention                             wouldnt it
19       while.       Is   the sexual offense the only                                case    youve been                          19              A.    Yeah            if   he done               that.


20       convicted         on                                                                                                     .2              Q. Yeah.                 And       you werent present when anything

21             A.    Yes     sir.                                                                                                 21       happened
22             Q.    Okay.          Having           been in prison                   youve been             in   more            22              A.    No        sir.



23       than      one unit                                                                                                       23              Q.    And you dont                           personally               know what was going on                                 in

24             A.    Yes     sir.                                                                                                 24       that boot             factory

25             Q.    Okay.          What        other units              have you been               in                           25              A.    No        sir.




                                                                                                                      Page   68                                                                                                                                      Page 70
     1         A.    Robertson              Hughes Garza Gurney.                                                                   1              Q.    Are you             --    strike       that.


 2             Q.    And what              occasioned               you being              transferred       from one              2                             Let     me       see     if   I   can     get    this straight.           He        told


 3       unit to      another                                                                                                      3                                                          was having               correct
                                                                                                                                           you about problems                       he

 4            A.     They just transfer                       us.                                                                  4              A.    Yes       sir.



 5            Q.     For no reason                                                                                                 5              Q.    And       he       told    you        that     he intended            to   put an end               to


 6            A.     No    reason.                                                                                                 6       those problems                  some          way
 7            Q.     Okay.          In the prisons                  are jobs          important                                    7              A.    Yes       sir.



 8            A.     Yes     sir.                                                                                                  8              Q.    And       he didnt               say        I am         going       to    --   did he        say        I
 9            Q. So various                jobs        carry        various          benefits       with    them                   9       am planning             to      do     AB            C          that    is    Imgoing                to   get a

10            A.     Thats          the    way you do                   your job.                                                 10       knife and go               kill   somebody                       Did        he say that

11            Q.     Well       I   mean            theres          a difference            in being       on a                   11              A.    No       he didnt               say     it --    he never         told     me     he       was

12       farm unit and being                     out in the sun                   chopping          cotton       and being        12       going       to get     a knife          and go do something.                            He just           said    that


13       in a unit        where its air-conditioned                                 and youre doing                               13       he   was going             to    make them                ship him some kind of way.                                  And       I




14       paperwork.             Would you                 say       theres          a difference                                  14       said     What          you        mean              You tripping.

15            A.     Theres          a difference               there.                                                            15              Q.    Okay.           So he        --    he      was      --
                                                                                                                                                                                                                 he apparently             was having                a

16            Q.     And    so jobs            are very             important                                                     16       miserable time within                         that      job
17            A.     If   youve                                              do                                                                         He didnt                                   be out       there.
                                          got the         skills        to          it.                                           17              A.                         want         to


18            Q.     Okay.          And your              relationship with                  your     supervisors                 18              Q.    And       did he          tell
                                                                                                                                                                                          you what               his   job    was out there

19                                  is   that   correct                                                                           19            A.      I   think janitor sweeping                           up        cleaning         up     I   think.
         is   important

20            A.     Thats          correct.                                                                                      20              Q.    You       dont           know
21            Q.     Okay.          And        if   youve           got a      good relationship with                             21            A.      Im       pretty          sure thats              what      he said         that   he       was a

22                                         youre          a    happy prisoner                 right                               22                    or something                to the          sort.
         your supervisor                                                                                                                   janitor


                                                                                                                                                  Q. These            various                       youve been                            notice the
                                                                                                                                                                                                                                   -- I
23            A.     Yes    I
                                 guess.                                                                                           23                                                     units                                in


24            Q.     And happy              prisoners               dont       cause        problems do they                      24       State     swore        in    several witnesses                       this    morning were                  --   and       you

25            A.     Yes    sir.                                                                                                  25       were     one of        them correct


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THE STATE OF TEXAS                    Multi-PageTM                                                                                                                              TRIAL ON THE MERITS
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     1         A.    Yes       sir.                                                                                                  1          A.    No        sir.


 2             Q.    And       they         were    all     inmates correct                                                         2           Q.    You know what                        a snitch           sheet      is dont        you
 3             A.    Yes       sir.                                                                                                 3           A.    Yes         sir.


 4             Q.    And       there        were seven            of   them correct                                                 4           Q.    And no one                 has       --    are   you
                                                                                                                                                                                                                  --   have    you been moved
 5             A.    Yes       sir.                                                                                                 5    since you were told you were going to testify

 6             Q.    And one            of    them was            white correct                                                     6           A.    No        sir.


 7             A.    Yes       sir.                                                                                                 7           Q.    Youre             still   in the           same unit

 8             Q.    And       the other seven               were black              is   that   correct                            8           A.    Still in the              same       unit.

 9             A.   Yes        sir.                                                                                                 9           Q.    Same pod
10             Q.    Is   that     --      does    that represent              the population           at                         10           A.    Different           pod.

11       Clements           primarily              black                                                                           1 l          Q.    Pardon
12                         MR. SIMS                   Objection calls for speculation.                                             12           A.    Different           pod.

13                         THE COURT                        Well        overruled.            If he    can answer                  13           Q.    Oh        what pod did they switch you                                   to
14       the question.                                                                                                             14           A.    I   got    my ten          years in and                 I   got     dorm eligibility.
15             Q.    BY        MR.          DURHAM                 Is    the population               out there                    15           Q.    Eligibility             for    what
16       primarily         black                                                                                                   16           A.    To move to the                   dorms.

17             A.   I   wouldnt              say    that.                                                                          17           Q.    To the dorms
18             Q.   Pardon                                                                                                         18           A.    The       dormitories.


19             A.   I   wouldnt              say that        to    my       knowledge.                                             19           Q.    Okay. So                there      are         different         classifications           out




 --3
20             Q.   Its     just that the witnesses                      they     swore in were                all                 20    there

21       black                                                                                                                     21           A.    Yes.         Youve             got to become                     a different     class      to   be

22             A.   I
                        guess         that    was     the ones          that     worked        out    there.         I             22    moved            to    the     dorm.

23       didnt work              in there at that time.                                                                            23           Q.    All right.              Are you             familiar         with       the classification




 --7
24             Q.   Well youre                    familiar with             using    knives          arent      you                24    system
25             A.   Why        would             you say that                                                                      25           A.    Yes        sir.




                                                                                                                Page      72                                                                                                                 Page 74
 1             Q.   You used                a knife       when you           raped     that 80-year-old                             I           Q.    Okay.           What      is   it

 2       woman          that     you went to prison                     for.                                                        2           A.    I   was     a    G-3      which           if


               A.   Thats          what they claimed.                                                                               3           Q.    All      right.     What        is    a    G-3
                                                                                                                                                                                                                  50 years or more
                                                      Objection Your Honor.
                                                                                                                                                                                 -- if
 4                         MR. SIMS                                                                   Its    not                    4           A.    If   youve         got               youve         got

 5       admissible.                                                                                                                5    youve            got to      have ten years calendar                      flat    time   on   it   to   be

 6                         THE COURT                        Sustained.                                                              6    moved            to the dormitory or the


                    BY         MR.          DURHAM                                     Have                          used     --    7                 And       in the     dormitory youre not locked                             up




--15
               Q.                                                  All      right.               you ever                                       Q.

 8       did   you        use a knife             in the    commission               of the offense            youre          in    8           A.    Youre           locked      up       but       youre        not in a     cell   block.


 9       prison      for                                                                                                            9           Q.    Okay.           What      other classifications                    are there than


10             A.   No      sir.        Thats       what they put down.                        Wasnt no                            10    G-3
11       knife      ever    found.                                                                                                 11           A.    Youve            got a    G-4        which        is    medium custody youve

12             Q.   Oh      they lied about                 it                                                                     12    got a        G-5      which       is   closed          custody.          Anything        after that      is



13             A.   I
                        guess         so.    If    they     would       give      me      a   DNA      I    would        be        13    seg.

                                                                                                                                   14                 All                 Five       is --      five    is
14       innocent          today.                                                                                                               Q.             right.


               Q.   So youre                an    innocent        man       in   prison                                            15           AA.   High       security.

16             A.   Give       me       a    DNA      and     it   will      prove     it.                                         16           Q.    --   the    worst          Its     the high            security




--24
17             Q.   Youre             an    innocent        man        in   prison                                                 17           A.    Yes       sir.


18             A.   Yes        sir.                                                                                                18           Q.    And       four     is   just    below           that

19             Q.   So youre hoping                       to get a      DNA to            help   you get out of                    19           A.    Yes       sir.



20                   --                                                                                                            20           Q.    And       at    some      point       in       time were you either a four                  or
         prison

21             A.   Yes        sir.                                                                                                21    a   five

22                  --    and you havent                    been promised a                   DNA      for                         22           A.    Ive       never     been a five                 Ive been          a four.
               Q.

23       testifying                                                                                                                23           Q.    Okay.           And     four     is


                                                                                                                                                      Medium.
               A.   No      sir.                                                                                                   24           A.

                    Youre             not worried            about                    a snitch        sheet                        25           Q.
                                                                                                                                                      -- is     what kind of security
25             Q.                                                       getting


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 1          A.    Medium                       security.                                                                                          1         A.    It    could            yes     sir.


 2          Q.    And              then you             moved down                               to     a three                                   2         Q.    Okay.              Mr. Williams its right here.                                 If   you would

 3          A.    Yes.                                                                                                                            3   read       starting right here.                    Indicating

 4          Q.    And now youre                                    a    two                                                                       4                      THE             COURT               Read        it   to yourself.


 5          A.    Yes              sir.                                                                                                           5                      THE WITNESS                               Okay.        Witness            reading

 6          Q.    What              happens              when                you become                    a     one                              6         Q.    BY          MR. SIMS                   Does         that help refresh                 your memory

 7          A.    Ill         never            become                  a one.                                                                     7   about what              Mr. Runnels                told      you
 8          Q.    You cant become                                       a    one                                                                  8         A.    Yes.


 9          A.    No          sir.                                                                                                               9          Q.    What         is    it    he    told   you sir




--17
10          Q.    Why not                                                                                                                       10          A.    He asked                me     did    I    really      want to know.                  And I       told

11          A.    Because                  of     my          case what                    Im locked                      up   for.             11    him no and              he     said       --    then    I    said yes.          He     said that he           was

12          Q.    Well              what          is    the        one What                           level     is    one        Is   it   a    12    going       to   kill       Mr. Wiley             if   he    say        something to him this

13   trusty           or   what                                                                                                                 13    morning.           I    said         Man          you tripping.                  I    said       Youre            going

14          A.    Thats a                  trusty.                                                                                              14    to get a         job change.

15          Q.    Trusty                                                                                                                        15          Q.    Now          you had known                       Mr. Runnels               for   some       --   close to


16          A.                        status.                                                                                                   16    ten                is    that        correct
                  Trusty                                                                                                                                     years

            Q.    So you can never be                                        a     trusty                                                       17          A.    Eight        years.

18          A.    No          sir.                                                                                                              18          Q.    --    at the       time this occurred

19          Q.    Okay.               And          --    because                   of your classification                                       19          A.    About           eight         years yes           sir.


20          A.    Yes              sir.                                                                                                         20          Q.    Eight        years

21          Q.    It    must be hard                          to        be doing 80 years when                                  youre           21          A.    Yes         sir.



22   innocent                                                                                                                                   22          Q.    To you had you always found him                                            to   be a truthful

23          A.    I    dont have 80                                                                                                             23    person          and do what                he said
                                                              years.

24          Q.    Fifty-five                    years              Im sorry                     55      years.                                  24          A.    Yeah          he was always a truthful person.                                       He was       a


25                         The            --
                                               your       alleged                  victim was                  80.        Youre        only     25    good person              to        me.


                                                                                                                                Page       76                                                                                                                      Page 78
 1   doing       55 though            correct                                                                                                     1         Q.    And do             what        he    would        tell      you     he    would       do
 2          A.    Yessir.                                                                                                                        2          A.    Yes         Sir.


 3                         MR.        DURHAM                    Ill pass           the witness.                                                  3                       MR. SIMS                      Pass       the witness.


 4                                   REDIRECT                   EXAMINATION                                                                      4                                   RECROSS-EXAMINATION
 5   BY MR. SIMS                                                                                                                                 5    BY-MR.             DURHAM
                                                                                                                                                                  Well                           has he       been a violent person
 6          Q.    When         you asked Mr. Runnels                               yes    --   or told                                           6          Q.                 to    you
 7   Mr. Runnels yes you wanted                               to       know what he was                  going       to   do                     7          A.    Not since Ive known                              him.


 8   that   morning           --                                                                                                                 8          Q.    And you have known him                                   eight      years.       Hes        been in

 9          A.    Yes       sir.                                                                                                                 9    prison      eight years and not been violent                                         correct

                                                                                                                                                                                                                   he    hasnt.
10          Q.    --   do you         recall      what        it   is   he   told    you                                                        10          A.    Not to          my knowledge
11                         MR.        DURHAM                    Asked          and answered               Your Honor.                           I 1         Q. Been           a pretty           good        prisoner           as far as         you    know
12                         THE        COURT              Sustained.                                                                             12          A.    Yes         Sir.


                                                                                                                                                13                But        of      course your memory                         is    kind of on and off
13          Q.    BY        MR. SIMS                   In regards            to the question              Mr. Durham                                        Q.

14   asked you          while                          indicated            that    Mr. Runnels            did   not                            14    isnt it
                                     ago       you

15   specifically          tell
                                    you what           he was          going       to do.                                                       15          A.    No     Sir.




16                         MR YONTZ                     Mr.        Runnels.                                                                     16          Q.    Well         did        you forget about                    being    in prison         in


17          Q.    BY        MR. SIMS                   Mr. Runnels                  Im         sorry.                                           17    Florida

18          A.    Yes       sir.                                                                                                                18          A.    No     sir.            You didnt            ask       me     about       Florida.


19          Q.    Is   that        correct                                                                                                      19          Q.    No     sir         I   asked you            if   you had been convicted                          of


20          A.    Yes       sir.                                                                                                                20    anything          else      and you said no.                      Now          what were you convicted

21          Q.    And Mr. Durham                       indicated            you gave a            witness                                       21    in Florida         for

22   statement         shortly        after     this    all   happened               is   that correct                                          22          A.    A     robbery.

                                                                                                                                                23          Q.                              were innocent                  of that         also
23          A.    Yes       sir.
                                                                                                                                                                  I
                                                                                                                                                                       guess       you

24          Q.    If
                       you were            to read that                would       that help          refresh                                   24          A.    No      Sir        I   didnt        say     that.



25                            as     to    what    might have                actually           been said                                       25          Q.    But you                were convicted.                 Now         youre        telling the jury
     your memory

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                                           didnt have any other felony
         while       ago when you said you                                                                                                       not him.
     1                                                                                                                                       1



     2   convictions                 that         was incorrect                                                                          2              Q.    No          sir       Im asking                         you based on your                             observations

     3          A.   I    thought            you were talking about                             the   state    of Texas.                 3       over        your eight-year                         relationship with Travis                                       Runnels                    youve
 4              Q.   Oh.         Well do you have                             felony      convictions            other                   4       had occasion                    to      see       him           almost             on a daily basis                         is    that

     5   places          than     Florida                                                                                                5       correct

                A.   No         sir.                                                                                                     6              A.    Yes          sir.



 7              Q.   Just Florida                     and Texas                                                                          7              Q.
                                                                                                                                                              --    or incorrect

 8              A.   Thats             it.                                                                                               8              A.    Thats              correct.




--18
 9              Q.   Now             how          did       you      get to    Texas                                                     9              Q.    All        right.          And hes                      appeared to be a peaceable

10              A.   I    moved down                        here with          my    wife.                                              10       person

11              Q.   Why          did        you leave                Florida                                                           11              A.    Yes          sir.



12             A.    I    wanted to change up.                                                                                          12              Q.    Hes          been a good prisoner

13              Q.   What            about            that probation               you    did    for beating            a    man        13              A.    Yes          sir.




--23
14       did    you forget about                           that      one too                                                            14              Q.    So for him to react                                     it    would           take         more than just an

                                                                It   got taken       off                                                         unkind word                      in
15             A.    I    got probation.                                                   my     record.                               15                                               your opinion

16             Q.    You went                    to court            --                                                                 16              A.    I    imagine               if    someone                     put his          hand on            him he would
17             A.    That        was self-defense.                                                                                      17       have fought                back              or     something like that                                 but        --      but

               Q.
                     --
                           again            and       it   was       taken     off   your record                                        18              Q.    It    would               take       something unusual wouldnt it

19             A.    Yes         sir.                                                                                                   19              A.    I    cant          say         that.


20             Q.    It    was. not a final                      conviction                                                             20              Q.    Well based on your experience do you have an
21             A.    No         sir.                                                                                                    21       opinion

22             Q.    Oh         so     it    doesnt count                                                                               22              A.    I    mean             for      me             for      me      doing          my time                 I   can

               A.    I
                          guess.                                                                                                        23              Q.    No          sir.



24             Q.    Well         -- all
                                         right.                  But you can             truthfully say            that                 24              A.    -- I       can look over                           and walk                  away from                things                now
25       Travis          has    been a pretty peaceable                             prisoner          hasnt        he                   25       but     when        I first             come in                  I   wouldnt have                            but       now        I      do.



                                                                                                                        Page       80                                                                                                                                                      Page 82
 1             A.    Yes.                                                                                                                1              Q.    But     you saw him walk                                 away from                  things       on       many
 2             Q.    Do        people            get in fights in                prison                                                 -2       occasions           didnt              you

 3             A.                                                                                                                        3             A.     I    seem        him walk                 away from things                          that     he could            have
                     Everyday.

 4             Q.    You havent                        seen      him get         in a fight in eight               years                 4       fought about               but be walked                            away from them.

 5       have       you                                                                                                                  5              Q.    Many times
 6             A.    No         sir.                                                                                                     6             A.     Several            times         when Ive been                            around.

 7             Q.    He        takes         a    lot      of   pushing to get his dander                       up                       7                           MR.            DURHAM                            Pass        the      witness.

 8       doesnt          he                                                                                                              8                                       REDIRECT                            EXAMINATION
 9             A.    I    cant say                that.                                                                                  9       BY-MR.              SIMS

10                   Have                                             him lose his temper                                               10                    Are you with the defendant                                           24      hours    day        at the
               Q.                    you ever               seen                                                                                        Q.

11             A.    Several              times but he didnt get in no fight over                                                       11       prison

12       it.                                                                                                                            12             A.     No      sir.



13             Q.    He        reined            it   in    is    that correct                                                          13              Q.    So some of these things you dont know                                                            whether            he


14             A.    What do you mean                                     What     are   you     trying to         say                  14       retaliated         against             anybody or not do                               you
15             Q.    Well            he     --    he       held his        temper he didnt go out and                                   15             A.     No      sir.          I   wasnt           there          to    see     it.




16       do anything                 about            it                                                                                16              Q.    Tell       the     jury what                  you       think about                 Mr. Wiley.

                                                                                                                                                                                                        he                                                    he could
17             A.    No         he     didnt               fight      if   thats    what youre                trying to                 17             A.     He was a good                        --
                                                                                                                                                                                                                 was a good                 guy.         If



18       insinuate.                                                                                                                     18       help       you     he    would help you.                              If    you had a problem you could

19             Q.    Well            okay.            Did he          later    do something about                      it put           19       go    to    him and           talk      to    him about                    it.     He would             see what             he


20               in their food                    or hide their shoe                 laces or         something                         20       could       do     for    you.          I   worked               there           like     12 days and when                           I
         slop

21             A.    No         sir.                                                                                                    21       wanted        to    leave because                      I    liked         cutting          hair he        was          trying            to


22             Q.    Okay.             So        it   would          take     more       than    just a       little    to              22       get   me     to    stay       to       cut hair            --   I    mean         to      stay and        work             said       I



                                                                                                              in                        23       was a good              worker but                                    him I didnt                like     that             liked
         push him to a point of doing something                                                                                                                                                             told                                                        I
23                                                                                          violent                your                                                                                 I




24       opinion           is   that         correct                                                                                    24       to    cut   hair.        So     when          I   got       my        line        class      I   left    to   go cut


25             A.    I    dont know                     the     --   about     the pushing.              I
                                                                                                              mean Im                   25       hair.



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     1         Q. In       fact         you even had an opportunity                           to talk to                      1
                                                                                                                                         Q.    Where                 are   you residing            sir

     2   Mr.    --                                                                                                        2              A.    Clements                   Unit.

     3                         MR.       DURHAM                 Objection leading.                                        3              Q.    Max               unit for the         Texas Department                of   Criminal

     4       Q.      BY         MR. SIMS                 Did you ever              have an opportunity              to    4       Justice              is   that       correct

     5   talk to         Mr. Wiley about                a   problem                                                       5              A.    Yes            sir.


     6       A.      Yes         sir.                                                                                     6              Q.    Youre                  in for an      aggravated          robbery with a deadly

 7           Q. Did he get that resolved                                                                                  7                             is   that         correct
                                                                                                                                  weapon
 8           A.      Yes        he      got    it   resolved.                                                             8              A.    Yes            sir.


 9           Q.      It    wasnt any kind                   of physical           altercation        problem              9              Q.    On a              59-year         sentence

10       though           was it                                                                                         10              A.    Yes            sir.


11                          MR.         DURHAM                  Thats        --   thats       a leading                  11              Q.    Has           anyone promised you anything                             in regards to          your

12       question.                                                                                                       12       testimony                 here        today
13                          THE COURT                       Sustained.            Dont        lead the     witness       13          A.        No            sir.


14       please.                                                                                                         14              Q.    Do           you know             Travis      Trevino Runnels

15                          MR. SIMS                   Pass    the    witness Your Honor.                                15          A.        Yes            sir.



16                                      RECROSS-EXAMINATION                                                              16          Q.        See him here in the courtroom today

17       BY-MR.                DURHAM                                                                                    17          A.       Yes             sir.


18           Q.      Mr. Williams how                       long did         you know Mr. Wiley                          18          Q.        Point             him out and              describe     the clothing         hes

19           A.      I   knowed him                 about      12    days when            I   was    working   in        19       wearing please.

20       the boot          factory.                                                                                      20          A.       Red            shirt        and some         slacks.

21           Q.      Twelve             days.       And     in that 12           days     yall had a good                21          Q.       How                did    you come to know                 this     defendant

22       relationship                                                                                                    22          A.       Just through                    --
                                                                                                                                                                                   just kicking        it    with him on the

23           A.      Yes        sir.                                                                                     23       Clements                  Unit.

24           Q.      Was        he      --   were you working in the boot                           factory              24          Q.        Can           I    ask     you to speak up just a                  little   bit

25           A.      He was             over    me.                                                                      25          A.       Yes            sir        yes   sir.




                                                                                                           Page     84                                                                                                                   Page 86
                     He was                            at the boot                                                                            Thats                                        Thank
 1           Q.                         over    you                          factory                                      I          Q.                              way   better.                    you.

 2           A.      Yes.                                                                                                 2                             You knew him how                           sir

 3           Q.      But you transferred                      out of      there                                           3          A.       Just           you        know         playing       basketball         barber     shop        all


 4           A.      Yes        sir.                                                                                      4       that type of                   stuff.


 5           Q.      For a better              job                                                                        5          Q.       On            January 29th              of   2000     sic        where were you

 6           A.      Yes        sir.                                                                                      6       working at sir

 7                         MR.          DURHAM                  Okay.        No     further questions.                    7          A.       The boot factory.

 8                         MR. SIMS                   Nothing         further.                                            8          Q.       Is       there just           one boot factory                out   there

 9                         THE COURT                        Okay          Mr. Williams you can step                       9          A.       Yes            sir.


10       down.                                                                                                           10          Q.       On January                    29th     of    2003 what           particular        job did you

11                         THE WITNESS                         Yes        sir.                                           11       have there

12                         THE COURT                        Call     your next witness.                                  12          A.       I    was working                     in the lasting cage.


13                         MR. SIMS                   William Gilchrist.                                                 13          Q.       Explain just real briefly to the jury what that

14                         THE COURT                        Mr. Gilchrist            if   you would         come         14       means.

                                                                    and take                                                                  Its           where you put the uppers on the rack and
15       right    around here please                        sir                    a seat      up there on               15          A.

16       the witness            stand.                                                                                   16       then    --      it                  from one machine to another                      machine          to   put the
                                                                                                                                                        goes

17                         Pull that           up a    little       bit   and kind of                                    17       sole    on           and       I   was    at     the beginning            of the process.


         towards          --                                   there.        Thats                   Thanks.             18          Q.       The boot                  factory      makes      all   the boots        and   all   the
18                              yeah         yeah right                                 good.

                                                                                                                                  tennis       shoes             for the prison             system     in the state         is   that
19                         Go        ahead.                                                                              19

20                                      WILLIAMGILCHRIS1                                                                 20       correct

21       having          been    first       duly     sworn         testified      as   follows                          21          A.       Yes            sir.




22                                      DIRECT EXAMINATION                                                               22          Q. Thats                        your understanding

23       BYM R.                SIM      S                                                                                23                             About             how many           people      are out there       working on

                                                                                                                         24       a shift
24                   State       your name please                     sir.
             Q.

                  William Gilchrist.                                                                                     25          A.       About                  50    somewhere around                  there.
25          A.


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POTTER COUNTY TEXAS
THE STATE OF TEXAS                                                                                                                                                      TRIAL ON THE MERITS
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 I          Q.   About           50 inmates and then                          theres    some other people                     1         Q.    Based on your observation                            --   how     long       had you been

 2   there       correct                                                                                                      2   working at the boot                      factory      out    there

 3          A.   Yeah.                                                                                                        3         A.    About         a year         and a     half.


 4          Q.   Correctional                officers         and then also civilian                                          4         Q.    Did you ever                 work      the    same      shift    with     Mr. Wiley

 5   employees             that are in charge                  of the boot             factory                                5   until that         week
 6          A.   Yes        sir.                                                                                              6         A.    That was            the   first       time.

 7          Q.   Is   that       right                                                                                        7         Q.    Okay.          Now        they        had just changed some                    shifts           at the




--16
 8                     In regard to that                     do you know               Mr. Wiley Stan                         8   boot factory              correct

 9   Wiley                                                                                                                    9         A.    Yes      sir.



10          A.   Yes        sir.                                                                                             10         Q.    Eliminated             one didnt they
11          Q.   How        did        you know him sir                                                                      11         A.    Yeah       second            shift.


12         A.    From        --    he    was an          officer         at   first   before    he   went to                 12         Q.    And combined                   them      --   combined           it   with    the      first


13   the boot         factory.          And            by him being             an    officer     we had      contact        13   shift

14   on the pods and                   stuff.                                                                                14         A.    Yes      sir.




15          Q.   And        he     would          --   what    is       the   word you used            before      he        15         Q. Thats            when Mr. Wiley went                         to    work

     was     in the boot               factory           I   didnt quite understand.                                         16         A.    Yes      sir.



17         A.    Correctional              officer.                                                                          17         Q.    --   on the same              shift    you were            is   that    correct

18          Q.   Okay.            He was           a   CO                                                                    18         A.    Thats         correct.


19         A.    Yes        sir.                                                                                             19         Q.    About         how      long      do you recall             it
                                                                                                                                                                                                              being     that    yall had

20          Q.   Correctional              officer.                                                                          20   been working together

21                     And         then      he    changed jobs and went to the boot                                         21         A.    About         --   almost       a     week.

22   factory      as a civilian              employee                                                                        22         Q.    And when               did    Mr. Runnels              go to work            with you out

23         A.    Yes        sir.                                                                                             23   there      the     first    time      you remember

24          Q.   Is   that       your understanding                                                                          24         A.    I   dont       exactly        know        the date        or nothing          like that

                                                                                                                             25   but    I   think     he     was     out there like            about three or four
25         A.    Yes        sir.                                                                                                                                                                                                        days.


                                                                                                            Page 88                                                                                                                       Page 90

 1          Q.   Okay.            Now        did       you     in fact          turn    out for      work on                  I         Q.    He had          only      been out there three or four                        days
                                                                                                                                                       --
 2   the 29th         in    2003                                                                                              2         A.    Like           yeah       yeah.

 3         A.    Yes        sir.                                                                                              3         Q.   Now        during          that      day      shortly after getting               to    work

                 Went                                                                                                         4   at the boot                           did             see   Mr. Wiley having a discussion
 4          Q.               to the boot               factory                                                                                        factory                  you

 5         A.    Yes.                                                                                                         5   with someone

 6          Q.   About           what time did that take place                                                                6         A.    In the     --      what      you mean            when we          first   went         out


 7         A.    The turn           out when we                    first      turned    out                                   7   there

 8         Q.    Yes        sir.                                                                                              8         Q.    Yeah       shortly after              you got out there yes                     sir.



 9         A.    About           445      five         oclock           in that time       frame.                             9         Q.    Well he was you know                             conversating           with a            lot    of

10         Q.    And        then       about what time did you head to the boot                                              10   people.

11                                                                                                                           11         Q.    Okay.          Did you wind               up talking to Mr. Runnels                              that
     factory

12         A.    About           515      after         everybody              had been rostered            in.              12   day
13          Q.   Now         did       you      see the defendant                    at the boot      factory                13         A.    Yes      sir.


                                                                                                                             14               When       did      that      first    occur
14   that    day                                                                                                                        Q.

15         A.    Yes        sir.                                                                                             15         A.    When       we       first     got out there in the boot                   factory.

                                                                                                                                              About         what      time        would       that   have been
16          Q.   Did you see Mr. Wiley                             at the boot          factory      that   day              16         Q.

                                                                                                                             17         A.    About         520.
17         A.    Yes        sir.



                                                                               tell   the ladies      and                    18         Q. So you get out to the boot                           factory         but     you dont
18          Q. Explain             your relationship or
                                                                                                                             19                                      working           is   that     correct
19   gentlemen             of the jury about                  Mr. Wiley.                                                          immediately               start


20         A.    Well Mr. Wiley was a                              --   he     was an    all    right                        20         A.    No no           sir.



                                                             what       Im saying               be a                         21               What      are the inmates                 doing until you               start    work once
                                    you know
21   officer      tended                                                                  to            little                          Q.

22   aggressive            sometimes               but       more or less he come to do his job.                             22   youre out there

23          Q.   If   you        did    your job             did    you       ever     have a hassle with                    23         A.    Well everybody                   go get some coffee to jump off you

24   him                                                                                                                     24   know what            Im saying.                 But    Im the         head of the process so

                                                                                                                             25                              wait             until     I start      the process           and then            it
25          A.   No        sir.                                                                                                   everybody           got to

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     1   will     work        its
                                    way on              down.         But usually           they       just      standing                          1          Q.     Okay.                  So you were working                                  in this area              here




--10
     2   around            waiting on             the    racks        to get     to   them.                                                    2       Indicating

     3          Q. So once                 things        start      moving through             the     system            then                  3              A.     Right.

    4    the    others        will start           working            as   the    work     gets   to    them                                   4              Q.     Okay.              Im going to                         -- if      its       all   right Ill put

     5          A.        Right.                                                                                                               5       your        initials            right here.                   Is    that        all   right

    6           Q.        Is that    what         youre            telling   me                                                                6              A.     Uh-huh.

    7           A.        Yes      sir.                                                                                                        7              Q.     WG
    8           Q.        Okay.       Im          going       to    show you whats                been        marked        for                8              A.     Uh-huh.




--16
    9    identification              purposes                as States 50.              Are you able             to                            9              Q.     Thats              where you were working

         recognize           that sir                                                                                                         10              A.     Yes             sir.



11              A. Yes.                                                                                                                       11              Q.     --    correct

12              Q.     Can you             tell     the      ladies    and gentlemen              of the jury                                 12                               Now            approximately where was                                         Mr. Wiley                 that

13       basically           what         that    represents                                                                                  13       day
14             A.      The layout of                 the      boot     factory.         The layout of              the                        14              A.     He was                 --   he was everywhere.

15       boot     factory.                                                                                                                    15              Q.     Walking                 everywhere

                              MR.          DURHAM                     Your Honor may                   I    move where            I   can     16              A.     Walking                 everywhere.

         follow                                                                                                                               17                     --
17                     the    testimony                                                                                                                       Q.          initially                     Okay.

18                            THE COURT                             Sure.                                                                     18                               Now            you came                     into contact                with the defendant

19             Q.      BY          MR. SIMS                   If   you     can    -
                                                                                        youre     able      to     recognize                  19       shortly after getting                             to    work while yall were                                  drinking

20       this     is   that      correct                                                                                                      20       coffee         or before                  you started working

21             A.      Yes         sir.                                                                                                       21             A.      Right.

22             Q.      Im just            going         to   have      you       go ahead      and stay up                                    22             Q.      What happened                             at that           point sir

23       there       if    thats      all
                                               right.                                                                                         23             A.      When             we         first    came in Runnels pulled                                       me       and another

24                            Whats               along       this    wall       over   here Indicating                                       24       guy aside and said that he was getting tired of the boot

25             A.      Thats         where          the      bathroom            --                                                           25       factory            he    didnt              want          to    be out there no more.                                 And        he said


                                                                                                                             Page        92                                                                                                                                             Page 94
    1          Q.      Just        start       up    here          and work your way down.                                                     1       Im going                to     do     something                to either          get     you out of            the      boot


    2          A.      Thats          the storage                   room you             got   Mr. Williams                                    2       factory or          you can                get    shipped.                 And        I   asked        him what            it   was.

    3    office        coming             down               then     you got a          little    closet as             you     come          3                               And          then he said he                  was going             to    hold Williams

    4    down             and then             the      bathroom             stalls        and then           you got the                      4       hostage        in the          office        when         the        other       officers        leave.         I   told


    5    maintenance                  shop          coming            on down.                                                                 5       him why he want                        to    do    that.            He     said well             its the only              way

    6          Q.      Down           here          is    that      correct                                                                    6       he    feels    that      he can             get    off        the    farm        or   get    out of       the       boot


    7          A.      Yes         sir.                                                                                                        7       factory.


    8          Q.      Now           the doors                are here           and here         is   that        correct                     8             Q.      Who         is    Williams

    9    Indicating                                                                                                                            9             A.      Who         is    who
10             A. Right.                                                                                                                      10             Q.      You        said        he     was going                to    hold Williams                hostage.


I   1          Q.      Okay.              Now           where were you working on this                                                        11             A.      Oh        Mr. Williams                      thats           the    plant manager.

12       particular              day                                                                                                          12             Q.      Im        sorry thats
                                                                                                                                                                                                           --    the       plant manager                 at   the boot


13             A.      I   worked              further         up      go    up       go   up     go up.              Yeah      go            13       factory




--21
14       up    --    keep          going.           Right          there in the            boxing          area.                              14             A.      Yes        sir.



15             Q. In         this     --                                                                                                      15             Q.      What            else    did he           tell    you
                       Thats                                                                           But in them                            16             A.      That            can         use     this    information                 to either               off
16             A.                     my          assigned            job    right       there.                                                                                 I                                                                              get




--25
17                  bins right                 there.                                                                                         17       the   farm or                    out of          the    boot         factory myself.
         little                                               Indicating                                                                                                       get

                                     --                                                                                                       18                     What happened                        then
18             Q. These                                                                                                                                      Q.

19             A.      No        right         there.         No       come down.                 No        keep coming                       19             A.      We        all    went         our separate ways.


20       down             keep      coming.                  Now       go over          this   way.          No        right    there.        20             Q.      Did       yall         start       work

                                                                                                                                              21             A.      Yeah.
         Indicating

22                            Okay.               You         see    where the 30 at with the boxes                                           22             Q.      --
                                                                                                                                                                          shortly            after       that


23             Q. Yes.                                                                                                                        23             A.      Yes        sir.




                       Now                                                                                                                                                                  wind up                              to    him again          later
24             A.                   go     straight to               your right this way.                          Right                      24             Q.      Did       you                            talking


         there.           Thats           --
                                               yeah.          Indicating                                                                      25             A.      Yes        sir.




             COURT
320TH DISTRICT                                                                                                                                                                                                                                           Page              91     -
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                               meaning Mr. Runnels                                                                                                                          What                                          then
                         --
     1
                   Q.                                                                                                                                      I          Q.                          happened

 2                 A.    Yes          sir.                                                                                                             2              A.        I   told          him to ask               this       dude Mr. Blue                           -- I   dont

 3                 Q.    About             how much                  later                                                                             3       know        his       real          name             but    we         call       him Blue. And he asked                               him

 4                 A.    Approximately about                                  45 minutes somewhere                                   to an             4       could       he use                 his    knife            and Mr. Blue said no he was busy                                             at


 5       hour.                                                                                                                                         5       the    time.


 6                 Q.    What happened                            at that       point                                                                  6                                 MR.            DURHAM                            Im        going         to    object       to   what

 7                 A.    Well          I    was        sitting          in the        back in the boxing area                                          7       Mr. Blue              said.              If    he said anything                            it   would be hearsay

         over           there       and he came                     --   was         sitting        on the table                and he                 8                                 THE COURT                                Sustained.

 9       came up and he said that Wiley was giving                                                             him a hard time.                        9                                 MR.            DURHAM                            --   unless he               was present           at   the

10                 Q.    Then         what happened                                                                                                   10       conversation.

11                 A.    And         then         he       said         Im going              to     go take the trash                                11              Q.    BY               MR. SIMS Did                                  Mr. Blue              let    him use the knife

12       out and when                       I    come back                Im going                 to ask       him whats up.                         12              A.    Not              the       first time.


13                 Q.    Okay.             Did you ever                       see the defendant                    come back from                     13              Q.    Did              it   happen             again

14       taking          out the             trash                                                                                                    14              A.    Yes               sir.



15                 A.    Yes                                                                                                                          15              Q.    And you saw                                   happen or heard




--24
                                     sir.                                                                                                                                                                            it



16                 Q.    What happened then                                                                                                           16                                 MR.            DURHAM                            Your Honor                    first        thats      leading

                         He approached Mr. Wiley and                                                        had a                                                                        would be hearsay                                                                            and heard the




--25
17                 A.                                                                              they                   little                      17       second           it                                                    unless he                 was     there


18       conversation.                       I    couldnt               hear    it    all but he               was like you                           18       conversation.                       Its speculation and                                   conjecture of               what the

19       know why                    you keep                jigging at              me       why you              keep        pointing          me   19       conversation                       was.

20       out.           And Mr. Wiley said Well youre                                                      a janitor.               Its   your        20                                 THE COURT                              Rephrase                   the    question             please.


21       job       to take          the trash out.                      Those two inmates                          right there                        21              Q.    BY               MR. SIMS                       Did you observe                             it
                                                                                                                                                                                                                                                                             happen         again

22       theyre assigned                          to       do something else                        and thats              their job.                 22              A.    No.

23       If    I   ask        you take out the trash                             take     out the trash.                                              23                                 MR.            DURHAM                            Objection as                  to    what


                   Q.    Okay.             And         is    that basically               how            all   the other                              24              Q.    BY               MR. SIMS                       Okay.                Did

         supervisors                  that        youve            dealt with            handle             things                                    25                                 MR.            DURHAM                            --
                                                                                                                                                                                                                                               happened Your Honor.




--9
                                                                                                                                      Page       96                                                                                                                                                   Page 98
 1                 A.    More or             less      --                                                                                              I                                 THE            COURT               Sustained.


 2                                 MR.       DURHAM                      Objection            --                                                       2              Q.    BY               MR. SIMS                     Whats            the next            thing     you saw          happen

 3                 A.    --                                                                                                                            3              A.            went          to    do    my     work.            I   didnt           know         that   he had
                              yes      sir.                                                                                                                                 I                                                                                                             got


 4                                 MR.       DURHAM                      --
                                                                              Your Honor.                  What someone                   else         4       the knife.            I   dont           know when he                      got the knife.


 5       does       is   not       material.                                                                                                           5              Q.    Okay.




--11
 6                                 THE COURT                        Sustained.                                                                         6              A.    But          I    asked Mr. Runnels                            I   said        Are you            all




 7                 Q.    BY         MR.          SIMS             What happened                    after    that                                       7       right        I       said just            playing           with       him           I    said    You          take    your

 8       conversation                      Let    me ask            this        Was     there        any kind of
                                                                                                                               --                      8       medication                     And            you     know he               just


         anything             other        than a verbal discussion                           that    you      saw                                     9                                 MR.           DURHAM                   Nonresponsive                         to the question           and

10                 A.    That       was         it just       a verbal          discussion.                                                           10       also


                   Q.    What happened                       after      that                                                                          11                                 THE COURT                          Sustained.


12                 A.    Runnels            walked           off.                                                                                     12                                 MR.           DURHAM                   --
                                                                                                                                                                                                                                          hearsay.


13                 Q. What did you do then                                                                                                            13              Q.    BY MR.                      SIMS              When            is   the next          time    you saw

14                 A.    I   went      back           to    work.                                                                                     14       Mr. Runnels

15                 Q.    Okay.           Whats              the   next thing           that    youre aware                 of                         15              A.    The          next          time     I    saw Mr. Runnels                       is    when         he was


16       about          Mr. Runnels                   doing       that    day                                                                         16       walking away                   with           the knife      in his hand.


17                 A.    He asked               me     could        I         him a knife and                  I   told    him                        17              Q.    Walking                    away      from       what
                                                                        get


18       no        they      all   had       been          checked        out    already.            I.said        But you                            18              A.    Mr.          Wiley.


19                                                                               this    Mexican               dude       if   you want               19                    Did you                    see    Mr. Runnels                  before         that
         can       go around               the    corner and              ask                                                                                         Q.

20       to   use       his    knife.                                                                                                                 20              A.    No.


21                                 He walked                off and       came back                and      he said he                                21              Q.    Okay.                 You         said    --   when           is   it       you asked        him a


22       wouldnt give                  it    to   him.                                                                                                22       question              You           said       you had asked him                           a question.


                                                                  did he do then with                                                                 23              A.            asked him a                                   when                  seen     him on        the wall
23                 Q. And what                        what                                                         again       at                                                                               question
                                                                                                                                                                            I                                                                       I
                                                 --
                                                                                                         you

24       that                                                                                                                                         24       with    a   broom              in his         hand         and     I   asked             him You              all   right
                   point

25                 A.    Asked me how he can                                    another            knife.                                             25       And    he    said         --       he    was kind           of   mumbling                       like    Yeah          yeah    Im
                                                                          get



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     1   all   right.           And         I   walked            off.                                                                                             1
                                                                                                                                                                              Q.     Is    this the lasting area                         here

 2              Q.    Is       this    before or               after        you saw him walking                              away                              2              A.     Yeah.

 3       from Mr.              Wiley                                                                                                                           3              Q.     Okay.               So you were                  facing          out this       way
 4              A.    This           was        before.                                                                                                        4       Indicating

 5              Q.    Okay.               Approximately                         how much               earlier          before                                 5              A.     Yes sir.
 6             A.     Maybe                like      20    minutes               20       or 30 minutes.                                                       6              Q.     And when                  you raised               up     you saw             what
 7              Q. And when you saw                                    the       defendant             ask Mr. Blue                    for the                 7              A.     I   saw     --       well        I   heard a noise

         knife       --                                                                                                                                        8              Q.     Okay.

 9                                  MR.     DURHAM                          Thats a leading question and also                                                  9              A.     --   and        I    turned.

10       calls      for    a hearsay                 response because                           he doesnt              --                                     10                            MR.           DURHAM                        Nonresponsive.                   The question             was

11                              THE COURT                             Please lower your voice                                 and        your                 11       what        he     saw.

12       objection             is   sustained.                                                                                                                12                           THE COURT                              Sustained.


13                              MR.         DURHAM                          Well           Im        sorry.       Its       just       --                     13              Q.     BY     MR. SIMS You heard a noise what                                                        did     you    do
14                              THE COURT                             Do         not      --                                                                  14                           MR. DURHAM Leading question.
15                              MR.         DURHAM                          --   the      same question                     that    was                       15                           THE                COURT               Approach                  the   bench      please.

16       asked       before.                                                                                                                                  16                            At           the   bench on                the   record

17                              THE COURT                             Do         not      lead       the    witness           please.                         17                           THE                COURT Im going                                to instruct       you to quit

18             Q.     BY            MR. SIMS                      How much                      time elapsed                from        the    time           18       leading           the witness.                 Youre             putting             me    in a position           to


19       you saw           the       defendant              talking             to    Mr. Blue             until       --   let    me                         19       sustain           the objection                every           single          time    you do        it.




20       rephrase          that.                                                                                                                              20                           MR. SIMS                         To    repeat          what the answer                   said    and

                                How much                    time elapsed from                                 time                                            21       then      ask what                --    what did you do after that
21                                                                                                     the                  you saw                                                                                                                                   is    leading

22       Mr. Wiley              and        the       defendant              having             their    discussion                to    the                   22                           THE                COURT               Yes        sir.       If
                                                                                                                                                                                                                                                             you repeat the answer




 --6
         time                                    defendant                                       Mr.       Blue                                               23       that     is                   that       is    an act of bolstering                        the witness.
23                  you saw           the                                  talking         to                                                                                        given

24             A.     About            15       --    about       15        to   20 minutes.                                                                  24       Thats         another              objection.

25                    And then                  after      that       is    when you talked                       to                                          25                           Just          ask a question                  and          let   the   guy answer              it
               Q.


                                                                                                                                             Page 100                                                                                                                                  Page 102
                                                                                                                                                               1
 1       Mr. Runnels                 again                                                                                                                             please.


 2             A.     Right.
                                                                                                                                                               2                           MR.           DURHAM                   Also Your Honor                     his    --    what    you

 3                    After having                    that      conversation                     with       him        then       when                         3       heard       was an objectionable nonresponsive                                         answer        that   he based
               Q.

 4                   next time                                             defendant                                                                           4       a question
         is   the                           you saw             the                                                                                                                        on.


 5             A.     When            he     was walking                     away          with        the    knife.                                           5                           THE COURT                         Well


               Q.     Where was                      --   where        was           he walking              from                                              6                           MR. SIMS                       Thats        fine.      I    understand          Your

 7             A.     From behind                         me    because               I   had        my     bead       down            and    I   was          7       Honor.

 8       putting          --                                                                                                                                   8                           Open               court

 9                              MR.         DURHAM                          Objection                nonresponsive                     after                   9           Q.        BY     MR. SIMS You                              had    your head            down      and     were


10       from behind.                                                                                                                                         10       working.            What happened                    then

11                              THE COURT                             Sustained.                                                                              11           A.        Say    it   again.


                                                                                                                                                                                     You had your head                       down                                                      What
12             Q.     BY            MR. SIMS                     What were                     you doing           at       the time          that            12           Q.                                                               and       you were       working.

13               saw him                                                                                                                                      13       happened            then
         you

14             A.     I    was                            insoles          on    the      racks         getting         ready          to                     14           A.        I   heard a noise behind                         me.
                                      putting

                                                                                                                                                              15                     What did you do then                             sir
15       come       to the          heel     last         and     I    was           --   had    my        head        down            but    I                            Q.

16                                                        on               bottom          of    the       molds.                                             16           A.        I   turned          to   face Mr. Wiley.
         was     putting            the    soles                the


17             Q. Okay.                   On     this       chart where                    would           that   put        you                              17           Q.        About how                 far   was Mr. Wiley                     from    you

18             A.     Right          there        where         youve                got       the   WG           at.                                         18           A.        About as close as he                        is    right there          in the   black

                                                                                                                                                              19
                                            your work station
                                                                                                                                                                       shirt.
19             Q. There               at


20             A.                                                                                                                                             20           Q.        Okay.           Say       ten    feet
                      Right.


21             Q.     And youre facing which                                          way                                                                     21           A.        Yes     sir.




22             A.     Im                                                                                                this                                  22                     Would           that      be a       fair   enough        estimate
                                    facing toward                 the        lasting           area facing                         way.                                    Q.

23       Indicating
                                                                                                                                                              23           A.        Yes     sir.



                                                                                                                                                              24                     Were you facing Mr. Wiley
24             Q.     Facing              this    way             Indicating                                                                                               Q.

25             A.     Right.
                                                                                                                                                              25           A.        When        I   turned          around           yeah        I   was facing Mr. Wiley.


                     DISTRICT COURT                                                                                                                                                                                                                            Page        99      -
                                                                                                                                                                                                                                                                                       Page       102
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POTTER COUNTY TEXAS
 --4
THE STATE OF TEXAS
vs.Case




 1



 2

 3




 5

 6

 7
        2:12-cv-00074-D-BR
    TRAVIS


            Q.

            A.




     of a sudden




     incident


            A.
                 And what

                 I    saw




                      that


                 Behind
                              --




                             blood


            Q. Where did you see that

                              day
                                       Multi-PageTM
                           Document 84-2 Filed 01/17/13
             TREVINO RUNNELS

                                        else


                                    Mr. Wiley

     know how when you scratch yourself you




                                    me in
                                           start
                                                 did




                                                the
                                                            you see




                                                      coming.
                                                             was holding
                                                                                at that




                                                                            Where did you



                                                                           area
                                                                                         his
                                                                                             point




                                                                                      right there.
                                                                                                  neck.

                                                                                                  see   white




                                                                                                           see
                                                                                                                And you




                                                                                                                  that
                                                                                                                       and
                                                                                                                              Page




                                                                                                                              then
                                                                                                                                        103




                                                                                                                                      all
                                                                                                                                               2

                                                                                                                                               3

                                                                                                                                               4

                                                                                                                                               5

                                                                                                                                               6

                                                                                                                                               7
                                                                                                                                                1   are

                                                                                                                                                             A.

                                                                                                                                                             Q. Do

                                                                                                                                                             A.


                                                                                                                                                             Q.

                                                                                                                                                             A.
                                                                                                                                                                   Yes



                                                                                                                                                                   Yes
                                                                                                                                                                   --




                                                                                                                                                                   Yes
                                                                                                                                                                        in
                                                                                                                                                                             sir.



                                                                                                                                                                          they


                                                                                                                                                                             sir.



                                                                                                                                                                             this



                                                                                                                                                                             sir.



                                                                                                                                                                          MR. SIMS
                                                                                                                                                                                    fairly




                                                                                                                                                                                     photograph
                                                                                                                                                                                                TRIAL ON THE MERITS
                                                                                                                                                                                      Page 30 of 67 PageID



                                                                                                                                                                                                 and
                                                                                                                                                                                                           271226 2005
                                                                                                                                                                                                     OCTOBER




                                                                                                                                                                                                        accurately




                                                                                                                                                                                                      Your Honor
                                                                                                                                                                                                                                  show what




                                                                                                                                                                                                                                   Ill offer
                                                                                                                                                                                                                                                      they




                                                                                                                                                                                                                                                     States
                                                                                                                                                                                                                                                                 are
                                                                                                                                                                                                                                                                                     Page 105




--16
                                                           lasting


 8                                                                                                                                             8    Exhibit        51.
     Indicating

 9          Q.   No      the        white and              then       the   blood         coming where                     was                 9                          MR.         DURHAM                      No    objection.


10   that   at                                                                                                                                10                          THE COURT                         Exhibit          is   received.


II          A.   In that          area     right there                where       you got           WG            at.                         I I            Q.    BY MR.                SIMS          What        is   States           Exhibit          No.     51

12          Q.   On whom                 sir          On whom On whom                                                                         12             A.    Those       are the          --   those    are the knives                  that they          give


13          A.   From         whom               I    dont know                  because           I    -- I   dont                           13    us   in   the boot         factory.          We     check them                 out       when     we     first      get


14   understand           the       question what                         youre       trying       to    say.                                 14    there.        We     have       to    turn in      our ID and                 get    one    of these knives.


                                                                                                                                              15                   Are                                             number
                                        you saw white and you saw somebody                                                                                   Q.           there                  a   certain                            of those      that are
15          Q.   You         said                                                                                                                                                        only


     bleeding.          Who         did    you see bleeding                                                                                   16                          MR.        DURHAM                       Leading          question.


17          A.   Mr. Wiley.                                                                                                                   17                          THE            COURT              Go     ahead.



18          Q.   Okay.            What          else       --   did       you     see    anything              else    around                 18                          Im not              going    to    rule      on    that       at   this    time.       I




19   Mr. Wiley           at that                                                                                                              19    will     have a       discussion             with       the lawyers             during          the   lunch       hour.
                                        point

20          A.   Not     at       the   time         until        I   followed           Mr.       Wileys             eyes.                   20    Thank         you.


21   Thats       when         I   turned back                   this      way.        Indicating                                              21             Q.    BY MR.                SIMS          How         do you wind up                    with       one     of    those


                                    back                                                                                                      22             A.    You have              to             the       maintenance room.                       Theres
22          Q.   Turned                     to       your left                                                                                                                                go by

                                                                                                                                                              to   be an       officer          --            one       of the people                thats       in
23          A.   Turned             back    to       my         left.                                                                         23    going                                            well

                                                                                                                                              24             world                               work             the boot                           theyre
            Q. Which              would be turning                         --                                                                       free                 clothes         that                in                     factory
24

25          A.   Towards 24                                                                                                                   25              to   ask you what                  you    want.           You can              either get      a knife a
                                            right there.                   Indicating                                                               going



                                                                                                                              Page 104                                                                                                                                               Page 106
                                                                                                                                                                                                                                                                                 that
 1          Q.   Turning            down         this       way             Indicating
                                                                                                                                                1
                                                                                                                                                    staple         gun        a staple puller                          any kind of instrument

 2          A.   Right.                                                                                                                        2    youre           using in the boot                             factory.


 3                                What did you see then                                                                                        3                          You have                   to turn            in    your ID and then                               they will
            Q.   Okay.

 4          A.   Mr. Runnels                was walking                                  with       the    knife.                              4    hand you your equipment.
                                                                            away

 5          Q.   This defendant                                                                                                                5             Q.    Can anyone                    just        go get one of those

 6          A.   Yes         sir.                                                                                                              6             A.    Yes         sir.



                                                                                                  was                                          7                   But you have to do the ID process                                                      to get         it
 7          Q.   Could            you    tell    what             kind of knife              it                                                              Q.

 8          A.   The      kind of knife                    that       we    have        in the      boot        factory.                       8             A.    Yes         sir.



                                                                      Its                                                                      9                   Is    the instrument                       that       you saw the defendant                                       with
 9   I   dont know             the      name of             it.             the    regular knife                 that      they                              Q.

10                                                                                                                                            10    similar to               those
     use.


11          Q.   It    was one of               the    equipment
                                                                                 --                                                           11             A.    Yes         sir.




12          A.   Right.
                                                                                                                                              12             Q.    What happened next

                                                                                                                                              13             A.    Next on                what
                       pieces of equipment                            used                   boot factory
                 --                                                              in the
13          Q.
                                                                                                                                                                                                                                                            --                           of
14          A.   Yes         sir.
                                                                                                                                              14             Q.    After         you saw Mr. Wiley bleeding                                                      as a matter


15               You recognized                       it    as that                                                                           15    fact      where did you see him bleeding                                                    from what                     part     of his
            Q.

16          A.   Yes         sir.
                                                                                                                                              16    body
                                                                                             Your Honor                                       17             A.    His neck.
17                       MR. SIMS                      May            I   approach

                                                                                                                                                                   And                                                                                Mr. Runnels walking
18                       THE COURT                              Sure.                                                                         18             Q.               then            you said you had seen

19          Q.   BY          MR.        SIMS               Ill        show you States Exhibit No.                                 51.         19    away
20   Are you able              to    recognize              that          sir                                                                 20             A.    Yes         sir.



                                                                                                                                              21             Q.    Then         what happened
21          A.   Yes         sir.


                                                                                                                                              22             A.    Mr. Wiley ran toward the office area and                                                                  I   ran
                                  Did                                           you saw look               like       --
22          Q. Okay.                       the       instrument

23                       MR.         DURHAM                           Leading         question            Your Honor.                         23    toward the boxing area.

24                       THE COURT                              Sustained.                                                                    24             Q.    Why          did        you go towards the boxing area

25    BY MR. SIMS Are you able
            Q.
                                                                                        to   recognize            what        these           25             A.    That was                   my      only        line of           flight.



                                                                                                                                                                                                                                                                     103                      106
320TH DISTRICT COURT
                                                                                                                                                                                                                                                                                 -
                                                                                                                                                                                                                                                    Page                             Page

POTTER COUNTY TEXAS
THE STATE OF TEXAS                     Multi-Page                                                                                                                                 TRIAL ON THE MERITS
vs.Case 2:12-cv-00074-D-BR
    TRAVIS                 Document 84-2 Filed 01/17/13
             TREVINO RUNNELS                                                                                                                                            Page 31 of 67 PageID 271326 2005
                                                                                                                                                                                       OCTOBER
                                                                                                                       Page    107                                                                                                                                   Page 109
     1           Q.    What happened                      after       that       sir                                                  1   noon    tomorrow.              Our subpoenas                        were           issued          for    Monday           and most

     2           A.    I   talked        to a couple                of       dudes      told    them what had                         2   of them       --   or   all    of them      at this            point          in        time are         in Dallas.


     3   happened               and      I
                                              grabbed           my           coat     my cup             and started                  3   We     do have       one       subpoena          that          were           trying          to   serve        locally.


     4   proceeding             to the         door area because                        I    knew        the officers     was         4   But    we cant          be prepared             to    proceed                 until       Monday.

     5   coming            eventually.                                                                                                5                      MR. SIMS                And        I       dont know                   that       well be




--11
     6                         MR. SIMS                    Pass       the      witness Your                 Honor.                    6   through      by noon Judge but                        I       really      think           we       will    be through

 7                             THE COURT                         Okay.              Lets recess for lunch                 at          7   by 500 tomorrow                     without          any problem.




--16
     8   this      point.                                                                                                             8                      THE COURT                     Are           there          any        that      you can move              up
 9                             Folks          Ill ask          you to be back here in the jury                                        9   I   mean     this   whole           deal   is   necessitated                       by your           tactical




--18
10       room         at    115         please.                                                                                      10   move

                               Jury          left   the    courtroom                                                                 11                      MR.        DURHAM                      I
                                                                                                                                                                                                        thought              it   would surely take

12                             MR.       DURHAM                          Randall can             you approach for a                  12   them    three      days with the
                                                                                                                                                                                      --   with           the       future          dangerousness

13       moment                                                                                                                      13   testimony they were                  going       to   put           on Your Honor                          even          assuming




--23
14                             THE COURT                         I   want the jury out of here before                                14   the   plea of      guilty.


15       any discussion.                                                                                                             15                      MS.        HAMILTON                        We         might be able                    to




--25
                               MR.       DURHAM                          Well         this    was about          --                  16                      THE COURT                     Well Mr. Sims works quickly.

17                             THE COURT                         Just wait             five seconds.                                 17                      MS.        HAMILTON                        --
                                                                                                                                                                                                              get       the one           that


                               MR.       DURHAM                          I   was going          to request that          he          18                      MR. SIMS                Im        trying.              I   cut out about                    ten




--4
19       review            his statement              during          the recess              and save         us    some time.      19   witnesses.


20                             THE COURT                         Oh           sure okay.                                             20                      MR.        DURHAM                  Thats the                     --   he     hasnt been

21                             MR.       DURHAM                          He    has     two statements.                               21   served      yet.




--3
22                             THE COURT                         Okay.           Let        him have a copy of                       22                      MS.        HAMILTON                        Right           but he should                    be

         those.        Whos             got a       copy        of those            two statements                                   23                      THE COURT                     Whats                his      name

24                             MR. SIMS                    If   you dont mind                       it   being      marked           24                      MR. SIMS                Do you want me to                                  step       away        from


         up      Ill give        him mine.                                                                                           25                      THE COURT No                                no.




                                                                                                                       Page    108                                                                                                                                  Page 110




--9
 1                             MR.       DURHAM                          Its    for    him to read not for me.                        1                      MR.        DURHAM                           Hes             -   he     was          the     warden           at


 2       Im not            going        to read        your          notes.                                                           2   Clements




--11
                               There         are    two statements                     correct                                        3                      THE         COURT                  Oh.            I    thought               you        said

                               MR. GILCHRIST                                  Yes      sir.                                           4                      MS.        HAMILTON                              He        should            be easy              to serve.

 5                             THE COURT                        All          right.     During lunch                                  5                      MR.        DURHAM                           --    at the time                   this happened.


 6       Mr. Gilchrist                  if   you would                look       over        those       so that they can             6                      THE        COURT                   --       doctor              somebody.

 7       visit     with        you about             them afterwards.                                                                 7                      MR.        DURHAM                          Well             he       is    a doctor.              Hes        got

                                                                                                                                      8   his doctorate            in
 8                             Pause
                               THE COURT                        Okay.            When          we come back from                      9                      THE         COURT                  Okay.

10       lunch please                stop leading                the witness.                                                        10                      MR.        DURHAM                          --     penology                   or

                               MR. SIMS                    Your          Honor my understanding                           Im         11                      THE REPORTER                                     In    what               Im sorry
12       not trying to argue                        with       the    Court but repeating part of the                                12                      MS.        HAMILTON                              Penology.

13       answer            I   dont       think       makes              the question           leading.                             13                      MR. SIMS                     Have you                  got the spelling                           on that

14                             THE COURT                        I    dont        care        what you think then                     14   word        Jill


15       Mr. Sims if                I   tell   you        not to             do it then        its objectionable                     15                      THE         COURT                  Okay.

16       and you can                talk to the appellate                        court        about       it   okay      So    if    16                      THE REPORTER                                     Penology.

17       I
             say      something whether                         you agree or disagree                          youve     got to      17                      MR.        DURHAM P-e-n-a-l-o-g-y.                                                    sic
18       follow        my       rules while            were              in    here and thats                  the   way were        18                      THE        COURT Okay. Well what                                                       well do           is    --   I




19       going        to try the case.                                                                                               19   mean        try to get          him moved up                         here.


20                             MR. SIMS                    I   understand               that    Your Honor.                          20                      MR.        DURHAM                          Well             try       and get him served                          and

21                             THE COURT                        Thank            you.                                                21   get   him here.               Ill   make        it    instanter.


22                             Recess                                                                                                22                      THE         COURT                  Okay.                   And what well do                             is     well

23                             At       the    bench           on the record                                                         23   just
                                                                                                                                                 --   well just mosey as far as we can.

24                             MR.       DURHAM                       Your          Honor        during          the   noon          24                      MR.        DURHAM                          Okay.                I    just       wanted            to   alert      you.


25       recess        the State has indicated                                they plan        to    be through         by           25   I   didnt want            to stand         up when they quit and say                                                  Oh.

320TH                 DISTRICT COURT                                                                                                                                                                                               Page            107         -
                                                                                                                                                                                                                                                                    Page        110

POTTER COUNTY TEXAS
                                                 M
TOE STATE OF TEXAS                    Multi-Page                                                                                                                                                  TRIAL ON THE MERITS
  Case 2:12-cv-00074-D-BR Document 84-2 Filed 01/17/13
vs. TRAVIS TREVINO RUNNELS
                                                                                                                                                                                        Page 32 of 67 PageID 271426 2005
                                                                                                                                                                                                       OCTOBER
                                                                                                                                    Page        111                                                                                                  Page 113
 1                              THE COURT                           I
                                                                        gotcha.                                                                        1         A.   Some months.

 2                              MS.          HAMILTON                       And         Im going                        to call     Kathy              2         Q.   And        you knew              Mr. Wiley how             long
 3   and see               if   she can           get     them here.                                                                                   3         A.   For some            years.

 4                              MR.           SIMS            And we            let     them know                        that as        soon as        4         Q.   You knew him years

 5   we      sat       down and kind                       of figured               out        what           --                                       5         A.   Yes        sir.


 6                              THE COURT                           Yeah.           Okay.                                                              6         Q.   Okay.          And how             long   have you been at the Clements

 7                              MR. SIMS                      Because we did we dropped                                             a   bunch          7   Unit

 8   of people.                                                                                                                                        8         A.   Since        94.

 9                              THE COURT                           Well          get as far as                    we can               then           9         Q.   Okay.          And youre                serving      how   long    a sentence

10   well come                        back.                                                                                                           10         A.   Fifty-nine            years.

11                              Open court                                                                                                            11         Q.   And        that     was     for    what
12                              THE COURT                           Bring the jury                       in.                                          12         A.   Aggravated               robbery.

13                              Jury           entered        the       courtroom                                                                     13         Q.   What        is    aggravated            robbery

14                              THE COURT                           Okay            Mr. Durham.                                                       14         A.   With       a   deadly weapon.                  I   tried to rob    somebody          with

15                                           CROSS-EXAMINATION                                                                                        15   a deadly         weapon.

16   BYM R. DURHAM                                                                                                                                    16         Q.   What was             the    deadly        weapon
17           Q. Mr. Gilchrist                           youve            had an opportunity                               during          the         17         A.   A shotgun.
18   noon recess to review                                your two statements                                  have you not                           18         Q.   A shotgun
19           A.    Yes                sir.                                                                                                            19         A.   Yes        sir.


20           Q.    Well theyre                          really pretty different                               arent they                              20         Q.   Okay.          Now          during      the time       you knew      Travis     --   when

21           A.        More            or     less.                                                                                                   21   you say      months                 would         that   be a month two months four

22           Q.    Well                in     your      first    statement                on the 29th which                              was          22   months       or just           how     long did          you know      him
23   the     same day                    the incident               occurred you dont                                   say   anything                23         A.   About          nine     months          ten   months.

24   whatsoever                       about       Travis            do    you                                                                         24         Q.   Nine months                 or ten months.            And you knew him               well


25           A.    No             I    dont.                                                                                                          25   enough that he trusted                       you and confided           all   this stuff in      you

                                                                                                                                    Page 112                                                                                                         Page 114

 1           Q.    And you didnt                         see anything or hear anything                                    that                         1         A.   Yes        sir.


 2   day according                       to    your statement              of     the       29th         is    that      correct                       2         Q.   Okay.          During that time did you ever                        see   him engage

 3           A.    Thats               true.                                                                                                           3   in   any   violent           act

 4           Q.        But overnight                  you remembered                      a   lot    of       stuff                                    4         A.   No      sir.




 5                                                                                                                                                     5         Q.   Did you ever                hear       him threaten anyone
     apparently

 6           A.    Not          necessarily.              I
                                                              just      didnt       want        to   say           it   the                            6         A.   No      sir.




 7   first    time.                                                                                                                                    7         Q.   Okay.          So     did    he seem to be a good prisoner

 8           Q.        Oh       you didnt               want     to     say    it   the       first time.               Well                           8         A.   Yes        sir.



 9   what         --   what           inducement              did    you      get to        say     it   the       second         time                 9         Q.   Okay.          Do     you know            what his classification              was
10           A.        I
                           just       thought         about what           had      happened.                                                         10         A.   We     was        both      on minimum custody.

11           Q.    And            --
                                        well      did    you go          to the     officials             and           say   I                       11         Q.   He was on minimum custody

12   remembered                       some stuff                                                                                                      12         A.   Yes        sir.


13           A.    No.                                    me                                                                                          13         Q.   Which meant he                    --   the authorities considered              him
                                  They         called            out.


14                                                                                                                                                    14   trustworthy
             Q. They                  called      you out and             interrogated               you again

15           A.    Yes            sir.                                                                                                                15         A.   Yes        sir.


                                                               of                           noticed during                    the                     16         Q.   So apparently                he    didnt have a history              as far as
16           Q. Uh-huh.                      Speaking                officials          I



17   noon         recess          we        had   some new              spectators             come.            Do you           recognize            17   you     knew       of     any    violent          acts

18   those people as being guards                                   at the      penitentiary                                                          18         A.   Yes        sir.




19           A.    Yes            sir.                                                                                                                19         Q.   Okay.          Now          in    your second statement
                                                                                                                                                                                                                                          --    do you have

20           Q.        And theyre                 the    ones       staring       at   you now.                    What did                           20   a   copy    of   it   there      with        you     Thats        the statement       of the


21                                             for                                                                                                    21   30th.
     they promise                     you             your testimony

22           A.        They           didnt       promise        me nothing.                                                                          22         A.   Yes        sir.



                                                                                                                                                      23                             In    that statement                you relate word for word a
23           Q.        Nothing Are you                         still     at the     Clements                  Unit                                               Q.   Okay.

24           A.    Yes            sir.
                                                                                                                                                      24   conversation              dont you

25           Q.        Uh-huh.               And how long have you known                                        Travis                                25         A.   Yes        sir.



                                                                                                                                                                                                                                         111                 114
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 --2
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 1




 3


 4

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 6

 7

 8

 9

10
     stopped

     he
            Q.




           said

            A.

            Q.

            A.
                  Okay.

     jury When he took out

                   where




                  He said

                  Yes

                  Yeah.
                             sir.




     why he keeps fucking with me.

     to


     said
          ask him.

                 Why        do
                              When
                                  He
                                    --
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                                  And would you



                                   you were and what




                                  you keep
                                          you want

                                        Do you
                                             walked




                                              he
                                                          the




                                                             up
                                                                 trash




                                                                 it



                                                          find that

                                                                      to




                                                    came back he walked

                                                          fucking with
                                                                        share




                                                                      word



                                                                            me
                                                                            When
                                                                                   that


                                                                              and he

                                                                                  do




                                                                                  for




                                                                                  and
                                                                                        you



                                                                                        word




                                                                                        I




                                                                                       me
                                                                                             with

                                                                                             came back

                                                                                                  in
                                                                                                       me




                                                                                            said I dont know

                                                                                            get    through

                                                                                                       up    to
                                                                                                               and




                                                                                                       your statement
                                                                                                                     and




                                                                                                                     Im
                                                                                                                         the




                                                                                                                   Mr. Wiley

                                                                                                   All those white boys
                                                                                                                               Page



                                                                                                                               he




                                                                                                                               going
                                                                                                                                    say




                                                                                                                                       and
                                                                                                                                            115

                                                                                                                                                   I



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                                                                                                                                                   4

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                                                                                                                                                   8

                                                                                                                                                   9

                                                                                                                                                  10
                                                                                                                                                               Q.




                                                                                                                                                              A.


                                                                                                                                                               Q.

                                                                                                                                                              A.

                                                                                                                                                               Q.

                                                                                                                                                       used out there
                                                                                                                                                                     BY
                                                                                                                                                       thats used out there

                                                                                                                                                                     Yes




                                                                                                                                                                     No
                                                                                                                                                                             MR.
                                                                                                                                                                             THE COURT Sure.
                                                                                                                                                                             MR. DURHAM
                                                                                                                                                                              MR.


                                                                                                                                                                              sir.


                                                                                                                                                                     You dont know which

                                                                                                                                                                     No      sir.


                                                                                                                                                                             you dont.
                                                                                                                                                                                              TRIAL ON THE MERITS
                                                                                                                                                                                    Page 33 of 67 PageID

                                                                                                                                                                                 DURHAM Okay. May
                                                                                                                                                                                                  OCTOBER




                                                                                                                                                                                           to look at


                                                                                                                                                                                         DURHAM
                                                                                                                                                                                                         271526 2005



                                                                                                                                                                                                                --


                                                                                                                                                                                                                     And




                                                                                                                                                                                                                     one



                                                                                                                                                                                                     Its just the type of knife
                                                                                                                                                                                                                                this




                                                                                                                                                                                                                               if
                                                                                                                                                                                                                                             this

                                                                                                                                                                                                                                            --
                                                                                                                                                                                                                                                 I




                                                                                                                                                                                                                                                 this
                                                                                                                                                                                                                                                     approach




                                                                                                                                                                                                                                     any of these were used
                                                                                                                                                                                                                                                           is




                                                                                                                                                                                                                                                                thats
                                                                                                                                                                                                                                                                         Page




                                                                                                                                                                                                                                                                 the type knife
                                                                                                                                                                                                                                                                                    117




                                                                                   you pick me out.                                                                  Yes      sir.
11   are standing            there           doing        nothing and                                                                             11          A.

12          Q.    Okay.           And         did    you hear him say anything                                     else to                        12          Q.     It    doesnt seem to have a sharp                                 point          on it

13   Wiley       later      on     in    your statement                                                                                           13          A.     No      sir.


14          A.   No        sir.                                                                                                                   14          Q.     How       are they         sharpened

                            didnt                         did                                                                                                 A.     With                                 stone.
                 You                                              you hear what                    Wileys response                                15                           a sharpening
                                                     --
15          Q.                               say

16   was                                                                                                                                          16          Q.     Who      sharpens          them
17          A.   Yes        sir.                                                                                                                  17          A.     The inmate who has                     it.




18          Q.   And        what          did he          tell   him                                                                              18          Q.     There at the work station

19          A.    Mr. Wiley                  said    You              just    do what         I    say.           Runnels                         19          A.     Yes      sir.


20   said    You           need      to      quit     fucking with                 me         and       Mr. Wiley              said               20                         MR.        DURHAM                  May        I    publish              this to the            jury

21   again       Just       do      what        I   say.          Runnels              said       Okay             Ill   do                       21   Your Honor

22   what    you          say       and       he walked                off.                                                                       22                         THE COURT                    Sure.


23          Q.    Okay.           They had some problems                                     didnt          they                                  23                         MR.        DURHAM                  I   want to look at those                              things

24          A.   Well from what                       I    --    from        what       I   heard           that                                  24   please.

25   Mr. Wiley             had      messed           with        him the day                before.                                               25                         Your Honor we need                           to   approach for                     me     to    ask a


                                                                                                                               Page         116                                                                                                                          Page 118

 1          Q. All         right.            Messed              with him the day before                                                           1   question regarding something.

 2          A.    Thats           what          I   heard.             I     didnt see              that.                                          2                         At    the   bench on         the       record

 3          Q.    Okay.             And         --
                                                     now              these       knives            theyre just loose                              3                         MR.     DURHAM A motion                            in    limine          was        filed     about


 4   there in the                                                                                                                                  4   change         in   procedures.          I   want    to      ask what           they do         with        the
                             place

 5          A.   No.         Each            individual                 is   assigned              to a knife            when          he          5   knives        now.


 6   turns       in his ID.                                                                                                                        6                         THE COURT                Okay.           I   dont        recall         when we heard

 7          Q.    Okay.             And        they pass                   them from hand to hand as they                                          7   that.       What did         I   rule


 8   need        to                                                                                                                                8                         MR.     DURHAM                You ruled                there    was       --   the    motion

                                                                                                                                                   9   in   limine         was granted. Thats               the      reason          Im      coming up                to    ask
 9          A.   Yes         sir.



10          Q.    So       if I    sign
                                               -- if       Im a            prisoner           and       I    sign out for                         10   now.

11   a    knife       I    can      let      another             prisoner              use    it    or just         whatever                      11                         THE COURT                Okay.          All       right.        Well thats

12   Im      not responsible                        for that            knife                                                                     12   fine.


13          A.   Youre              not       supposed to but they do.                                                                            13                         MR. SIMS               Why would             a change               of procedure               on


                                                             time                                                                                 14   what     they do with                   knives      now       be relevant                 in this
                 They do                      all    the                                                                                                                                 the
14          Q.                          it



            A.                            nods head up and                             down                                                       15                       case
15                Witness                                                                                                                              particular


16                Is      that true           or     untrue                                                                                       16                         THE COURT What
            Q.

17          A.    Thats           true.                                                                                                           17                         MR. SIMS               Hes    wanting             to   ask     him about              the


                                    And         the knife                  that    --                                                             18   change         in   procedure       on       bow they handle                  the    knives.          I    dont
18          Q.    Okay.

19                         MR.       DURHAM                             Was        that exhibit                   admitted                        19   see     how thats relevant               to   this case.



20                         MR. SIMS                        Pardon                                                                                 20                         THE COURT                Well          its    probably relevant                      in



21                         MR.       DURHAM                                The picture              of the          knives                        21   that    there       was something             wrong and Mr. Wiley                             got   killed.



22                         MR. SIMS                        Yes.            Its     up on the counter                                              22                         MR.     DURHAM                Yeah.


23   Mr. Durham.                                                                                                                                  23                         Open       court

24                         MR.       DURHAM                             Where                                                                     24           Q.    BY       MR.       DURHAM              Okay.              Mr. Gilchrist do                    you      still




25                         MR. SIMS                        Its        up on the counter.                                                          25   work         in the    shoe factory


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    TRAVIS




         for
               A.




               A.
                   Q.
                         No




               Q. Have you been

               A.




               Q.

         they change
                         Well
                                sir.



                         Have you been

                         Sir




                   some more months.

                         Okay.
                                       Multi-Page
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             TREVINO RUNNELS




                                     after the




                                    the
                                         Well thats

                                           procedure
                                                         in there




                                                         in there


                                                       incident




                                                             --



                                                             --
                                                                           since         the




                                                                           since the incident


                                                                           happened



                                                                   thats what
                                                                                                  incident




                                                                                                  I
                                                                                                   I
                                                                                                       stayed




                                                                                                       mean.
                                                                                                                         in there




                                                                                                                         So did
                                                                                                                                    Page     119

                                                                                                                                                    1



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                                                                                                                                                    5

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                                                                                                                                                    8
                                                                                                                                                               Q.




                                                                                                                                                               Q.

                                                                                                                                                        something

                                                                                                                                                        chow hall

                                                                                                                                                               A.


                                                                                                                                                               Q.

                                                                                                                                                               A.
                                                                                                                                                                    You said something



                                                                                                                                                                    BY



                                                                                                                                                                    Yes
                                                                                                                                                                    Who was
                                                                                                                                                                    I   do
                                                                                                                                                                             MR.




                                                                                                                                                                             is
                                                                                                                                                                               MR.
                                                                                                                                                                             that




                                                                                                                                                                               sir.
                                                                                                                                                                                   that
                                                                                                                                                                                         DURHAM
                                                                                                                                                                                          DURHAM
                                                                                                                                                                                        Travis




                                                                                                                                                                                          that


                                                                                                                                                                              not remember.
                                                                                                                                                                                                  TRIAL ON THE MERITS
                                                                                                                                                                                        Page 34 of 67 PageID




                                                                                                                                                                                              right
                                                                                                                                                                                                       told




                                                                                                                                                                                                       person
                                                                                                                                                                                                             271626 2005
                                                                                                                                                                                                       OCTOBER

                                                                                                                                                                                                                about

                                                                                                                                                                                                                 Just


                                                                                                                                                                                                                   That
                                                                                                                                                                                                                         a     moment

                                                                                                                                                                                                                               some other guy

                                                                                                                                                                                                               him when he was coming out of the
                                                                                                                                                                                                                                                      Your Honor.

                                                                                                                                                                                                                                                                     told
                                                                                                                                                                                                                                                                                 Page   121




                                                                                                                                                                                                                                                                                you about




 9                             MR. YONTZ                     Objection                       Your Honor.                   May we                   9          Q.   You dont remember

10       approach                                                                                                                                  10          A.   No        sir.



11                             MR. SIMS                   That         s   what          we just            did     Jim.                           11          Q. Well             this   statement            was given            --   this       is   the second


12                             MR.         YONTZ             Okay.                                                                                 12   statement.           You         didnt         remember          it   on     the       29th apparently

13                             THE COURT                      Go           ahead.                                                                  13   did    you

14             Q.        BY      MR.         DURHAM                        Did they change                        the     procedure     with       14          A.   No        sir.



15       the   issuance             of     the   knives                                                                                            15          Q.   And you               didnt         remember         it    on     the      30th

16             A.        Yes        sir.                                                                                                           16          A.   A    lot      of people            walked      up    to    me          so   I     cant remember

17             Q.        How        are     the knives        issued             now                                                               17   exactly      who          it   was.

                                                                                                                                                   18               You heard a                         of               about        what          had happened
                         They made a                              made a
               A.                                  --                                 --     kind of            like     a tube or                             Q.                               lot           stories
18                                                       they

19                             like       out of metal            to       where         the      knives                  inside and               19          A.   No.        I   knew what                 happened.          I just         didnt           say     the
         something                                                                                                go

20       youve           got a perimeter on                  the       outside               to   where         thats only as                      20   first time.


21       far   as       the   knife        will   reach      is        to that           perimeter.                                                21          Q.   Well          --   all right.        Why       did   you not say                     it   the    first



22             Q.        Oh     are       they    tethered        now                                                                              22   time

23             A.        Yes        sir.                                                                                                           23          A.   You know                  being       in the   penitentiary                   you know                  we

24             Q.        They werent               tethered            before                                                                      24   live   by    codes.            Certain things              you dont                say.          You know what

25             A.        No     sir.                                                                                                               25   Im     saying              And        at that     time     I    was     in that          mode           to    where       I




 --8
                                                                                                                                    Page     120                                                                                                                                 Page   122

 1             Q.        So that opportunity                           no longer exists                                                             1   didnt       want      to       say nothing.

 2             A.        Yes        sir.                                                                                                            2          Q.   Well what took you out of                             that       mode
 3             Q.        Okay.             And Mr. Wiley had                                 just transferred                  to the               3          A.   I
                                                                                                                                                                        thought           about        what     happened.                It   dawned            on     me
 4       shoe       department                    is   that correct                   or did            I    --                                     4   really what            happened.                You know              what        Im        saying             This       man

 5             A.        No     he        went         from second                   shift         to       first shift.                            5   did something                  that    he      wasnt     supposed             to      do.        My     conscience


 6                       All                     So he had transferred                                  shifts           and had                    6   played      a   big part of              it.
               Q.               right.


 7       been on the new                         shift    just a           week                                                                     7          Q.   Pardon                Your

               A.       Yes         sir.                                                                                                            8          A.   My       conscience                played     a big part of                 it.




 9             Q.        Okay.             And     Travis          had been on that                                shift     just   two or          9          Q.   And youve                  been       in   bow long

10       three          days                                                                                                                       10          A.   Im        --
                                                                                                                                                                                   February              Ill    have     13    years.


11             A.       Yes         sir.
                                                                                                                                                   11          Q.   All      right.       When           did    you develop                a conscience


12             Q.        So did you notice a clash in personalities                                                          then                  12          A.   Ive been              having         one.

                                                                                                                                                                                                                         when you pulled armed
13             A.        No     not from               my    --        what          I       saw no               sir.                             13          Q.   Well you didnt                       have    one


14             Q.        You didnt                see     them having                         words                                                14   robberies with shotguns                           did    you

15             A.        No     sir.                                                                                                               15          A.   We       all       make mistakes.

16                       You dont                 think     what you just read was a                                                               16                        MR. SIMS                    Objection            argumentative.
               Q.

17       confrontation                     of    words                                                                                             17                        THE COURT                         Sustained.


18             A.        Well         not before then.                       I       hadnt             ever        seen      them have             18          Q.   BY MR. DURHAM                                  Ill rephrase.


                                                                                                                                                                             Did                                                     at the         time of your
19       no conflict before that day.                                                                                                              19                                   you have a conscience

                                                                  think          that Travis                             do you have an            20   conviction
20             Q.        Well why do you                                                                          --




21       opinion              as to       why      Travis          said to               you what                  he     said      Hes            21          A. Yep.


22       fucking              with       me                                                                                                        22          Q.   But       you violated your conscience                                    then

                                                          to him.                    dont              --       didnt         see it               23          A.   More or             less.
23             A.        Well         thats        up                            I                          I



                    cant answer that question.                                           I   dont know what was                            going   24          Q.   Okay.              So have you snitched off other people                                          for
24       so    I



                                    mind.                                                                                                          25   violations         that        have     done          wrong things
25       through              his


             COURT                                                                                                                                                                                                                                             119          -           122
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 1      A.       No      sir.                                                                                                       1       A.    Jimmy          Jordan.


 2                    MR. SIMS                       Objection not relevant                              Your      Honor.           2       Q.    Where        are       you         residing        sir

 3                    THE COURT                            Sustained.                                                               3       A.    At   this      -- at       this present             time




--12
 4      Q.       BY       MR.        DURHAM                         You didnt                 actually          see   what          4       Q.    Yeah.

                                                                                                                                    5       A.    Clements              Unit.
 5   happened

 6      A.       No      sir.                                                                                                       6       Q.    Now         is    that the          normal prison                unit that         you are

 7          Q. And you do admit that you have two different
                                                                                                                                    7   assigned       to

 8   statements          that       dont        tell      the       --   the     first    one      tells    a                       8       A.    No Im on                   Smith Unit.

 9   partial story in               which         Travis            is   not     even mentioned                   correct           9       Q.    And     where              is   that     located

10      A.                                                                                                                         10       A.    Lamesa.               Lamesa             Texas.
                 Right.

11      Q.       And you            left   out the part                   about         the   problems that he                     11       Q.    Youve            been transported                      up here

     and Mr. Wiley were having                                                                                                     12       A.    Yes     sir.


                                                                                                                                   13       Q.    --   as a witness                  in this      case      is   that    correct
13      A.       Right.

14      Q.       Do you         feel    under any pressure to testify                                                              14       A.    Yes     sir.



15      A.       Yeah       its      kind of hard                   sitting         here looking               in his              15       Q.    Has anyone promised you                                  anything        in regards to           your

                                                                                                                                   16                    here
16   face    telling you what happened                                    yeah.                                                         testimony

17      Q.       Do you         feel    any pressure from the guards                                        sitting                17       A.    No     sir.


18   back there for you to testify                                                                                                 18       Q.    Been       threatened               in    any     way
19      A.       No      sir.                                                                                                      19       A.    No     sir.


                                                                                                                                                  Do     you know                 Travis          Trevino Runnels
                 And you dont                              any pressure from the other
20                                              feel                                                                               20       Q.
        Q.

21   inmates       for getting             whats sometimes                              called      a snitch      jacket           21       A.    Yes sir.
22      A.       Well      I    look       at   it       like   this       here          If   --                                   22       Q.    Do you see him                      in the       courtroom today

23          Q.   Thats         a yes-or-no                question               sir.     Do       you     feel                    23       A.    Yes        sir.



24                        not                                                                                                      24       Q.    How        long        have you known                     the    defendant
     pressure or
                                                                                                                                   25       A.    Just   about a week or two before he came                                           --   when he
25      A.       No      sir    I   do not.


                                                                                                                  Page       124                                                                                                               Page 126

                      MR.        DURHAM                                          no further questions                   of                             work out           in the




--9
                                                                I   have                                                            I   started   to                                  factory.
 1



                                        Honor.                                                                                      2       Q.    So you were                once     housed        in the       Clements       Unit
 2   this    witness Your

 3                    MR. SIMS                       I   dont        think         I    have any other                              3   correct




--10
 4   questions           Your        Honor.                                                                                         4       A.    Yes     sir.




 5                    THE COURT                            Okay            Mr. Gilchrist                 you can step               5       Q.    When was              that sir

                                                                                                                                    6       A.    January
                                                                                                                                                                   --
                                                                                                                                                                        well         November         up    to   January        --
                                                                                                                                                                                                                                     up   to
 6   down.        Thank         you        sir.


                                                                                                                                    7
                                your next witness.
 7                    Call                                                                                                              February.


 8                    MR. SIMS                       Jimmy Jordan.                                                                  8       Q.    Of

                      THE COURT                            Jimmy Jordan                                                             9       A.    Two     thousand


                      MR. SIMS                                                                                                              Q. November                 of     2002       until                    of    2003
                                                     Yes        sir       Jimmy Jordan.                                            10                                                              February


11                    THE COURT                            Mr. Jordan                   if   you would            come       right 11       A.    Three       right.


12   around here and take a seat up there on the witness                                                          stand            12       Q.    You    got shipped                 off   after    something           happened          at the



13                sir.
                                                                                                                                   13   prison    correct
     please

14                    MR. JORDAN                            All          right.                                                    14       A.    Right       yes        sir.




15                    THE COURT                            Okay.            Kind of speak into that                                15       Q.    Now        youre           in   prison      for    aggravated          robbery and           a

                                                                                                                                                                                                           correct
                                                                                                                                                       stop and render aid
                                                                                                                                                                                              is    that
16   microphone.                You dont have                        to get right             up to      it.                       16   failure   to


17                       MR. JORDAN                         Okay.                                                                  17       A.    Yes     sir.




18                       THE COURT                         Sort of generally                       there.       Thank              18       Q.    How        did    you        get   to   know       Mr.    Runnels

19
                                                                                                                                   19       A.    Well       just       by you know                -- I   didnt     really get        a
     you.
                                                                                                                                                                                            him.                         him out there you
                         MR. JORDAN                                                                                                                you know                       know                    just seen
                                                                                                                                                                          to                         I
20                                                          Yes           sir.                                                     20   chance


21                                   JIMMY                 JORDAN                                                                  21   know.      He was          a    janitor       out   there    in    --   in the   factory.



22   having       been      first      duly sworn                    testified           as   follows                              22       Q. Okay.           Now           had you always                 been    on    the   first     shift


23                              DIRECT EXAMINATION                                                                                 23       A.    Yes     sir.



                                                                                                                                   24             --   out   at the       boot       factory
     BY-MR. SIMS
24                                                                                                                                          Q.


                 Would you                                                                         sir                             25       A.    Yes     sir.
25          Q.                         state             your name please
                                                                                                                                                                                                                                123        -          126
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 2
     1



         in
                 Q. At one point

               with

                 A.
                        yall

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                                        is    that
                                                         they closed

                                                        correct

                                                         it
                                                                 up       to       the
                                                                                          the




                                                                                          front
                                                                                                    second          shift




                                                                                                         first shift.
                                                                                                                                  and        moved
                                                                                                                                                            Page       127

                                                                                                                                                                              1



                                                                                                                                                                              2

                                                                                                                                                                              3
                                                                                                                                                                                         m




                                                                                                                                                                                  neck and

                                                                                                                                                                                         Q.     Let      me
                                                                                                                                                                                                                            TRIAL ON THE MERITS
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                                                                                                                                                                                                                   ask you something.
                                                                                                                                                                                                                                       271826 2005

                                                                                                                                                                                  straight across and he had his hand in front up under his
                                                                                                                                                                                                                                                                                                                  Page          129




--13
 4               Q.     Prior          to that         happening                     had         you worked with                                                              4          A.     Okay.

 5       Mr.      Runnels                                                                                                                                                     5          Q.     Now             did       you        tell    --    on the           first         statement                you

 6               A.     Well you know                                he       --
                                                                                   you know                   he didnt                 --
                                                                                                                                            you                               6   gave did               you         tell    the people                 you were giving                              the statement               to

 7       know         he     was out                there            every         day you know                          sweeping                     you                     7   all    this

 8       know.              worked                                   canvas              machine you know.                                        had                         8          A.     No.             didnt even know                               --                 know                didnt            even




--18
                        I                         on    the                                                                                  I
                                                                                                                                                            spoke                                           I
                                                                                                                                                                                                                                                                   you                           I




 9       to    him you know                          but as            far         as    just       knowing him                        I    didnt                             9   know         he     had been cut you know.                                            I
                                                                                                                                                                                                                                                                            just seen                the blood.             I


10       know him you                        know.                                                                                                                           10   didnt         know              you       know             he        had been              cut.


                        What about Mr. Wiley did you know                                                                                                                    11                 In the                      statement                  that                             did                      in
11               Q.                                                                                                     Stan           Wiley                                             Q.                     first                                            you gave                            you
12               A.     Yes        sir.                                                                                                                                      12   fact        tell    them basically you                               didnt know                    anything

                                                                                                                                                                                                     didnt know
                        How                      you know                     him
                                    did                                                   sir                                                                                13          A.     I
                 Q.                                                                                                                                                                                                                  anything.

14               A.     Well           I   had       talked            to      him you               know.              He had served                                        14          Q.     --   about anything

15       a case       to     me one               day.           I   had got a                 --
                                                                                                    they had            wrote              me         up    by               15          A.     Right.            He asked                me           he    said           --   he asked             me        did    I


16       mistake. He was on                              the         evening              shift          and       he    came              and        brought                16   see anything                  that        had happened out there and                                           I    told       him no

                                                                     me                                                                     wasnt                                         know             which            I    didnt                                                       know               that       had
17       the     case       to   me          to   serve                       the    case           said      they       said          I                                     17   you                                                             see       anything                you

         at    work        that     day and                  I   talked             to    Mr. William                    about              it   and                         18   you     know             the incident                   that         had took place.

19       Mr. William                   verified          to          Mr. Wiley                  that     I    --   that       I    was           at                          19          Q.    Now              the next time                     they got              you       out       --   or did they

20       work.                                                                                                                                                               20   get    you         out again              and talk to                 you
21                               MR.          DURHAM                               Hearsay           response                 Your Honor                                     21          A.    Yeah             gang intelligence                           officer.


22       objection.                                                                                                                                                          22          Q.     Okay.

23                               THE COURT                                Sustained.                                                                                         23          A.     STG.

24               Q.     BY         MR. SIMS Once you                                            called         it   to    Mr.          Wileys                                24          Q.     Okay.             Caine and talked to you                                         and you gave them

25       attention did he                        fix    the          problem                                                                                                 25   another            statement                  is   that     correct


                                                                                                                                                                       128                                                                                                                                       Page           130
                                                                                                                                                           Page

 1               A.   Yes          it      was taken care                          of.     He        told      me he was                     sorry.                           1          A.     Right.


 2                               MR.          DURHAM                               Objection. What he                              told          him would                    2          Q. Would               it   be     fair to       say theres               more           in that


 3       be hearsay.                                                                                                                                                          3   statement           than        there      was       in the          first     one

 4                               THE COURT                                Sustained.                                                                                          4          A.    Yes         sir.




 5               Q.     BY MR.                    SIMS                Just         try     to       answer.                                                                   5          Q.    Okay.            When you                  got
                                                                                                                                                                                                                                                  --   what        time did          you turn out

 6               A.   Okay.                                                                                                                                                   6   for    work        that       day
 7               Q.   Did         you have any problems                                         with Mr.                Wiley                                                 7          A.    Normal time                   I   think       is   about          600 630                in   the


 8               A.   No          sir.                                                                                                                                        8   morning.

 9               Q.   How would you                                  describe             him        sir                                                                      9          Q.    What did you do when you                                       first got           out   there         to


10               A.   Well he was fair you know.                                                     I   never had                 a problem                                 10   work         do    you remember




--19
                                                                                                                         worked with him                                                                        and                                                 --
                      him and                                                                                                                                                11          A.         went                  -- I   went                                       where
                                                                                          you know                                                                                                                                           to the         tool                        they
11       out of                              I    was out             there          --                             I                                                                          I




12       out there           you know.                       I   never             did have              a confrontation with                                                12   shake        --   where         they pat shake                  you when you                      first
                                                                                                                                                                                                                                                                                             go       in.       And

13       him you             know.                                                                                                                                           13   went    to       the   tool        room and got                 my        --
                                                                                                                                                                                                                                                                 got        my    knife      and gave them

14               Q.   Now              youve            given             three          different            statements                    in                               14   my ID         card.


15                      to       what                                  out          --                                                                                       15          Q.    Now          before          you went              to    work        that         day did you have
         regards                              happened

16               A.   Right.
                                                                                                                                                                             16   any kind of              feeling          that     there        might be something                         going          to


17                    --     there                that       correct                                                                                                         17   happen
                 Q.                          is



18               A.   Right.                                                                                                                                                 18          A.    Well you know                         --
                                                                                                                                                                                                                                          you know                 it   was

                 Q.   Are         all three             of them                the       same                                                                                19                        MR.           DURHAM                       Objection                 nonresponsive.                      Its a


20               A.   Yes          sirs       all    but one.                  You know when                             it       --   when            it                    20   yes-or-no           question.


21       first    happened you know                                       I    seen Mr. Wiley                       when he                  --
                                                                                                                                                  when he                    21          A.    No        sir      not     that       day.

22       came from                --    from           the       position            where           he       was over                 --
                                                                                                                                            over            by               22          Q.     BY         MR. SIMS Im sorry

23       the     box area              and        he walked                    across.              And        that      morning                  when           all         23          A.    No        sir      not     that       day.

                                                                                                                                                                                                Did      you have any kind of
                                                                 you know
                                                                                                         --              --                  -- I                            24                                                                             feeling          that   something
24       this    took       place            they       --
                                                                                               they           they                they                                                   Q.

25       seen     him when                   he walked                 from              the    box area over                      to the             office                 25   might be           fixing        to     happen          at the        system sometime                      soon

320TH DISTRICT COURT                                                                                                                                                                                                                                                             Page        127            -
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POTTER COUNTY TEXAS
 --8
                                                                                                                                                         T                                   TRIAL ON THE MERITS
THE STATE OF TEXAS                     Multi-Page
vs.Case 2:12-cv-00074-D-BR
    TRAVIS                 Document 84-2 Filed 01/17/13
             TREVINO RUNNELS                                                                                                                                                       Page 37 of 67 PageID 271926 2005
                                                                                                                                                                                                  OCTOBER
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 1          A.    Right.                                                                                                                     I                          THE COURT                             Objection                is      sustained.                  The jury

 2                      MR.        DURHAM                     The question is                   --                                           2   is   instructed           to      disregard               the     last    answer.

 3          A.    Yes      sir.                                                                                                              3          Q.       BY       MR. SIMS At                              that    time           how           long had            you been

 4                      MR.        DURHAM                     --
                                                                   leading           Your Honor.                                             4   at the       Clements             Unit

 5                      THE COURT                        Sustained.                                                               -
                                                                                                                                             5          A.       From November                          to    February.

 6          Q.    BY       MR. SIMS                Prior           to   going        to   work        that      day what                     6          Q.       How       long had                you been              in the        prison             system

 7   was your        feeling        in   regards         to    the        system out            there      at the                            7          A.       About 20               --   about           20    some months.                          No

     farm                                                                                                                                    8          Q.       Plus     the      time before                    --   before        you made parole

 9                      MR.        DURHAM                     Irrelevance.                                                                   9          A.       Twenty-one                  --    21    years.


10                      THE COURT                        Well rephrase                    the   question                                    10          Q.       Twenty-one                  years

11   please.                                                                                                                                11          A.       Yes      sir.



12          Q.    BY MR.            SIMS           Prior           to   going        to   work        that      day did                     12          Q.       That     youve              been        incarcerated                  at that           point

13   you     develop       any kind of impression                           in    regards            to the     farm                        13          A.       Yes.

14   being       different        than what         it   normally               was                                                         14          Q.       Through           that           are you          familiar            with         --
                                                                                                                                                                                                                                                          do       you      feel


15          A. Yeah.          You know              it   had        been        --
                                                                                     you know              --                               15   like    you          are familiarwith                       the       prison system and                           the     units


16                      MR.        DURHAM                 Objection                  to   anything           after    yes.                  16   that     youre at

17          A. Yes.                                                                                                                         17          A.       Yes      sir.



18                      THE COURT                        Sustained.                                                                         18          Q. Have            to      deal with a                lot       of inmates                 on    a daily            basis

19          Q.    BY MR.            SIMS           How so                                                                                   19          A.       Yes      sir.



                                                                                                                                                                                                                                                               correct
                                                                                you know                                                                         As well as
            A.                                                                                                                              20          Q.                               the       supervision staff                               that
20                Well they was               talking         about                                  --                                                                                                                                       is




21                      MR.        DURHAM                 Okay.             Im        going          to object        to                    21          A.       Yes      sir.



22   hearsay       response.
                                                                                                                                            22          Q.       Now          in   regards            to     you being back                        on        the     Clements


23                      THE COURT                        Sustained.                                                                         23   Unit     at     that    time           on     January             29th         of    2003 prior to                        that


24          Q.    BY MR.            SIMS           Dont            tell    me anything                that      was    said.                24   time         had      you     been          back        on       that    farm         sufficient                  enough          in   time


25          A.    Okay.                                                                                                                     25   to   feel      like    what        you        felt      like      was         a normal                 occurrence                in   the


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                                                                                                                           Page

 1          Q.    What        if    anything was going                               on as far as the                                        1   prison

 2   inmates                                                                                                                                 2                          MR.        DURHAM                     --
                                                                                                                                                                                                                   on     qualification                  Your        Honor

 3                      MR.        DURHAM                          Your         Honor            that calls for a                            3                          THE        REPORTER                        Im      sorry          I   didnt           hear    your

 4                                                                                                                                           4   objection.
     hearsay        response.

 5                      THE COURT                         Well             it   kind of depends on what                                      5                          MR.        DURHAM                     Thats a           leading            question           and an

                                         --                                the question                   to    --   the                     6
 6   the    answer is but                     so rephrase                                                                                        attempt         to qualify.


 7   whats          going          on is       a   little          vague.
                                                                                                                                             7                          THE        COURT                 Rephrase              the    question                please.


 8          Q.    BY MR. SIMS                            Did you observe                         inmates             doing                   8          Q.       BY MR.            SIMS               In the       amount            of time            you had been

 9                      in particular out of the ordinary                                        prior to going                  to          9   back     to the       Clements Unit do you                             feel    like
                                                                                                                                                                                                                                          you were              or    were
     anything

10   work        that   day any           time           earlierthat                 week                                                   10   not familiar with                 basically            a normal           if   you want                to    call    it




11          A.    Yeah        trying to            make commissary.                                                                         11   normal          situation         at   the    prison

12                Whats making commissary                                                                                                   12          A.       No no          its not           normal.
            Q.

13          A.    You know you know                                 something               going          to take          place           13          Q.       Pardon        me
14           know          youre         trying to get your groceries                                        trying to           make       14          A.       No     sir.
     you
                                                                                                                                            15                   You werent                                             what                  normal          situation
15   store       you    know because youre fixing to go on lockdown.                                                                                    Q.                               familiar with                              the



16                      MR. DURHAM Thats speculation and Ill object                                                                         16   was     at     the   prison

17   to the       answer           and its not responsive                                 to the question.                                  17                          MR.        DURHAM                     Asked            and answered.


18                      THE COURT                         Come up                    just a      second              please.                18                          THE COURT                        Did you           understand                   the    question           you

19                      At        the    bench           on the record                                                                      19   were asked


20                      THE COURT                         Now              carefully             --    and you may be                       20                          THE        WITNESS                    No        sir     no     sir.




21   able to qualify                him to         testify          to     this       sort of thing                  but    at              21                          THE        COURT                 Repeat           the       question please.

                                                                                                             what he just                                        BY MR.            SIMS                                             2003 you had been back
             point Ive                                                  that objection                                                      22                                                        In January               of
                                    got to sustain                                                    to                                                Q.




--320TH
22   this


23   said.                                                                                                                                  23   on     -- in    the    Clements Unit                   for several            months              correct


24                      MR. SIMS                    Okay.                                                                                   24          A.       On     the    Clements Unit

                                                                                                                                            25                   Yes.     In January               of    2003
25                      Open            court                                                                                                            Q.


                 DISTRICT COURT                                                                                                                                                                                                                    Page              131          -
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POTTER COUNTY TEXAS
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THE STATE OF TEXAS                    Multi-Page                                                                                                                                    TRIAL ON THE MERITS
  Case
vs.    2:12-cv-00074-D-BR
    TRAVIS  TREVINO       Document
                      RUNNELS      84-2 Filed 01/17/13                                                                                                                    Page 38 of 67 PageID 272026 2005
                                                                                                                                                                                         OCTOBER
                                                                                                                             Page       135                                                                                                                 Page      137

 1          A.    Right right right                         right.                                                                             I   went    to the      Clements            Unit on a hardship                      transfer.            I   dont

 2          Q.    --            were        at the          Clements              Unit    --                                                   2   remember        the date.              But   it   was        right before            --   right before
                       you

 3          A.    Right.                                                                                                                       3   Thanksgiving.

 4          Q.    --   correct                                                                                                                 4      Q.    So    it   was toward               the   end of November

 5          A.    Right         right.                                                                                                         5      A.    Right.

 6          Q.    And you            had        been        there          for several         months                                          6      Q.    So around              the 25th

            A.    Right.         I   was on            -- I
                                                                 was       there     from        November             to   --                  7      A.    Right        right.


 8   up   until       February             February               the      3rd.                                                                8      Q.
                                                                                                                                                            --   26th would                be about right

 9          Q.    And        based         on    all
                                                        your time involved                        in   being         in the                    9      A.    Right.

10   prison system                  plus       the    time        that      you      were      there     at the                               10      Q.    And you            --   so     you were there                  all   of    December

11   Clements          Unit then                okay         do you           feel    you had          an understanding                       11      A.    Right.

12   as   to    what      was normal                  for     being going              on around              that    farm                    12      Q.    And the           incident          happened January the 29th right

13         A.     No      not       really.                                                                                                   13      A.    Yes        sir.


14          Q. Okay.             All       right.                                                                                             14      Q.    So you were really there about two months

15                        If   something               unusual              that   was not day-to-day                                         15      A.    Right.

16   routine       activity          was happening                         would      you be able              to notice                      16      Q.    Before       the incident                right

17   that                                                                                                                                     17      A.    Right.




--25
18         A.     Yes        sir.                                                                                                             18      Q.    And then           you transferred                  out pretty             soon after the

19          Q. Did                   in     fact       notice           that      sometime            before                                  19   incident
                          you
20   January          29th      of   2003                                                                                                     20      A.    Right.

21                        MR.        DURHAM                        Your Honor                  hes not          qualified        to           21      Q.    The 5th of February you transferred                                        out

22   answer        that      question.                                                                                                        22      A.    Thats        what        I    just said.        I   just told          him       that   I       was

23                        THE COURT                              Sustained.                                                                   23   there   from November to February.                                  I   just       made     that statement.


24          Q.    BY         MR. SIMS                      Did       you      --   well     --   did    you      see                          24      Q.    Im not            arguing       with      you

     Mr. Runnels               with any kind of                       weapon or anything on January                                           25      A.    Right.


                                                                                                                             Page 136                                                                                                                       Page 138

 1   29th                                                                                                                                      1      Q.    --   Mr. Jones               Im just       --   Mr. Jordan                 Im sorry.
                                                                                                                                               2
 2         A.     No      sir.                                                                                                                        A.    Right        right.

                                                                                                                                                            Im sorry




--11
 3          Q.    When         is    the       first   time        you saw Mr. Wiley                       on       January                    3      Q.                           sir.




--10
 4   29th of          2003                                                                                                                     4      A.    Right.

 5         A.     When         he    came across from where                                 he    was working                from              5      Q.    Im just           --   Im trying          to get          some time              sequence            in


 6   going       to the      office.                                                                                                           6   here.    Why        did     you transfer
                                                                                                                                               7      A.                       an incident            with some                  Crypt dudes.
 7         Q.     Describe           him as you saw him                              at that      point.                                                    I
                                                                                                                                                                got into

 8         A.     I   was working                right           at the      canvas        machine            at the                           8      Q.    You        got in       an incident         with a crippled                      person

 9                                              work                 And           was                 across from              --             9      A.    With       some
     front thats where                     I                at.                I
                                                                                           right


     direct      where         Mr. Wiley              work           at.     He came across with                       his      hand          10                  THE COURT                      Mr. Jordan

          under        his     neck        and        blood        was running down                      his     hand.          Went          11      A.    I   got into       an incident            with some gang members.
     up

12   to   the office           and be got a jacket and                             put up        under        his    neck.                    12      Q.    BY         MR.         DURHAM                  Oh.        Had you had               incidents             with

13   He come back                   around           by     the    shoe canvas                 machine          and went             around   13   gang members before

14   by   the     tool    room and up                   to the        front up            to the       exit    door        up                 14      A.    No     I   hadnt.

15   to   the    front.                                                                                                                       15      Q. Thats           the only           time      you had an incident

16         Q.     Had you been assigned a knife on                                          that      day sir                                 16      A.    Right.

17         A.     Yes        sir.
                                                                                                                                              17      Q.    Okay.         Is that the only              incident             you have had in

                  Did                                                                have        it                                           18   your    21    years in          prison
18         Q.             you ever              let    anybody              else


19         A.     No      sir.                                                                                                                19      A.    No Im --               you asked          me        on    --    on    --   Im talking
20                        MR. SIMS                     Ill       pass       the    witness         Your Honor.                                20   about    this here         happened on the Clements                                Unit.

                                                                                                                                              21            Okay.         But you have had a                         lot    of incidents            while
21                                    CROSSEXAMINATION                                                                                                Q.

                                                                                                                                                                        in
22   BY- MR.             DURHAM                                                                                                               22   youve been                  prison

23          Q. Mr. Jordan                      Im      a    little    confused.             You went             to the                       23      A.    Oh     yeah Ive been                     into   some           --
                                                                                                                                                                                                                                 you    know Ive                 been

                       Unit         when        in    November                                                                                24   into    some things.
24   Clements

                                                                                                                                              25            Incidents          involving             violence               Is that correct                 or
25          A.    I   cant       -- I   cant           --    I   cant        actually          recall.     I                                          Q.


             COURT                                                                                                                                                                                                                      135         -                 138
320TH DISTRICT                                                                                                                                                                                                              Page                        Page

POTTER COUNTY TEXAS
                                                                                                                                                                               TM
THE STATE OF TEXAS                    Multi-Page                                                                                                                                                                 TRIAL ON THE MERITS
  Case 2:12-cv-00074-D-BR Document 84-2 Filed 01/17/13
vs. TRAVIS TREVINO RUNNELS
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     1   incorrect                                                                                                                                                  I          Q.   And            yall    would




--10
 2              A.    Thats            incorrect.                                                                                                                   2          A.   Right.

 3              Q.    You have                   not been                in       any incident              that      involved any                                  3          Q.   And            that   was       the    end of it

 4       violence                                                                                                                                                   4          A.. That was               the       end of           it.




--13
 5              A.    Ive had some                          fistfights               you know                other than                 --                          5          Q.    Okay.             But at some point                         in   time the system changed

 6              Q.    Well sir generally most people think                                                          that      being                                 6   where        if   there        was       a fight         the people                 got written         up and

 7       hit   with a       fist       is    a    violent           thing.              Do you             disagree with                 that                       7   there       was    disciplinary                  action            taken       correct

 8       concept                                                                                                                                                    8          A.   Right.             Thats         what        I    just    said you know.

 9              A.    Well you know back                                          in the        --
                                                                                                     you know when                           I   was               9    Nowadays                   you    know            if   you get wrote up

         doing       time back               in the          game sic you know                                      you know you                                  10           Q.   Okay.              Well         Im asking                you when did that change

11       could        you know                    you could                   tell      a boss        -
                                                                                                            an officer you                                        11    When        did    --       when         did     you         quit fighting                at will   and you          got

12       know Ive               got one over here                                 and      they      would          let
                                                                                                                            you fight                             12    written       up            About        when           did that          change

                                                                                                                                                                               A.   In the            80s.
         you know               as long as                  youre             fighting           with your                fists.                                  13

14              Q.    Its okay               to       fight        with your fist                                                                                 14           Q.   In the            80s
15              A.    Right.                                                                                                                                      15           A.   Right.

16              Q.    Is that          your testimony
                                                                                                                                                                  16           Q.   Sometime               in the          80s
                A.    Yeah         you know                              you know                back            you know                    when                 17           A.
                                                                  --
17                                                                                                                                                     I                            Right.

18       was doing time back                                in the        early 70s                  you know                 and you                             18           Q.   Okay.              And that           disciplinary                 procedure          would        consist

19       know you               could            --
                                                      you know                       you       could       tell     you know                     if   you         19    of   what          I       mean        if   youre            caught
                                                                                                                                                                                                                                                      -- if
                                                                                                                                                                                                                                                                 you fight what            is




 --5
20       had a problem                  with an inmate                             or something                  yall
                                                                                                                              --
                                                                                                                                       you       know             20    the procedure                  for disciplining                    you
21       yall had          different              concepts                of things                  you could              tell       the                        21           A.   Youre              liable to          go to solitary for 15 days                            lose


22       officer well              I
                                        --
                                              you know                        I
                                                                                  got
                                                                                          --
                                                                                                you know we got some                                              22    amount           of time          of   good time.

23       business          we need               to    take care                  of.      They would                 let
                                                                                                                             you         fight                    23           Q.   Okay.              What         is   solitary           please sir

24       with your          fists           you know.                                                                                                             24           A.   You know youre                             isolated           off into         --   off into a


25              Q.    Okay.            Then            when did                   that     change                                                                 25    cell    to yourself               you       know             with     no commissary                     no radio


                                                                                                                                                 Page       140                                                                                                                       Page      142

                                                                                                                                                                                           know            you dont have no appliances.
                                                                                                                                                                               --
 1              A.    You know                     they got
                                                                          --
                                                                                  you know                 right      now           you       know                  I   no          you

 2       you    assault          somebody you know you can                                                   get      --
                                                                                                                            you know                  you          2           Q.   Have you been                        in solitary


 3       can    get    charged              for       it.                                                                                                          3           A.   No         I   havent           --   back in the 80s.

 4              Q. All      right.            But           when did                 that       start      being charged                                           4           Q.   Well           then    you have been in solitary

         for fistfighting                                                                                                                                          5           A.   Right             right.


                                                                                                                                                                   6                --
 6             A.     You know                     youre               talking            about       recently or                  --                                          Q.         right




--15
 7              Q.    No        sir     Im            talking            about            when        it   changed.                I    mean                       7           A.   Ive been              in solitary once.


 8       at    some point              --                                                                                                                          8           Q.   Okay.             And how              did       you find it

 9             A.     Oh                               --                                                                                                          9           A.   How            did    --   well you               know            it    --
                                                                                                                                                                                                                                                                 you know        --
                                                                                                                                                                                                                                                                                      you
                                you         still



10              Q.    --   in    time         --                                                                                                                  10    know youre just doing                                  without           you know.               Its    a regular


                                                                                                                                                                        thing you know youre                                                                know
                                                                                                                                                                                                                                            --
11             A.     --
                           you know                    you         know              --                                                                           I 1                                                          doing             you                    still   youre doing

                                                                                                                                                                        your time you just dont have                                                             know
                                                                                                                                                                  12                                                                        no        you                appliances             and
12              Q.    Pardon

13             A.     You know                     you           still
                                                                          fight.           If   you        get   --   if
                                                                                                                            you         get                       13    things      in there              you know.

14       caught                  know youre                            going          to   have        disciplinary                     you know                  14           Q.   No     appliances                like coffee             makers or
                       you

                                                                                                                                                                  15           A.   Right             radio.
         procedures.

                                                                          Im                                                                                      16                --
                                                                                                                                                                                          TVs          radios
16              Q. All      right.            Well see                               having           a    little     trouble                                                  Q.

17                                                     line here.                                                                                                 17           A.   Right.
         following your time

18             A.     Right.                                                                                                                                      18           Q.   Youre             just     sitting         on steel

                      You said back                                                                                                                               19           A.
19             Q.                                            in the           70s          you can           say      to the                                                        Right.

20       supervisors or guards                               or     whoever                 Im having                  trouble with                               20           Q.   Is    that the         same as administrative                                 segregation         or


21       John    Doe over there                             --                                                                                                    21    different


22             A.     Right.
                                                                                                                                                                  22           A.   Seg        its different                   you know.

23              Q.    --   and he said                      Well              yall
                                                                                           --
                                                                                                yall        work       it    --                                   23           Q. All right               sir.      Now          lets talk                 --   have you had an

                                   out                                                                                                                            24                               today to review your statements                                      you     made
24       yall duke          it                                                                                                                                          opportunity

25             A.     Right.
                                                                                                                                                                  25           A.   No         sir.




320TH DISTRICT COURT                                                                                                                                                                                                                                                    139                     142
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POTTER COUNTY TEXAS
                                                                                                                                                                                                  TRIAL ON THE MERITS
                                                  TM
THE STATE OF TEXAS                     Multi-Page
vs.Case 2:12-cv-00074-D-BR
    TRAVIS                 Document 84-2 Filed 01/17/13
             TREVINO RUNNELS                                                                                                                                                            Page 40 of 67 PageID
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     1
               Q. Pardon                                                                                                                            1          A.    Right.

 2             A.     No     sir.                                                                                                               2              Q.
                                                                                                                                                                     --    correct

     3         Q.     Do you            have       those with                you                                                                3              A.    Right.

 4             A.     Yes    sir.                                                                                                               4              Q.    All     right.           And     then    on the 30th you made a new

 5             Q.     Okay.         Do you           want           to   take a           moment            and     start   with                5       statement            didnt            you
 6       the   statement          of January              the       29th          that     you made and review                     it           6              A.    Right.

 7       please                                                                                                                                 7              Q.    Do     you have that statement                          with you          sir

 8                          THE COURT                          Is that            your statement                   Mr. Jordan                   8              A. Yes.

 9       or    somebody just                left    it
                                                         up    there                                                                            9              Q.    Review             it   quickly please                sir.     Its   about a page

10                          THE WITNESS                              No           this     is   not none           of mine.                    10       and ten           lines.


11       This    is   William.              This     is   William.                                                                             11              A. All       right.


12                          THE COURT                          Okay.                                                                           12              Q.    Nine         lines.


13                          MR.         DURHAM                      Well thats                      the   reason      I   asked                13              A.    Witness                 reading

14       him because              there      was some up                         there.                                                        14                    Pause
15                          Do you           have         --
                                                               may           I
                                                                                 approach             the      witness      Your               15              Q. Please            let      me know when youre                       through.

16       Honor                                                                                                                                 16              A.    Okay.              Witness        reading

17                          THE COURT                          Sure              sure.                                                         17                    Pause
18             Q.     BY     MR.            DURHAM                       You have got                     three    statements      you         18                    Okay.

19       made         correct                                                                                                                  19              Q.    Okay.          In       the   first   statement          of    the   29th you
20             A.     Yes    sir.                                                                                                              20       didnt mention Mr. Runnels                                at all did          you
21             Q.     Do you        read       well                                                                                            21              A.    No      sir.


22             A.     Yes    sir.                                                                                                              22              Q.    But on the second statement                                  you make the




 --6
23             Q.     All   right.          And you            --    these         statements               were    written                    23       observation               that       on the 28th          that     Mr. Wiley           got into       it   with

24                                                                                                                                             24       Mr. Runnels                 do you not
         by you

25             A.     Yes    sir.                                                                                                              25              A.    Yes         sir.




                                                                                                                              Page      144                                                                                                                 Page 146
                      Your handwriting                                                                                                                                                                     what            you dont elaborate
                                                                                                                                                                     All                                              --                                      in
 1
               Q.                                                                                                                               1              Q.           right.           Exactly

 2             A.     Yes        sir.                                                                                                           2       your        statement            on what you mean by got into it.                                   Could    you

 3                                  Then           look        at the             one of January                    29th review                 3       tell    the jury          what        kind of confrontation                   there     was between
               Q.     Okay.

 4       it   and get yourself                     familiar with                     it.        I   have a few questions                        4       Mr. Runnels                --     now       that   was on the 28th                that     happened         the


 5       about        it please             sir.                                                                                                5       day before the incident

               A.     Witness               reading             Okay.                                                                           6              A.    I    think     it       was on    the 28th.


 7                                           Thats                                            --                      and four-                 7                    --    that that confrontation                    occurred            is   that
               Q. All       right.                             a one-page                           one-page                                                   Q.

 8       line statement                  correct                                                                                                8       correct

 9             A.     Right.                                                                                                                    9              A.    Right.

10             Q. All                        And          in that statement                                                                    10              Q.    All    right.           Can you         enlighten            us on what          happened on
                            right.                                                                        you essentially
11       say    that       you     --
                                         you       didnt see or hear what happened                                                dont         11       that    occasion

12                  sir                                                                                                                        12              A.    It   was about             him        you    know            working.         You know he
         you




--19
13             A.     Right.                                                                                                                   13       was     telling him you know                             about going to work                    you   know
                      And                                                                                                                                                         in his area         and not working.                    And      he   had told him
                                 you also say that you hadnt
14             Q.                                                                                         heard       about                    14       about       being

15                         before                   did                          statement                is   that    correct                 15       that     you       know              he was    tired of       him messing with him just                           to
         anything                           you                your

16             A. Thats             not in here.                                                                                               16       leave       him alone.

                      You didnt                           in there that                                                                                              So they had at least in your observation                                         some type
17             Q.                              say                                         you did not see the                                 17              Q.

18       events       nor    --                                                                                                                18       of     confrontation

               A.     Oh no             I   didnt         --                                                                                   19              A.    Right.

                      --   hear about              them         --                                                                             20              Q.    --   and personality                  conflict
20             Q.

21             A.     --   see the event.                     No         I       didnt see the event.                                          21              A.    Right.

                      And you                                                                                                                                        Did           continue
                                            didnt hear about                                    before         your statement                  22                            it
22             Q.                                                                        it                                                                    Q.

23             A.     No.                                                                                                                      23              A.    No      I    didnt        --
                                                                                                                                                                                                    no     not after then.


24             Q.     Right.        Okay.                And        that          was your statement                        on the             24              Q.    Okay.          And        then    later     in   your statement                  you

25               of the incident                   --                                                                                          25       remember            that        you did not see Runnels                       with     a   weapon
         day

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320TH DISTRICT COURT                                                                                                                                                                                                                                    -
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THE STATE OF TEXAS                     Multi-Page                                                                                                                                                      TRIAL ON THE MERITS
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                                                                                                                                    Page       147                                                                                                               Page 149
     1          A.    No        I    didnt see him with                                  a    weapon.                                                     1   transferred               to another         unit.       What       unit   were you transferred

     2          Q.    And you                 did not see                   him by Wiley                                                              2       to
     3         A.     No        I   didnt.                                                                                                            3             A.    Smith Unit.

     4          Q. But you did hear Wiley                                         scream             in the second                                    4             Q.    Pardon

     5   statement              correct                                                                                                               5             A.    Smith Unit.

     6         A.     I    heard         somebody                     scream                 yeah.       I   dont know               if   it          6             Q.    Was           that    an upgrade or a downgrade how was that                                       I



         was him                                                                                                                                                                                                    you have a better job there or
                                                                                                                                                                                         --
     7                         but       I   heard             somebody                  scream.                                                      7       mean        better               better      did

     8         Q.     Well but you see                                 in the            first      statement         --
                                                                                                                                                      8       what
 9             A.     Right          right.                                                                                                           9             A.    No        I   went        straight        back to a factory job.                 It


10             Q.     --
                            you didnt see                         --                                                                                 10       wasnt no             better.


11             A.     Right          right.                                                                                                          11             Q.    Okay.              Where        is   the    Smith Unit

12             Q.
                      --
                            that.                                                                                                                    12             A.    Lamesa               Texas.

13             A.     Right.                                                                                                                         13             Q. All         right.        Why       were you transferred                   to   Clements         in

14             Q.     Right                                                                                                                          14       the   first     place

15             A.     Right.                                                                                                                         15             A.    On       a hardship.

16             Q.     What happened                             overnight                that
                                                                                                    you remembered it                                16             Q.   All       right.        What was             the      hardship

17             A.     I    didnt             --
                                                  you          know         I    didnt            -- I       didnt even             know             17             A.    Concerning                    my family.
18       Mr. Wiley was cut at                                  first       until he            walked          past       --   he                    18             Q.   Where does your                       family          live

19       wasnt            --   he    wasnt                 in   no     --   no       --      no     --
                                                                                                         you    know            no fast              19             A.   Lubbock.

20       moving            or nothing.                     He    just       had his hand up under his neck                                           20             Q.    Okay.            So Lamesa             is   closer      to the     Smith Unit than

         you know.                  You know                     if
                                                                       you had just looked                                 him you                   21       Amarillo




--7
21                                                                                                                   at


22       wouldnt               have never                   thought you                       know           something              was    wrong     22             A.   Right.

23       with       him you know                               because          --                                                                   23             Q.   Where were you                        before      the    Clements        Unit

24             Q.     You mean youre accustomed                                                   to seeing          people          with            24             A.   Michael Unit.

25       coats       around their neck and blood running                                                       down        their      hands          25             Q.   Pardon

                                                                                                                                    Page       148                                                                                                               Page 150
 1             A.     I    didnt see                  --   I    didnt see nobody                             -- I   didnt see                         1             A.   Michael Unit.

 2       nobody            cut him.                                                                                                                   2             Q.   Where            is   that

 3             Q.     No        sir but               you said in your second statement                                              you              3             A.   Tennessee Colony.

 4       saw blood              running               down            his       hands                                                                 4             Q.   Which is

 5             A.     I    did.      Thats                 what        I   said          I   seen        blood but             I                      5             A.   Palestine.


 6       didnt see nobody                             harm him.                                                                                       6             Q.   All       right.       Which          is    some       distance     from here




--15
               Q.     And on             that         day on               the 29th            --    on the statement                     of          7             A.   Right.

 8       the    30th you stated that you                                        did not see                  Runnels           until he        was    8             Q.
                                                                                                                                                                         -- I      take        it

 9       taken        out the        door              is      that correct                  or incorrect                                             9                         Okay.            Were you             transferred        quite     often       during

10             A.     No       I    --   in the statement                            I       said    I   seen       Mr.    --                        10       your 21         years

         Mr.     --   are                                                   Mr. Wiley                                                                11             A.   I   went to           --   three      times       I   think.    I   --   about three
11                             you talking about
12             Q.     No       Runnels                 Travis.                                                                                       12       times three or four times.

13             A.     Right          right.                                                                                                          13             Q.   Well           now         I   got the impression               from what         you

14             Q.     You          said           I   did not              see       --                                                              14       testified       to    --    and correct            me     if     Im wrong
                                                      --                                                                                             15             A.
               A.     Right thats                                                                                                                                        Right.

16             Q.     --   Travis                 until          --                                                                                  16             Q.
                                                                                                                                                                         --   that at          some point             in   time you made parole

17             A.     Right.                                                                                                                         17             A.   Yeah.            Yes       sir.


18             Q.
                      --   he       was           taken          out the         door               --                                               18             Q.   Well           if   you made parole                    why     were you back in the

19             A.     Right.                                                                                                                         19       penitentiary

20             Q.     --
                           right                                                                                                                     20             A.   I   had        -- I   had a wreck.                Im on        a parole       violation.


21             A.                                                                                                                                    21             Q.   What was               the parole            violation
                      Right.

22             Q.     That          day you didnt                           see him until he was                           taken      out            22             A.   Failure to             stop and render                 aid.


23       the   door right                                                                                                                            23             Q.   Okay.            And           were you charged in that case

24             A.     Right.                                                                                                                         24             A.   Yes        sir.




25                    And          then       on      the 5th of                February you were                                                    25             Q.   Did you plead                    guilty
               Q.


             COURT
320TH DISTRICT                                                                                                                                                                                                                          Page       147     -
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POTTER COUNTY TEXAS
THE STATE OF TEXAS                    Multi-Pagetm                                                                                                                                                           TRIAL ON THE MERITS




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     1          A.    Yes           sir.                                                                                                                       I   with him.

  2             Q.    Did you get a sentence                                                                                                                   2          Q.    Thats fine except what                                   I   have     reference to             sir

  3             A.    Yes           sir.                                                                                                                       3   in            third        statement             you        recite         the    confrontation              as being
                                                                                                                                                                         your

  4             Q.    For       how              much                                                                                                          4   more        confrontational                 and which                 you say            that   Runnels            and     Wiley

  5             A.    Twenty-five
                                                             --   25 years.                                                                                    5   were    arguing.

  6             Q.    Was           that          on top of your prior sentence                                                                                6          A.    Right.


  7             A.    No        it      was            run concurrent.                                                                                         7          Q.    And          Runnels         told        Wiley

                Q.    Run concurrent                                                                                                                           8          A.    He needed               you know                    to   stop

                A.    Right.                                                                                                                                   9          Q.    Told         him what

10              Q.    And your                     original                 sentence           was         what                                               10          A.    That he needed                     to    stop fucking                 with him.


11              A.    Ninety years.                                                                                                                           11          Q.    Or
12              Q.    For       what                                                                                                                          12          A.    He was going                  to    do     something                 to    his   ass.


13              A.    Armed                 robbery.                                                                                                          13          Q.    Okay.          So they had                 a    pretty
                                                                                                                                                                                                                                               --
                                                                                                                                                                                                                                                    pretty       violent


14              Q.    And you                     served            20       --    how many                 years did                you serve                14   confrontation               didnt          they

                          you made parole
15       before                                                                                                                                               15          A.    Right.


16              A.    Twenty                 years.                                                                                                           16          Q.    And      that      was on           the        28th          the    day before           this


17              Q.    Okay.                 And you made parole on 90 years                                                                                   17   incident          happened

18              A.    Right.                                                                                                                                  18          A.    It   was      that      -- I   think           it   was       that    --    that   --   that




 --5
19              Q.    And you                     got out              and         --   and got the stop to render                                            19   Friday or          that     -- it
                                                                                                                                                                                                        was        that        Friday or             that    Monday             it   was

20       aid.        sic        Was               someone                   hurt        in   that                                                             20   one    of them.

21              A.    No        sir.             They enhanced                           my     punishment.                                                   21          Q.    Well Friday would have been                                          long before the                 29th.


22              Q. Because of the armed robbery                                                                                                               22   The 29th was on a Tuesday wasnt                                              it

23              A.    Right.                                                                                                                                  23          A.    Yeah          20   --
                                                                                                                                                                                                            yeah        that        Monday            I    think   it   was      that


24              Q.    But no one was hurt                                                                                                                     24   Monday.

25              A.    No        sir.                                                                                                                          25          Q.    You think              it   was         that    Monday

                                                                                                                                          Page      152                                                                                                                                       Page 154
 1              Q.    Okay.             Then            youre           transferred             down            to   Lamesa                                    1          A.    Right.

 2              A.    Right.                                                                                                                                   2          Q.    And had              they       had any problems before that

 3              Q.    Which             is       much         closer          to    Lubbock                                                                    3          A.    Not      that      I    knows             of.


 4              A.                                                                                                                                             4          Q.    Well          Travis           had only been working with him
                      Right             yes       sir.




--14
                Q.    How           far      is    it    from          Lubbock                                                                                 5          A.    Three         days.

 6              A.    Fifty-nine                  miles.                                                                                                       6          Q.
                                                                                                                                                                                --   three or four                  days             hadnt           he
 7                                      And            Amarillo                                             miles                                              7          A.    Three         days           three days.
                Q.    Okay.                                                  is    roughly 120

 8              A.    A       hundred              and        --   120 110.                                                                                    8          Q.    Three         days.           And right away                              there    was         --    there     was

 9              Q.    A       hundred              and        20        110.        So you           get   transferred               where                     9   friction          between the two of them right away.                                                     Would            that    be a

                                                                                                                                                              10           statement
         youre much                                                                          And you remember a
                                     closer                                                                                                 lot                    fair
10                                                      to   your family.

                                                                             than              did                      first or                              11          A.    All      I   know               the only                 thing        I    can say        is    Mr. Wiley
i 1      more        in   your       third         statement                            you            in   your

12       second           statement               is    that       correct                                                                                    12   had told him to go to work                                        you       know              about       being           in his area


13              A.    Yes       sir.                                                                                                                          13   and not working                          told        him to go to work.                          I   was

                      What refreshed your memory                                               the    transfer                                                14          Q.    But you            saw they had a confrontation
                Q.

15              A.    No       it    didnt.                                                                                                                   15          A.    Right yes                   sir.



16              Q.    Well why did you remember it                                                                                                            16          Q.    Okay.          And           Travis             in fact             told     you in a subsequent
                                                                                                                                                                                               that         he was going                      to do something                            he   didnt
                                                                                   you while ago you know                                                     17   conversation                                                                                                     if
17              A.    Well          I   --
                                                 just    like      I    told


18       I   didnt        know          that       Mr. Wiley                  was cut          until       --   until     the       OGI                       18   quit fucking               with          him
                                                                        me         about                    know.                                             19          A.
19       called      me out             and       talked           to                         it     you                    I                                                   Right.

20       didnt       -- I     didnt              know         that      he had got cut                     you       know           until                     20          Q.    But he didnt                    say        what he was going                            to     do
21       that     day     when          I    went            in his         office.          He asked           me    did       I   see                       21          A.    Right.

                                                                                                                      I                                                         And                                                      and that incident
22       Mr.      Wiley and                  I   told        him        I    said        Yeah          I    said           seen him                           22          Q.                 that conversation                                                                 you

                                                                                         hand                                       neck.                          remembered                 in                third statement                           of the 14th.                Were you
23       with some             blood running                       down            his                up under          his                       But         23                                   your

24       just     like    I   told      you while ago                         if   you hadve seen Mr. Wiley                                                   24   given       a transfer              based on your revived                                     memory
                                                                                                                                                              25          A.    No       I    wasnt            transferred                   on no memory.                      I     was      -- I
25       walking           you wouldnt have never thought nothing was wrong

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320TH DISTRICT                                                                                                                                                                                                                                              Page         151          -
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THE STATE OF TEXAS                   Multi-Page                                                                                                                               TRIAL ON THE MERITS
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 1    had    got     into       it   with        some gang              members.                                                      1   penitentiary




--11
 2          Q.   Thats the only reason you were                                           transferred                                 2          A.   Twenty-three.

 3          A.   Right.                                                                                                               3          Q.   Twenty-three             a      young      man
 4          Q.   All       right.           When you               got   into       it   with   the   gang                            4         A.    Right.

 5    members were you disciplined                                                                                                    5          Q.   And you were                a   little   more prone to take             offense

 6          A.   No.            No         sir   no    sir no            I   wasnt.                                                   6   than       you are when you get to be 57.                           Would        that be      a   fair


 7          Q.   You were                  transferred             for       your safety                                              7   statement

 8          A.   Right.                                                                                                               8         A.    Well you know when youre young you know you
 9          Q.   Okay.               Its unusual              to    be       at   one    unit   just three                            9   do    --
                                                                                                                                                      you do       --
                                                                                                                                                                        you do stupid            stuff.


10    months         isnt it                                                                                                         10         Q.    And you do            stupid          stuff     and as you get older

            A.   No         I   wasnt on              the     Clements              --   the    Michael      Unit but                11         A.    You        get wiser.

                                                                                                                                     12               --
                                                                                                                                                                                      was               stuff
                            was                                                                                                                            you realize        it
12    90 days.         I               there      three       months.                                                                           Q.                                           stupid

13                         THE REPORTER                                 Im         sorry what         unit                           13         A.    You        get wiser.

14                         THE WITNESS                              Michael          Unit.       I   was   there   three             14         Q.    You        get    wiser

15    months.                                                                                                                        15         A.    Yeah.

16          Q.   BY             MR.        DURHAM                       And        before that where            were    you          16         Q.    Okay.        Now        during         the three    months that you were at

17          A.   Middleton                  Unit                        facility.                                                    17   Clements           you never saw               Travis        involved    in      any fights with
                                                      private

18          Q.   Private facility                                                                                                    18   anyone           did    you
19          A.                   transfer                                                                                            19         A.    I    wasnt on        the building             with him.      I   didnt          stay   on
                 Right                             facility.


20          Q.   Okay.               For     how long were you there                                                                 20   the building            with him.

21          A.   Seven           days.
                                                                                                                                     21         Q.    Well        sir did     you       see    him     involved       in   any fights

22          Q.   And            before that where                       were       you                                               22   was my           question.

23          A.   Byrd           Unit.                                                                                                23         A.    No     I    didnt.

24          Q.   How            long were           you there                                                                        24         Q.    All    right.      Did you see him having words                            with       anyone

25          A.   Twenty-some                      days.                                                                              25   other than         Mr. Wiley


                                                                                                                     Page      156                                                                                                      Page       158




 --8
 1          Q.   How many                        times        have you been written                          up                       1         A.    No.

 2          A.   Since           Ive been back on                                 this violation                                      2         Q.    Thank        you     sir for being              here.


 3          Q.   No         sir in           your 22               --   21-plus           years in the                                3                     MR.         DURHAM                 Pass    the witness.

                                                                                                                                                                   REDIRECT EXAMINATION -
 4    penitentiary.                                                                                                                   4
                                                                                                                                                                   ----------
 5          A.   I    cantrecall.                                                                                                     5   BY-MR. SIMS
                 Too                         to    remember                                                                           6         Q.    What        are the boot          knives        or the   shop knives            used
 6          Q.                  many
 7          A.   Right.               Could         be        I    dont know.                                                         7   for


            Q.   Pardon                                                                                                               8         A.    Trimming.

 9          A.   I   cant say.                                                                                                        9         Q.
                                                                                                                                                      --   that    you    had

10          Q.   And            fighting           was        involved               in   many        of   those                     10         A.    Trimming.

11          A.   Right.
                                                                                                                                     11         Q.    What        are   you trimming

12          Q.   And            they        keep      a pretty close eye                        on somebody             that         12         A.    Leather leather and rubber.

13                                           and    is      a violent              person dont they                                  13         Q.    And whats            the leather           used for
      gets into trouble

14          A.   I    --    I   couldnt             --    I       couldnt            -- I      wouldnt.                              14         A.    Boots.

                                   written up                                                    many many                           15               What about           the     rubber
15          Q. Well sir youve been                                                                                     times                    Q.

      havent                                                                                                                         16         A.    For canvas shoes.
16                    you
                                             them wasnt for fighting                                                                 17         Q.    Are those          knives        dull or      sharp
17          A.   But        all       of                                                              though.

18          Q.   Well you dont                            consider                fighting       violence                            18         A.    No     we     got our        own whet           rocks.    We     keep them sharp

19          A.   I    said           all    of them wasnt for fighting.                                                              19   just like a razor.

20          Q.   Well back when                               --   what           are    you     now       about    54               20         Q.    How        sharp

21          A.   Im         57.                                                                                                      21         A.    Sharp.

22                                                            old                                                                    22         Q.    Got to to cut that leather and rubber
            Q. Fifty-seven                       years

23          A.                                                                                                                       23         A.    Sharp.
                 Right.

24          Q.   And 20                years ago you were
                                                          37.                                   You went           to the            24                     MR.         DURHAM Objection                        leading.


25    penitentiary
                                 --    how         old      were you when you                           first   went to the          25                     THE         COURT Sustained.

320TH DISTRICT COURT                                                                                                                                                                                                       155                     158
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POTTER COUNTY TEXAS
THE STATE OF TEXAS                     Multi-Pagerm                                                                                                                              TRIAL ON THE MERITS
  Case 2:12-cv-00074-D-BR Document 84-2 Filed 01/17/13
vs. TRAVIS TREVINO RUNNELS
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                                                                                                                 Page   159                                                                                                                                   Page 161
     1          Q.    BY              MR. SIMS                      On    January      29th    of    2003    did   anyone          1        A.        No no             it    wasnt                --    it    --   it    was     before        the


                                       your knife
     2   ask                for                                                                                                2       transfer.
                 you
     3          A.    Yes             sir.                                                                                         3        Q.        Okay.            Why             didnt you give a statement                                     before      you
     4          Q.    Who                The defendant                                                                         4       were transferred

     5          A.    Right.                                                                                                   5            A.        Well         I    didnt           --     I     didnt              -- I    didnt realize you

     6          Q. Did you                    let      him use it                                                              6       know           that      --
                                                                                                                                                                       that        you        know               that      he had asked               --
                                                                                                                                                                                                                                                            you   know
     7          A.    No          I    didnt.                                                                                  7       he   had asked                  me        for that knife                     at the present              time.

     8                       MR. SIMS                          Pass      the   witness Your Honor.                             8            Q.        Oh        you didnt                  realize he                   had asked you for the

 9                                           RECROSS-EXAMINATION                                                               9       knife but you realized                                 it     in time              to    remember         it    for the

10       BY-MR.                  DURHAM                                                                                       10        14th

11              Q.    Okay.              Thats            in   your third statement                  right                    11            A.        I   remembered                    it.



12              A.    Right.                                                                                                  12            Q.    You remembered                                   it.        Okay.            Did you go to the

13              Q.    Is    that correct                                                                                      13       authorities              and say                I    remember                     something
14              A.    Thats              right.                                                                               14            A.        I   went to the STG.

15              Q.    You made                     that       known on         the    14th after you were                     15            Q.        Okay.            Was         that before                   or after the transfer

16       transferred                 after        you had the trouble                 with the Crypts                         16            A.    That was                   before.

17              A.    Right.                                                                                                  17            Q.    Before               the transfer                      you remembered                     it they

18              Q.    Right You didnt                               tell   anyone      that the 29th.            You          18       transferred              you          and then                you gave a new statement                                 correct

19       knew         absolutely                  nothing           on   the   29th correct                                   19            A.    I       gave     a        -- I
                                                                                                                                                                                   gave          a      -- I
                                                                                                                                                                                                               gave a statement                   before

20              A.    No         he had asked me for that knife but                                   --                      20       they
                                                                                                                                                 --   before           they transferred                          me.

21              Q. Sir           --                                                                                           21            Q.    The third statement                                    you gave before you were

22              A.    Right.                                                                                                  22       transferred

23              Q.    --    in       your statement                   of the    29th you knew                                 23            A.    Right.

24       absolutely              nothing               about anything correct                                                 24            Q.    Well            the third statement                               is     dated    14th        of    February

25              A.    Im not                 --                                                                               25       and you said you were transferred                                                   the 5th of           February.


                                                                                                                 Page 160                                                                                                                                    Page 162
 1              Q.    Looking                at    the statement               sir isnt       that   what your                 1       Which      --       Im     really          confused               here.          Please help       me     out.       Which

 2       statement           says                                                                                              2       was it

 3              A.    Right.             But he had asked                      me    for a knife      --                       3            A.    I       was on        this       unit       in seg.


 4              Q.    Well             sir    Im just talking                  about     --                                    4            Q.    Pardon

 5              A.    Right             right.                                                                                 5            A.    I       was     in seg.          I   was housed                   in transit       in    seg on

                      --                                       --                                                              6
 6              Q.          what you told                                                                                              this unit          in 11    Building.

 7              A.    Right.                                                                                                   7            Q.    All       right.


 8              Q.    The story you told on the 29th                                   is   what     Im asking                 8            A.    I       hadnt        left this unit.


 9       about.                                                                                                                9            Q.    Okay.            On        what       date

10              A.    Right.                                                                                                  10            A.    I       dont remember                    the       date.


11              Q.    And            then     the next           day you        told another          story and you           11            Q.    Okay.            Well you                testified to                  this   jury a    moment           ago

12       didnt        tell       them about                   the   knife      did   you                                      12       you were            transferred             on      the       5th of February                to    the   Lamesa

13              A.    No         I     didnt.                                                                                 13       Unit

14              Q. All           right.           So     it   was two weeks             later      after   you                14            A.    Right.


15       have        this    altercation                 with       the    gang members and youre                             15            Q. Okay.               This statement                        is   dated the 14th of                 February

                                                         your family that you remembered                                                                                          was                                    was on
                                                                                                                                                                                                               --
16       transferred                 closer to                                                                     about      16            A.    I       was on        -- I               still         on         I               this unit.         I



17       the knife          --                                                                                                17       talked    to       the   STG          on    this unit             right here.


18              A.    The knife                   --                                                                          18            Q. While              you were              in    segregation or before you went                                 to


19              Q.
                      --    is    that       correct                                                                          19       segregation

20          A.        The knife he asked                            me     for the knife.           You know                  20            A.    I       was     in    11       Building.

21       Im      --                                                                                                           21            Q.    Whats                11    Building

22              Q. Sir       --                                                                                               22            A.    Thats           solitary.


23          A.        Yeah.                                                                                                   23            Q.    You were                  in    solitary

24              Q.
                      --
                            is    it    after          you were transferred                 that    you                       24            A.    Right.


25       remembered                    about           the knife         and gave the statement                               25            Q.    And you remembered

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THE STATE OF TEXAS                    Multi-Page                                                                                                                            TRIAL ON THE MERITS
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     1      A.   Right.                                                                                                         1   courtroom there                    take          a seat   on the witness                stand please

 2                     MR.              DURHAM                        Okay.          No     further questions.                  2   sir.



                                    REDIRECT EXAMINATION                                                                        3                      Mr. Elkins once you get comfortable                                          kind of
 3
                                    ----------                                                    -
 4       BY-MR.         SIM_            S                                                                                       4   pull that         microphone                 there      towards you a                 little   bit so that


                                                                                                                                                 you dont have
                                                                                                                                            --                                            have
 5          Q.   Why            were you in solitary                                                                            5   you                                              to            it
                                                                                                                                                                                                        right   up     close to          you but
 6          A.   Thats              where they had me placed                                on    trans.                        6   just so          you can speak into                     it.



 7          Q.   Tell    them what                     trans           is.                                                      7                      MR. ELKINS                           Yes     sir.


 8          A.   Just    like           they got              me     housed right now on a                   --   its           8                                    WILLIAM                  ELKINS
 9       just like segregation                       or       Ad Seg         you     know         where you        dont   --    9   having been              first     duly sworn testified as follows

10       you know
                        --                                                                                                     10
                                                                                                                                                                  --      EXAMINATION
                                                                                                                                                                  DIRECT-------- -
11          Q.   What           does        trans mean                          Tell   them       -- tell   them what          11   BYM R.              SIMS
12       that means.                                                                                                           12          Q.    State      your       name           please         sir.


13          A.   Trans          is      youre          going          to   be transferred.                                     13          A.    William Elkins.

14          Q.   Okay.              Anybody                   tell   you what          to say here          today              14          Q.    Where          are    you living at right now                            sir

15          A.   No     they didnt.                                                                                            15          A.    My     assigned            unit

16          Q.   We     talked before                         you testified havent                     we                      16          Q.    Where          are    you living at right                    now
17          A.   Right.                                                                                                        17          A.    Bill    Clements               Unit.

18          Q.   Whats              the     most important                      thing       I   told   you you could           18          Q.    And thats             a prison             unit in regards to the                  Texas

19       do in here                                                                                                            19   Department              of       Criminal Justice                   is   that   correct

20          A.   Tell the            truth.                                                                                    20          A.    Yes       sir.



21          Q.   Is   that          what youve done                                                                            21          Q.    And youre              there          on transport            from another                  unit    is


22          A.   Thats              what         I   have did.                                                                 22   that    correct

23                     MR. SIMS                           Pass       the    witness Your               Honor.                  23          A.    Yes       sir.


24                                                                                                                             24          Q.    Where          is   your normal house at

25                                                                                                                             25          A.    Ellis     One.


                                                                                                              Page 164                                                                                                                        Page 166

 1                                  RECROSS-EXAMINATION                                                                         1          Q. Where             is   that       sir

 2       BY_MR.         DURHAM                                                                                                  2          A.    In   Huntsville Texas.

 3          Q.   Tried          to       Is      that         what     you just said                                            3          Q.    And       currently             youre            in prison      on a       life   sentence


 4          A.   I   said       I   did.                                                                                        4   for aggravated                rape          is   that    correct

 5          Q.   I
                     thought            you used the word                           tried                                       5          A.    Yes       sir.


 6          A.   No     I       didnt.               Youre           trying to         put words in          my                 6          Q.    How       long       have you been in sir

 7       mouth.                                                                                                                 7          A.    Twenty-three.

 8          Q.   No     sir         I   just         asked you             if   I   heard       you correctly.                  8          Q.    Twenty-three years

 9          A.   Right.
                                                                                                                                9          A.    Yes       sir.


10          Q.   And        if I        didnt             I   didnt.                                                           10          Q.    Now        previously back in January                                of    2003 were you




--18
11          A.   Yeah.                                                                                                         11   an inmate at the Clements                               Unit

12          Q.   And        I
                                apologize
                                                          --                                                                   12          A.    Yes       sir.




13          A.   Right.                                                                                                        13          Q.    How       long       had you             been at the Clements                     Unit at that




--22
14          Q.
                 --   because               --   Im not              trying to put              words in your                  14   time

15       mouth because                  Im not                taking       your statement.                                     15          A.    Ten years.

16          A.                                                                                                                 16          Q.    Did you have any job                             assignment          at that      time
                 Right.

17                     MR.           DURHAM                          No      further questions.                                17          A.    Yes       sir at that time

                       MR. SIMS                           Nothing further Your                         Honor.                  18          Q.    What       did       you       do
19                     THE COURT                                Okay         you can step down.                                19          A.    I   was    a     cooking            officer       dining      room and             then       I    went

                                                                                                                               20   to the boot
20                     Call          your next witness.                                                                                                  factory.

                                                                                                                                                                                     January 29th
                                                                                                                                                                       --
21                     MR. SIMS                           William Elkins.                                                      21          Q.    In   January               or


                       THE COURT                                William             who                                        22          A.    No     January             I   was working                  in the   boot factory                  sir.


                                                                                                                                                                          had you been working in
23                     MR. SIMS                           Elkins.                                                              23          Q. In January of 2003 how long

24                     THE COURT                                Mr. Elkins             if
                                                                                            you would         come      right 24    the boot          factory

25       up there in the middle                           please           right     up to the front of the                    25          A.    Well on and                off       about five years                I    think    it       was.



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THE STATE OF TEXAS                     Multi-Page                                                                                                                                 TRIAL ON THE MERITS
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     1          Q.    On     January               29th     of    2003 what was your                           job         at the           1   identification          purposes.

 2       boot        factory                                                                                                                2                    Now          you said you were working on some

 3              A.    I   was      side       laster.                                                                                       3   equipment          is     that          correct

 4                           THE REPORTER                                Im sorry                                                           4         A.   Yes     sir.


 5              A.    I   was      side laster              machine           operator.                                                     5         Q.   Tell   me        approximately where you were working that

 6              Q.    BY         MR.          SIMS Now                    did    you know                 an inmate by the                  6   day.

 7       name        of Travis               Runnels         from the Clements Unit                              at    that    time         7         A.   Well        I -- I          was

                A.    I   knew          of    him from working out there                                  sir.                              8         Q.   Im just          going to                start       over         here        and Ill         start


 9              Q.    Do     you see him here in the courtroom today sir                                                                    9   moving         across       and you                 tell   me when                  to stop.

                                                                                                                                           10         A.   This over           --
                                                                                                                                                                                        well see over                                    thats the side
10              A.    Yes        sir.                                                                                                                                                                                      there

11              Q.    Can you            please           point       him out and describe the                                             11   lasting area       there.


12       clothing          hes wearing                                                                                                     12         Q.   The faster is right there

13              A.    Shirt        and tie brownish                      shirt    and     tie.                                             13         A.   Yes     sir.




--23
14              Q.    Can you            point        in his direction                  please           sir                               14         Q.   Okay.

15              A.    Witness                complies                                                                                      15         A.   And     I   was behind                     the side             laster        working           trimming

16                                      Thank                                                                                              16   the boots.
                Q.    Okay.                          you.

17                           About            --   at that       time about             how      long          had you                     17         Q.   Okay.        You             see that           No. 27 there

18       known            this   defendant                                                                                                 18         A.   Yes     sir.       It       should         be       right in            there.



19              A.   Well from                just        working out there because                              about        -- I         19         Q.   Theres         a    No. 26               there.            Which one

20       think       he    had been out there a week                              or    two      I   think somewhere                       20         A.   Where was                   the    table

21       around           there.                                                                                                           21         Q.   Eighteen the table                         is     18       --   17 18              19.


22              Q.   Now           did       you also know                 a Stanley          Wiley                                        22         A.   Okay.        I     was working                      right there
                                                                                                                                                                                                                                         --
                                                                                                                                                                                                                                              right there

                A.    Mr. Wiley yes                       sir.                                                                             23   right there       by my                machine             right in that                  area right          there.


24              Q.    Mr. Wiley.                   How       did      you know           him sir                                           24         Q. Right         in here              somewhere                      Indicating

25              A.    Well         he    was        my      supervisor           and     I   knew him                  quite               25         A.   Yes     sir.




                                                                                                                           Page 168                                                                                                                                Page        170

 1       well.                                                                                                                              1
                                                                                                                                                      Q.   Okay.        Im going to                        put        E       right there               and mark

 2              Q.    How          long had you been under his direction as a                                                               2   approximately where you were working                                                      okay            Is that fair


 3       supervisor                                                                                                                         3   enough
 4              A.    Right        at    --   a    little    better       than    a     year     I    think           it                    4         A.   Yes     sir.


 5       was     or better              probably.                He    took      another       officers                place.               5         Q.   Okay.        Was             Mr. Runnels                    working that                 day
 6       Another officer had                        retired        and he took            his place.                                        6         A.   Yes     sir.


 7              Q. Describe              Mr. Wiley                 for   us      please.                                                    7         Q.   What was he doing                           that           day sir

 8              A.   Mr. Wiley was                     probably like about five                            --    five       nine            8         A.   Well he was                      janitor        I    think         it
                                                                                                                                                                                                                                    was        on the broom.

                                                                                        somewhere around                                    9                           Had            he     been out there very long Mr. Runnels
                 ten somewhere about                                                                                                                       Okay.
                                                                                                                                  there.
 9       five                                                    my      height                                                                       Q.

10              Q.   What kind                of person            was     he sir                                                          10         A.   Well he            --       he    was      assigned               out     there.         I   think       he


                     Mr. Wiley was                                                He was             --   he     was        like    --          had been        out there every                       day             think              was.
                                                            good man.                                                                      11                                                                     I                 it
11              A.                                     a

12       well        he    was my             supervisor.
                                                                                                                                           12         Q.   Im sorry                I   didnt          understand                   you.


13              Q.    Did you get along                      with        him                                                               13         A.   I   think    he was               out there every                       day.        He was             assigned


14              A.   Yes         sir.                                                                                                      14   out there to the boot                        -- I     mean            boot     factory.


15              Q. There are some tissues right there by you
                                                                                                               if   you                    15         Q.   Do    you know                    how      long he              had been out there

16       need one.                                                                                                                         16         A.   I   would        say         maybe          a couple               of    weeks two weeks

                             Mr. Elkins can you see                              this   or   do      I    need to                          17   somewhere around                        there.
17




--25
                                                                                                                                           18                           That particular morning                                          when you             first      got
18       move        it
                           up closer                                                                                                                  Q.   Okay.

19              A.                                  little                                                                                 19   out there        did    you talk to anybody                                  or just          went       to   work
                      Bring        it
                                         up a                 closer       please.

                                                                                                                                           20         A.   Just   your regular                      people            that associate                --   that      work
20              Q.   Yes         sir.



21              A. All       right.
                                                                                                                                           21   in that area       with us.                  We       be     sitting          around             kicking          and




--320TH
                                                                                                                                                                                                                                            --
22              Q. Are you able to recognize                                  that      sir                                                22   drinking        coffee        and you know                             shooting                  shooting           the    bull

                                                                  --   thats                              of the                           23          know       until time to                            to     work.
23              A.   Yes         sir.        Thats         the                    a   diagram                                                   you                                                 go

                                                                                                                                           24                    So Mr.            --       so   --   so
24       boot    factory.

                Q.   And         its     marked             as States           Exhibit       No. 50 for                                   25                    MR.        DURHAM                           It       became


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POTTER COUNTY TEXAS
THE STATE OF TEXAS                                                                                                                                                                                                                               TRIAL                     ON THE                           MERITS




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 1         A.       --       Mr. Wiley                  --                                                                                                              I   there     and        wanted          to      use       my      knife where                he can            cut    some Vs               in


 2                                MR.         DURHAM                       --
                                                                                    nonresponsive               at   some              point         in                 2   his     shirt.       He was making a muscle                                   shirt        he       said.         So    I   told




--11
 3   time      Ill object.                                                                                                                                              3   him       I
                                                                                                                                                                                          say Well                 look here               man       as soon               as      I
                                                                                                                                                                                                                                                                                       get    caught            up
 4         A.       Mr. Wiley                      --                                                                                                                   4   Ill     let   you use            it.


                                                                                                                                                                                                     And                              him the knife and he
 5         Q.       BY MR.                        SIMS          Okay.                Let       me ask you            --                                                 5                                    then        I   give                                                       --    he

 6                                THE COURT                           Okay.               Ask        another     question.                                              6   didnt         --    he    wasnt           mad.          He had a smile on                           his     face       so       I



                                                                                                                                                                                     him the knife                    and      he goes           down
 7         Q.       BY MR.                        SIMS          Did you                   see    Mr. Wiley having any kind                                              7   give

     of discussion                    with         anyone                                                                                                               8          Q.      Let       me ask you                what         did    you think he was going                                   to


 9         A.       No            not     right         offhand.           He had               told    Mr. Runnels                     to                              9   do    with         the   knife     when you gave                       it    to    him
10             work           or get          on        the wall.                                                                                                      10          A.      Well        I    was thinking he was going                                  to
     go   to



           Q. Okay.                     What            happened               at    that
                                                                                                point                                                                  11                            MR.     DURHAM                        Objection.                 It    calls       for


12         A.       At       that       time Mr. Runnels went                                     to   work.                                                           12   speculation Your Honor.

13         Q. What                     was        the    defendant Mr. Runnels                                 doing          at       that                            13                            THE COURT                        Sustained.

14   point
                                                                                                                                                                       14          Q.      BY         MR. SIMS Did                             Mr. Runnels                  tell
                                                                                                                                                                                                                                                                                       you what             he


15         A.                                                                                                                                                          15   wanted             the   knife     for
                    Sweeping.

16         Q.       Whats               the next             thing         you remember                     happening                  that                            16          A.      No        sir     other than              to    cut    the    Vs      in his            shirt      make

17                                                                                                                                                                     17   a muscle             shirt.




 --3
     day

18         A.       Well               went        on back            --   I   went            on back        trimming my                                              18          Q.      You        gave     him           the    knife.        What happened

19   boots      and          stuff trying to                   --    because               I   was     in vocational                                                   19          A.      I
                                                                                                                                                                                               give him            the    knife           he went         down             there        and thats

                                                                                                                                                                                           assumed thats what                             he    was going
20   training       and           I    was        trying       to    get through                 with       my work and                        then                    20   what      I                                                                                to do.


21   go   to school.                  And          so    a   few minutes                       later Mr. Runnels he                                                    21                            MR.     DURHAM                        Objection              nonresponsive.                            Assumed

22   came      to   me            about           cutting       some           sleeves out              of    this   shirt                                             22   is    not a proper response.                             Its       speculation.


23   thermal        shirt so              I    was        so    far    stuck              out    on    the boots          so       I                                   23                            THE COURT                        Objection                sustained.


24   didnt have                  time        to    let    him go down                         there    by    himself          and        use                           24                            MR.     DURHAM                        May       I    have        an        instruction             to


                                                                                                                                                                       25
25   my knife                so    I
                                       go down               there     and           I    cut the sleeves            out of             this                                disregard


                                                                                                                                                          Page   172                                                                                                                                            Page 174
 1   shirt     and           I    come back.                                                                                                                            I                            THE COURT                        Mr. Elkins                 heres             what       I    need         you

                                                                                                                                                                        2                  Listen carefully to                                                  that
 2         Q.       Yall went                          together                                                                                                             to do.                                                   the    question                       youre asked

           A.       Yes               sir.                                                                                                                              3                            THE WITNESS                            Yes         sir.




 4         Q.       Okay.                 What was Mr. Runnels                                           attitude             at that            time                   4                            THE COURT                        --    and     answer            that         question.


 5         A.       He was                    --                                                                                                                        5                            THE WITNESS                            All    right.


 6                                MR.          DURHAM                           Objection.                   Theres                no proper                           .                             THE COURT Okay                                 thanks.


 7   predicate               for that              question.                                                                                                            7                            MR.     DURHAM                        Thank          you Your                     Honor.


 8                                THE COURT                                Sustained.                                                                                   8          Q.      BY         MR. SIMS                      So you         --    what         do        you do         after        you

 9         Q.       BY                MR. SIMS What                                      happened             next                                                      9   give     the       defendant           the       knife


10         A.       He had a                      --
                                                        he     was        --    he had               a smile on               his       face.                          10          A.      I    stayed over              there       sitting       down          at    the       table


11   He didnt                 act       like        he       was mad or nothing                               like that                there.             He           11   drinking            coffee.


12   had                                                                                                                                                               12                  You        couldnt            do                work without your knife
               a smile on                    his        face    like           all       the other          times         I    had            seen                                 Q.                                              any

13   him you know.                                                                                                                                                     13          A.      No        sir.




14                                MR.          DURHAM                           Thats not responsive                                     to the                        14          Q.      You couldnt                   do your assigned                       job correct

15   question                Your Honor.                                                                                                                               15          A.      Yes        sir.




16                                THE COURT                                Sustained.                                                                                  16          Q.      Did       you     see where               Mr. Runnels                 went

17                                MR.          DURHAM Im                                       going        to object           to       it.        Could              17          A.      He went           down            there        by boxing             area            somewhere               down          in



18   he ask a question and                                            a response                                                                                       18   there.
                                                               get


19         Q.       BY MR.                         SIMS               Once you got back                              from              cutting            the          19          Q.      I
                                                                                                                                                                                               guess        we     need        to get       that    back         up        here.



20   sleeves        out what                       happened                                                                                                            20                            THE COURT                        Gary         just        take        it   off the easel


21         A.       I    went           back             at the       table              to    sit    down and went                            to                      21   take     the easel             away          and       we      can    just     lean        it   against           the



                                                        friend and                                    went     on     --                                               22   table.
22   kicking            it    with           my                                          then    I                             fixing               to


                                              of               racks           out because                   they were                  coming             in          23                            Okay.         Thank            you.
23   knocking                some                      the


24   kind of            regular               on        me      so    I    went                back    to    work.                                                     24          Q.      BY         MR.      SIMS On                     States Exhibit No.                            50       for



                                                                           Mr. Runnels                       come back                       down                      25   identification              purposes               you        had      indicated               that        you    were
25                                So     shortly             later


                                                                                                                                                                                                                                                                                                                           174
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                                                                                                                                                                                                                                                                       Page                                 Page

POTTER COUNTY TEXAS
 --3
 --7
THE STATE OF TEXAS



 1



 2




 4

 5

 6




 8
     approximately




     is
            A.


            Q.

            A.

          the


            Q.

            A.

            Q.
                  Yes
                  Now
                  Boxing area
                               sir.




                  warehouse area

                  Okay.

                  Uh-huh.

                  Do      I
                                where
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                                       right




                                    Heres
                                                is


                                                is
                                                    here



                                                     the

                                                     down


                                                     the
                                                                is    that




                                                               boxing area here

                                                                      there




                                                               lasters.




                               need to get closer so you can see
                                                                                  correct




                                                                                  by     the warehouse.
                                                                                                                      Page




                                                                                                                      Where
                                                                                                                                 175

                                                                                                                                        I



                                                                                                                                        2

                                                                                                                                        3

                                                                                                                                        4

                                                                                                                                        5

                                                                                                                                        6

                                                                                                                                        7

                                                                                                                                        8
                                                                                                                                                  Q.

                                                                                                                                                  A.

                                                                                                                                                  Q.

                                                                                                                                                  A.

                                                                                                                                                  Q.

                                                                                                                                                  A.




                                                                                                                                            Your Honor.
                                                                                                                                                         Who

                                                                                                                                                         Mr.




                                                                                                                                                         Yes
                                                                                                                                                         And
                                                                                                                                                                    did he point at sir

                                                                                                                                                                   --




                                                                                                                                                         The defendant

                                                                                                                                                                    sir.



                                                                                                                                                                    then

                                                                                                                                                         Then Mr. Boomer

                                                                                                                                                                   MR.
                                                                                                                                                                        Mr.
                                                                                                                                                                                       TRIAL ON THE MERITS
                                                                                                                                                                             Page 48 of 67 PageID




                                                                                                                                                                              what happened



                                                                                                                                                                             DURHAM
                                                                                                                                                                                           OCTOBER




                                                                                                                                                                                         Mr.
                                                                                                                                                                                                  273026 2005




                                                                                                                                                                                                Runnels




                                                                                                                                                                                               told       him

                                                                                                                                                                                                      Objection.
                                                                                                                                                                                                                   said        Man
                                                                                                                                                                                                                               That       would be hearsay
                                                                                                                                                                                                                                                                     Page 177




 9          A. Yes.             Its       further          back down this way somewhere.                                                9                      THE COURT                        Sustained.


10          Q.    Okay.                                                                                                                10         Q.     BY         MR. SIMS                  After        --
                                                                                                                                                                                                                 skip what           was     said.          Whats

                                                                                                                                                  next thing            that
11        A.      Right         there.          Indicating                                                                             11   the                                   happened

12                              there                           here                                                                   12         A.    About           that      time    people           came in         told      us     to              on




--19
            Q. Right                                Right                         Indicating                                                                                                                                                      get


13        A.      Yes          sir right in the                   boxing            area.                                              13   the   floor put our bands                     behind           our     backs         some laws                  from the

14        Q.      So you              saw the defendant                           going      from here toward this                     14   Neal    Unit.


15   area here           which            is   marked            --                         its got a         No. 30 over              15         Q.    What            did they have           you do with your knives
                                                                          actually

16   there       on     it.                                                                                                            16         A.    They        --
                                                                                                                                                                            they   made us put our knives                            on    the desk.                 We




--25
                                                                                                                                                                                       desk and they took                       --
17        A.      Yes          sir.                                                                                                    17   put our knives                  on the                                                   took        them.           I




--24
18          Q.    Is    that        correct                                                                                            18   guess they did a                 DNA
          A.      Yes          sir.                                                                                                    19         Q.    When you               got your knife                back         did    you look             at     it


                  What happened then sir                                                                                               20   when you got your knife                        first          back     from Mr.            Runnels
20          Q.

21        A.      Thats             the     last     thing        I    seen.                                                           21         A.    When            I
                                                                                                                                                                            got   it   back     see what           --   aint         nothing on              it


22          Q.    Okay.             Did Mr. Runnels ever come back to you sir                                                          22   so thats the reason                    why     I   never        did think           that      Mr. Runnels


23        A.      He      brought
                                               --   when         he       brought         my     knife       back he                   23   had    did anything


     brought           my      knife           back to me.                  Thats           the only         time     he come          24                      MR.           DURHAM                   I   dont think

     back.                                                                                                                             25         A.     --   to   Mr.       Wiley.


                                                                                                                      Page 176                                                                                                                                       Page 178

 1
            Q.    About             how        long       was he gone from the time he got your                                         I                      MR.           DURHAM                        --    thats responsive                       to a question


 2   knife       until he             came back to you                            sir                                                   2   and     I   object.

 3          A.    Seemed              no more than                     about        --
                                                                                          well about            ten                     3                      THE COURT                          Sustained.


 4   minutes            sir.                                                                                                            4                      MR.            DURHAM                       May      I   have an instruction to the

                                    how        many                                                                                     5   jury to disregard                     some of these nonresponsive                                      answers
 5          Q. About

 6        A.      About             ten        15    minutes               sir.     It   wasnt         that     long                    6                      THE            COURT               Disregard                the       last    answer                  please.


 7   wasnt gone                 that        long just             --                                                                    7                      MR.           DURHAM                        Thank          you.

 8                Whats               the next thing                              recall     happening           at   the               8                      MR. SIMS                       Ill pass            the     witness Your Honor.
            Q.                                                         you

 9   boot        shop     after        that                                                                                             9                                     CROSS-EXAMINATION

10        A.      Well          I
                                      got   my        knife           I   started         knocking           out the                   10   BY_M         R.        DURHAM
                                          for vocational                    school then                  seen    Mr. Wiley             II         Q.    Mr. Elkins you gave two                                    statements               and they are
11   racks got ready                                                                                I



                  toward the office holding                                   his neck.                                                12   quite       different             arent they
12   going

13          Q.    And what happened then                                                                                               13         A.     Sir
                                                                                                                 his                   14                Pardon                Did you understand                          the       question
14        A.      When              he get      up in the office                         they   wrapped                                           Q.


15   jacket       around his neck.                         About             this      time Mr. Runnels                 come           15         A.    No         sir.




16   back up that way by                             --   by the           --
                                                                                  by the stair blue stair the                          16         Q.     Okay.              You gave           two         statements




--22
17   iron metal               staircase             we had            out there in the floor                    and hes                17         A.    Yes         sir.


                                                                                                                                       18                All                      Have you reviewed                            those       statements                  prior




--25
18   standing           there.                                                                                                                    Q.               right.


19                        Mr. Boomer                      --                                                                           19   to    coming           to court            today

20          Q.    Who          is     Mr.      Boomer                                                                                  20         A.     My        --
                                                                                                                                                                            my first      statement               that     I   gave         I    --     I   -- I



21        A.      The other supervisor                            that        was out           there.       Mr. Bolin                 21   gave




--320TH
                 think                         Mr. Askins                                               --                  to   --    22         Q.     Its       a yes-or-no             question                sir.
     and     I                 it   was                                     they         walking             walking

23   toward the door                      to get      him to the hospital.                                                             23                          Let      me     explain       responsiveness                        to you.              You

24                        So about              this       time Mr. Wiley point.                              He cant                  24   listen      to the question


     talk but he point                         let   them know                    that he       hurt     him.                          25                          THE COURT                      Mr. Durham

                                                                                                                                                                                                                                                                            178
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--8
                                                                                                                           Page         179                                                                                                                                         Page 181
 1                        MR.       DURHAM                       Pardon          me       Your Honor.                                          1          A.     No            someone          else         wrote        them          for    me.




--10
 2                        THE COURT                         Mr. Elkins                 did     you hear            the                         2          Q.     Someone wrote them                               for you                  Okay.            Well you gave

                                                                         you was                                                                                                                                                               that
 3   question             The question he asked                                                    Did     you     review        your          3   your     first statement                    on January                     29th       is
                                                                                                                                                                                                                                                          right

 4   two     statements before you                          came here today                                                                    4          A.     Yes maam.

 5                        THE WITNESS                             No     sir.                                                                  5          Q.     Okay.              And       in that          statement                 that    statement               you

 6                        THE COURT                         Did                 look      at   them                                            6          talked about                    being
                                                                                                                                                                                                        --   would             it --    would         it   --     would       it   be
                                                                       you                                                                         just


 7                        THE WITNESS                             Not today.                                                                   7   better       if   I   read       to    you

                          THE COURT                         Did        you read them                                                           8          A.     Yes maam.

 9                        THE WITNESS                             No     sir.                                                                  9          Q.     Okay.              It   says        On         January                 29th

                          THE COURT                         Okay.         Would             you       like    an                              10                              MS.      HAMILTON                           Im         going      to    approach               the


11                                 do    that                                                                                                 11   witness           Judge.
     opportunity              to


12                        THE WITNESS                             Yes     sir.                                                                12          Q.     BY            MS.       HAMILTON                              Let      me make             sure that         were           on

13                        THE COURT                         Okay.         You          read those over                                        13   the    same page okay

14   Mr.     Elkins           and    then well              continue.                                                                         14          A.     Okay.

15                        Witness              reading                                                                                        15          Q.     Now            have       you read that                            Can you read any of that

16                        Pause                                                                                                               16   sir

17                        THE WITNESS                             This    was          my first statement                      sir.           17          A.     No.

18                        THE COURT                         Okay.         Read them                  --    there    should        be          18          Q.     Okay.              Starting            with     that          handwriting                 down      there


19   two     there.                                                                                                                           19   thats        not your handwriting                             is       it


20                        THE WITNESS                            Yeah.                                                                        20          A.     No maam.
21                        THE COURT                         Read them                 both.                                                   21          Q.     Okay.              You       --    and        in that             statement          you just talked

22                        THE WITNESS                             I   cant read             that     good.         Can     I                  22   about        that       you      heard          --
                                                                                                                                                                                                        you say                I    heard       Mr. Wiley             telling           an

                                                                                                                                                                     I    told                if   youre         not going                to    clean        up              on
23   get    someone           to    help       me         please                                                                              23   inmate                           you                                                                             get


24                        MR. SIMS                    May we            approach              the    bench                                    24   the    wall.

25                        THE COURT                         Yeah        sure.                                                                 25          A.     Yes maam.

                                                                                                                           Page 180                                                                                                                                                 Page 182

                                             bench on                                                                                          1                                    What       --       that              means            to just         kind of stand
 1                        At       the                           the   record                                                                             Q.     Okay.                                          just


 2                        MR. SIMS                    They have               all    seen      their statements.                               2   aside


 3   They have even                  seen them              today.                                                                             3          A.     No maam.                      They got a                     --
                                                                                                                                                                                                                                   up   there    toward            the


 4                        THE COURT                         Okay.
                                                                                                                                               4   office thats what                       they         call    the       wall.          If    youre not going

 5                        MR. SIMS                    And        then he doesnt                    read well         --                        5   to    work         you        get     on    --    stand on             the       wall       and they           call       for



 6                                            to   have     to    read          to     him.                                                    6   security          to       come get you.
     somebody            is
                               going                                      it



 7                        Open           court                                                                                                 7          Q.     Okay.              And you              heard           that but then did                      you see

 8                        THE COURT                         Okay.         Just         go through            it    the    best                 8   Mr.    --    did        you see Mr. Wiley                          after         that


 9   you can Mr. Elkins                            and     when Mr. Durham                          gets    back         well                  9          A.     No            he went        on        down         to       the    other      work area you

10   start   asking           some questions about                        it.                                                                 10   know         --
                                                                                                                                                                     you know                 because             you know                     everybody            have           certain



11                        THE WITNESS                            Well on              my      first      statement         that               11   jobs    to    do.


12   I             --                                                                                                                         12          Q.     Okay.              But    in that             statement                you dont say
         gave

13                        THE COURT                         Okay.         Wait          until       Mr.     Durham             gets           13   anything
                                                                                                                                                                         --    later in that             statement                 you say           I     -- I    had my

14   back       here.     Well           I
                                             guess        you dont know                     who he          is.     Hes        the            14   knife       when Mr. Wiley                        was cut but theres nothing                                      in this



15           that       walked       out       the    door.                                                                                   15   statement              about          what you              testified to             about        what         you saw.              You
     guy

16                        Mr.       Durham                returns      to the         courtroom                                               16   didnt        put       that      in this         statement                 did       you
17                        THE COURT                         Okay         Mr.         Durham               Mr. Elkins            said          17          A.     I   didnt          see anything.


18   he    cant read and write very well                                  so     if    youll         kind of go           --                  18          Q.     Okay.              You       just       heard           --
                                                                                                                                                                                                                              you       just    heard

                                                                                                                                                                                                        know              had gave             Mr. Runnels                my
     as you have questions go up and show him what
                                                                                                                                                                                              -- I
19                                                                                                          youre         talking             19          A.     I   just       heard                                I



                                                                                                                                              20   knife        and        I   never       thought             that       he did anything because                             there
20   about       and     read       it   to    him.

                                                                                                                                                                                                                                                                             he
21                        MR.       DURHAM                       Ill    let     Ms. Hamilton.                     She     can                 21   wasnt         no        blood         or nothing on                    my        knife       so    I    felt   like


                                                                                                                                              22   hadnt hurt nobody because                                             couldnt                  that       he hurt
                                                                                                   probably cant.                                                                                                                          say
                                                                                                                                                                                                                 I
22   read     it   and    I   probably               --   she can       see     it    and      I




23                        THE COURT                         Okay.         All         right.                                                  23   anybody.

24          Q.     BY         MS.        HAMILTON                      Mr. Elkins                  could      you read any of                 24          Q.     Okay.              And       then        you gave another                       statement               I




25   your statements                     Did you            write them               or   --                                                  25   believe           the       next      day

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 1          A.     Yes maam.                                                                                                                         1                    What         unit        are    you        in   now




--11
 2          Q.     Okay.        And            then   you gave             another          statement                  is   that                     2         A.   Ellis Ellis            One           Huntsville            Texas.


 3    right                                                                                                                                          3         Q.   And     where were you before that

 4          A.     The second              statement.                                                                                                4         A.   Before          Ellis       One
 5          Q.     Did    you give              three      statements            --                                                                  5         Q.   Yes        sir.


                                                                                                                                                                    Bill   Clements                    Unit Amarillo Texas.
 6          A.     No maam.                                                                                                                          6         A.

 7           Q.    --
                        or two        statements                                                                                                     7         Q.   Okay.           When           did    you go from Clements                          to    Ellis

 8          A.     Two        statements.                                                                                                            8         A.   In 2003.


 9          Q.     Okay.        How            long had         you known                  Mr.      Runnels                                          9         Q.   When        in     2003 sir

10          A.     I   hadnt known                   Mr. Runnels             that                       I              know                         10         A.   In February.                   I   think     it   was      February the 7th
                                                                                           long.            just


      him from working                     around          him       seeing       him out               there.          He always                   11   February the 7th.

                                                                                                                                                    12              February 7th                       Why      were you transferred
                                                                                                                                       --
12    had    a smile on             his    face       always          --
                                                                           we suspected                     that    he had                                     Q.

13    a                cool    fellow.                                                                                                              13         A.   Because           I   had a         hit    on     my     life.
          pretty


14          Q.     You    had        only seen             him a few times                                                                          14         Q.   Okay.           What        does          that    mean        to   you sir

15          A.     Yes maam.                                                                                                                        15         A.   Maam
16          Q.     Okay.        And            you    said      he always             had        a smile on                 his                     16         Q.   What does              that        mean
17            seemed                                                                                                                                17         A.   That they threatened                        to    kill     me.
      face                     good-natured

18          A.     He always had a                    --   seemed          like       he    was a           great       guy.                        18         Q.   Who
                                And you               had       known       Mr. Wiley                   how long                                    19         A.   I   dont have               the faintest idea.                     There was a note
19          Q.     Okay.
                                                                                                                                                                                                          --                                                       under
20          A.     Well on and off probably about                                      five        years
                                                                                                                                                    20   under      my    --    a    letter     was             well a piece                 of    paper was

21    somewhere           around           there.          I   knowed        him when he was                                in   gray.
                                                                                                                                                    21   my    door.       We        was on lockdown.                        And        it   told     me      Nigger you

22                       THE REPORTER                                Im     sorry knowed                       him when he                          22   dead.

23    was    in    what                                                                                                                             23         Q.   Okay.           Was       it       Mr. Runnels                 He wasnt             there      was    he
24          A.     When        he    was        in    gray
                                                                --
                                                                     gray uniform.
                                                                                                                                                    24         A.   No     maam.
25          Q.     BY     MS.         HAMILTON                        Isnt       it   true that             there       are       --                25         Q.   You hadnt               seen         him since           --    since that          day

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                                                                                                                                  Page

 1    sometimes               there are disagreements                                between supervisors                                    and      I         A.   No     maam. Wasnt                          no inmates              out        maam.

 2    inmates                                                                                                                                        2         Q.   Sorry

 3          A.     Sometime there                       is.                                                                                          3         A.   Wasnt no               --   no inmates                out that day.               We     was   all   on

 4          Q.     And         in fact           there are times                     when          --       when            an    inmate             4   lockdown.

                                               work                                                                                                  5              So          the inmates                   were in lockdown                      but a note
      might not want                      to                                                                                                                   Q.        all                                                                                        got
 5

 6          A.     Yes        maam theres                        quite       a bit of              that.                                             6   slipped        under your door threatening                                your life

 7          Q.     Sorry                                                                                                                             7         A.   Yes maam. An                          officer put             it   under        there.



 8          A.     Yes maam.                                                                                                                         8         Q.   Okay.           Did you             see the officer put                   it   under there

 9          Q.     Theres            quite a bit of that                        is    that       what you said                                       9         A.   No     maam.
                                                                                                                                                                                    But there was no inmates                                       walking around
10          A.     Yes maam.                                                                                                                        10         Q.   Okay.                                                                out


11          Q.     Okay.            And sometimes                         people           just     dont            get along                out    11   the   halls

12    there        like the supervisors                         and the inmates                                                                     12         A.   Wasnt            no inmates                out.       We   was       all       locked     down.

13          A.     Well         I -- I         wouldnt               say    dont            get     along because                                   13         Q.   So when you                    were fed your food during                            the      day an
                                                                                                                                                                                          it
                                                      you dont want                                work                                 them        14   officer delivered
14    I
          mean you know                         if                                          to                     a    lot       of


15    come         out there that                dont want                 to    work              so they cause                       a            15         A.   Yes maam. We                          ate    j   ohnnies.


16    problem for themselves you                                      know            and          --                                               16         Q.   Im sorry
17          Q.     And        thats            happened              to    you       in the        past                                             17         A.   We     ate johnnies.

                                                                                                                                                                    Thats                                      name
18          A.     Yes        maam               Ive           had   --
                                                                           you        know              I   went through                     --     18         Q.                   the officers


19          Q.     Youve             had days you                    didnt want to work                                     --                      19         A.   No maam                   thats           what they fed us.

20-         A.     Yes    --                                                                                                                        20         Q.   What        did       they feed            you
21                 --   in the                                                                                                                      21         A.   Johnnies.
            Q.                        past

22          A.     Yes maam.                                                                                                                        22         Q.   Okay.

                                                                                                                                                               A.   Sack       lunches.
23           Q.    Okay.            And you              get written                 up for it                                                      23

                                                                                                                                                    24              Sack       lunches okay.
                                                  got written                               got a warning.                                                     Q.
                                                                                       I
24          A.     Well         I   never                                   up.

                                                                                                                                                    25                    And what                 did    the note           say
25           Q.    Oh     okay             got a        warning             okay.

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     1            A. Nigger you dead.                                                                                                                       I                        THE COURT Dont                                          talk     to    each      other.


 2                Q.    Nigger youre                             dead                                                                                   2                            MR. DURHAM   think were                       I                             entitled       to   that.


 3                A.    Thats           right.                                                                                                          3                            THE COURT Youre entitled                                                    to   what

 4                Q.    Okay.               What         did      you do with                     that      note sir                                    4                            MR.              DURHAM                       Their         investigation               into    the


 5                A.    My cellie                 woke me up and                         said          You            need to look               at     5       threat       on    his        life.




 6       this.          So    I    got       up         and he read                it.                                                                  6                            THE COURT                                Okay.           All      right.         Have somebody

 7                Q.    Okay.               Did     --       did the note                --   do you know                    --   was                   7       find out where                     it   is   and well                 continue         with       this    exploration

 8                     cell   mate black                     also                                                                                       8       then.
         your

 9             A.       No        he        was     Spanish.                                                                                            9                            MR. SIMS                        Ill       send      Jack         to    go    get    somebody

10             Q.       Okay.               So you           felt   like the note                     was obviously                                    10       started.


11       directed           towards you based on the words in the note                                                                                 11                            THE COURT                                Okay.

12             A.       Yes        maam                 it    was based              towards me.                                                       12                            Open               court

13             Q.       Okay.               And the              note    --
                                                                              you said that after you got                                              13               Q.    BY         MS.            HAMILTON                         Who          did    you        talk    to at      AID
                                                   like a         guard had put                            there                                       14               A.        seen                                                   forgot the name.
                                                                                                                                                                                              --     I forget.
14       the      note you                  felt                                                      it                                                                      I                                          I    really                                            It




15             A.       Witness               nods head up and                           down                                                          15       was a black               officer            and     a white            officer.


16             Q.       Now            was         that before            or       after          you gave your second                                 16               Q.    So    two         officers            came          to    speak         with       you

17       statement                                                                                                                                     17               A.    Well they send                        --
                                                                                                                                                                                                                         they          was       --
                                                                                                                                                                                                                                                      they    was       in     --
                                                                                                                                                                                                                                                                                    they




--24
18             A.       That       was         after         I   gave     my        second                 statement.                                  18       wasnt         in   uniform they was                               in suits.



                                                             you gave your second statement
19             Q.       That       was         after                                                                                                   19               Q.    Plain clothes




 --5
20             A.       Yes.                                                                                                                           20               A.    I   think         it    was Wilson.

21             Q.       Okay.               And where               is    the      note                                                                21               Q.    Might           be        Wilson

22             A.       I   flushed           it    down           the    toilet.             I   didnt pay             --                             22           A.        Something                    like    that yeah.                I
                                                                                                                                                                                                                                                 forget       the     name.

23       really pay               it   no attention.                                                                                                   23               Q.    Okay.             And

               Q.       Okay.               But then             you     --   but then                you        said that        you                  24           A.        They on                the     Bill    Clements                Unit.


25       were transferred                         because           of    it                                                                           25               Q.   And         they           worked on                 the   Clements             Unit


                                                                                                                                  Page           188                                                                                                                                         Page 190

 1             A.       Thats           why         I    was transferred.                         I   told       --   and they                          1           A.       Yes maam.
 2       already            knew.                                                                                                                       2           Q.       Okay. And -- okay.                                         Now           if   this deal in the                  boot

 3             Q.       How            --   they already                 knew                                                                           3       factory           with Mr. Wiley                              if      that occurred                   on January 29th               you

 4             A.       Yes maam.                                                                                                                       4       said this          was           a      few days              later      that this note                   got

                        Who        did                                                                                                                  5           A.       Well you know what                                          --      when        they locked
                                                                                                                                                                                                                                                                                        --
               Q.                             you tell                                                                                                                                                                                                                                       they

                                                                                                                                                                                                                                                  --
 6             A.       I   told       AID.                                                                                                             6       came         and got               me        the     second day                        about the second day after

 7             Q.       AID                                                                                                                             7       the death           and took                   me        to question                  me.

 8             A.       Internal affairs                         yes maam.                                                                              8           Q.       When              you gave the second statement

 9             Q.       Okay.               When         did       you     tell      them                                                               9           A.       Yes maam.

10             A.       That       same            --   that       day they came and got me.                                      They                 10           Q.       That was                   on January 30th

11       came and picked                           me        up that Tuesday morning.                                                                  11           A.       Yes maam.
                                                                                                                                                                                                                               me




--20
12             Q.       Did       they take              a statement                 from you about that                                               12           Q.        Do you                 agree         with

13             A.       Yes maam.                                                                                                                      13           A.       Yes maam.

14             Q.       And where                  is    that       statement                                                                          14           Q.        Okay.                Then        after          you gave the second statement how

15             A.       I   dont have                   the vaguest                idea.          All       I   know      they                         15       soon after that was that note                                           left      for      you
16       told      me       not to contact                                         not to talk to                                  and                 16           A.        I   think            it   was        like the             --   we       still      on lockdown.                  I
                                                                 anyone                                            anyone

17       dont          even       contact               nothing.          I   told         them             I   said    Well            I              17       think        it   was         like the following                             day       or the next                  day or

18       need to talk to                     my     mother.                   Said         You             cant even talk to                           18       somewhere                 around               there.             I    really
                                                                                                                                                                                                                                                      -- I
                                                                                                                                                                                                                                                             really          done forgot.

19       your mother                         Said            Were          going           to put           you on a train                  --   on    19       But      I --     you          know            just          --
                                                                                                                                                                                                                                  you know

                                                                                                                                                       20                     Last                      of    January beginning                              of       February
         a   --   on a bus.                                                                                                                                             Q.                day

21                            MR.            DURHAM                       May we                  approach                                             21           A.       No          it    was           still   in January.


22                            THE COURT                                 Sure.                                                                          22               Q.    How             soon after                 --
                                                                                                                                                                                                                              you told                me     that       you         were

23                            At            the    bench           on the record                                                                       23       transferred               out           on February 7th

24                            MR.            DURHAM                       I   think           were              entitled to       that.                24           A.        Yes maam.

25                            MR. SIMS                           News         to    me.                                                                25               Q.    How             soon after you told them                                       about        the note           were you


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     3


     4




     6

     7
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     1    transferred




         the
                A.

          transferred


                Q.

                A.
                         About



                         So




                4th or February


                Q. Okay.
                                out



                                me.

                               it
                                        Multi-Page




                                         three
                                                   M

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             TREVINO RUNNELS



                                                     days




                                    was probably around

                         Somewhere around



                                         And
                                                     the


                                                     as soon
                                                                   after




                                                                        there
                                                                              --




                                                                  7th somewhere

                                                                        as
                                                                                    three




                                                                               you found
                                                                                    AID
                                                                                         February

                                                                                    yeah somewhere.
                                                                                                   days




                                                                                                     around

                                                                                                          that
                                                                                                               before they




                                                                                                               4th




                                                                                                                  note
                                                                                                                      there.
                                                                                                                             February




                                                                                                                             how soon
                                                                                                                                           Page    191

                                                                                                                                                              1



                                                                                                                                                              2

                                                                                                                                                              3

                                                                                                                                                              4

                                                                                                                                                              5

                                                                                                                                                              6

                                                                                                                                                              7
                                                                                                                                                                  here




                                                                                                                                                                  you
                                                                                                                                                                         A.

                                                                                                                                                                         Q.

                                                                                                                                                                         A.




                                                                                                                                                                         Q.

                                                                                                                                                                          feel


                                                                                                                                                                         A.
                                                                                                                                                                               When
                                                                                                                                                                                   When
                                                                                                                                                                                   --   about
                                                                                                                                                                                                   I




                                                                                                                                                                                                   I




                                                                                                                                                                              Sunday before last I went

                                                                                                                                                                               Who
                                                                                                                                                                                    like


                                                                                                                                                                               Well when they came

                                                                                                                                                                                          MR.
                                                                                                                                                                                                       was

                                                                                                                                                                                                        this




                                                                                                                                                                                                  threatened

                                                                                                                                                                                                  it
                                                                                                                                                                                                                 TRIAL ON THE MERITS
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                                                                                                                                                                                                       was coming through




                                                                                                                                                                                                       was a threat



                                                                                                                                                                                                        DURHAM Im
                                                                                                                                                                                                                    you
                                                                                                                                                                                                                            273426 2005
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                                                                                                                                                                                                                                 to
                                                                                                                                                                                                                                       to


                                                                                                                                                                                                                                siror what




                                                                                                                                                                                                                                       me
                                                                                                                                                                                                                                              Huntsville

                                                                                                                                                                                                                                             breakfast




                                                                                                                                                                                                                                              and
                                                                                                                                                                                                                                                        happened




                                                                                                                                                                                                                                                        said
                                                                                                                                                                                                                                                                     to       come over



                                                                                                                                                                                                                                                                               that       made
                                                                                                                                                                                                                                                                                                   Page 193




         after      you       found           that       note did            the                   officer       come see you                                 8                                                                         going          to   object        to    the hearsay

     9          A.    Law came                   and         got    me        that       same day.                                                            9   nature of             this       statement.

10              Q.    That          day okay.                                                                                                            10                               THE COURT                        Well         if   everybody              will       let    the

11              A.    And           I   told     them             about       it   and        --                                                         11       witness answer                        the   question.          Were         talking         over each               other.


12              Q.    Did       you show them                           the    note                                                                      12                              Ask your question again                              please          sir.



13              A.    No       I        had threw             it
                                                                   away.                                                                                 13              Q.    BY             MR. SIMS You                        said       you were          threatened                  again.

14              Q.    Okay.              Did        you       recognize                 the   handwriting               on     the                       14       Where at

15       note                                                                                                                                            15              A.    At        the       wall      in   Huntsville           on    transit.


16              A.    No maam                        I   didnt          recognize              the        handwriting                                    16              Q.    How                did   that      come about            sir

17       because         I    didnt           know           who        it   was and you know                            I   couldnt                     17              A.    I    was coming back                        from breakfast                    this    inmate           ran          up
18       ever    figure        out           why would anybody want                                       to   hurt    me      and     I   hadnt         18       behind       me            rammed            my    head        into    the wall and                busted           my           eye on

19       did anything.                                                                                                                                   19       the    side.




--6
20              Q.    What kind of paper was                                       it   written           on                                             20              Q.    What happened                        then

21              A.    Looked                 like   typing paper.                                                                                        21              A.    I    dont know                  nothing about                 no   disciples but he                        just


22              Q.    Like      just plain                   --                                                                                          22       said he          was a           disciple        and     he    was a        friend.


23              A.    Yes maam.                                                                                                                          23                              MR.            DURHAM Im                       going       to      object       to    the hearsay

24              Q.    --
                             paper             Okay.               And was               it   handwritten or                 was      it                 24       nature of             the       response.

25       typed                                                                                                                                           25                              THE COURT                         Overruled.              I    dont believe its


                                                                                                                                       Page        192                                                                                                                                         Page 194
                                                                                                                      wasnt typed




--9
     1          A.    Well              it   was a fancy                      handwriting.                       It                                       1
                                                                                                                                                                  being       offered                  for the      truth.        Its offered                 for the fact                  that

 2       it    was    real nice handwriting.                                                                                                              2       the    man            thought           he was threatened.

 3              Q.    Okay.                  Did you believe                            --                                                                3                              Okay.               Go     ahead.

                      Maam




--11
 4              A.                                                                                                                                        4              A.    So        I    asked the officer that was standing                                              there               I


 5              Q.    Did you believe the note                                                                                                            5       said        Did            you see that                       And he just                 turned            his back.                  So

               A.     Did       I       believe              in    it                                                                                     6       Go      on in your cell.                           So      I   went on in                 my cell.                 So     Im
 7             Q.    Did you believe in what                                             it   said                                                        7       bleeding so                     I    asked       him I         said Will you take                              me         to the

 8             A.    Yes            maam                 I    truly believed                        it.                                                   8       hospital

               Q.    You            felt      that       your           life       was        being            threatened                                 9                              MR.            DURHAM                    At some               point        in       time he quit

10             A.    Yes maam.                                                                                                                           10       answering the question

                              MS.            HAMILTON                               Your Honor we would                                     ask   to     11                              THE            COURT Sustained.
12       reserve further examination                                           of       this       witness.                                              12                              MR.            DURHAM    and hes giving a--                                                 narrative.


13                            THE COURT                                  Okay.                You         pass        the    witness                     13                              THE            COURT Ask another question.
14                            MS. HAMILTON Yes.                                                                                                          14              Q.    BY             MR. SIMS An                          inmate did                 it    --   did         it   to       you
15                            THE COURT Okay.                                                                                                            15       but there             was            a correctional             officer          there that turned                           their


16                                           REDIRECT                         EXAMINATION                                                                16       back.        Am             I   understanding                  you correctly

17       BYM R.                SIMS                                                                                                                      17              A.    Yes            sir.



                                                                                                                                                                                                                     that incident
18             Q.    Now                this note             you got you dont know                                          where         it   came     18              Q.    Did you report                                                     to        anyone else

19       from                                                                                                                                            19              A.    I    told that             --      called     for a captain                   or     some         --       where

20             A.    No.                                                                                                                                 20       I   can talk to somebody but he never                                                 did        do    it.     So when                  I   did


21                   Could               have even been your bunkie that put                                                     it    there             21       get out to             go        to the hospital                 I    had to wait until they called
               Q.

22             A.    I   doubt it but                         --   it   could            have             but    I    dont      think                    22       chow        for       me         to    go       they     let   transit          go out to              eat.        So        I       went

23       so.                                                                                                                                             23       to the infirmary                        and they          -- I       was scared                  so     I    never           --      never


24             Q.    Sure.              Have         you           received               any        other threats since                                 24       did    --    so they                 asked       me      said         Well            youre            going            to get a


25       then    --                                                                                                                                      25       case    if   you dont                   tell      me     what         happened to you.                                  So       I   told


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     1    them            I   said          Well             I   just        bumped my head.                                So          I   was afraid                   1           Q.    Okay.             Do you              feel       that   when            the    guard        turned          his

                          --
     2    to say                                                                                                                                                         2   back         on   you     at    the wall                 unit       sic         did    that     cause         you some
     3           Q.       You         told     somebody                       else        you just bumped                           your head                            3   fear

     4    when asked                    about           it                                                                                                               4           A.    Well        let    me            put      it   like   this        here     I
                                                                                                                                                                                                                                                                          imagine           you
     5           A.       Told the nurse.                                                                                                                                5   would probably                       feel the            same way               if   someone slammed your head

     6           Q.       Any          other thing                    happen that made you                               feel           like      you                    6   up     against       the       wall        and busted                 your head               open.           Yes     I   feel


     7    were threatened                                                                                                                                                7   like that         was fear but                      I   cant understand                      why.         I   aint hurt

     8           A.       No         sir.      Ive           --
                                                                  see its like this                           Ive been                                                   8   no one.

     9    there a long                  time but just                        listen        to    me       thats          all        I
                                                                                                                                        ask                              9           Q.    Okay.            Im         not       talking         about         the       inmate        that      you
10       just listen please.                            Ive been there a long time. And                                                                             10       said did          that    to    you.            You           said    that       after       the inmate             did

          whatever                                               my      crime            -- I                                          and       Im




--20
11                              I     did      I   did                                            did     time         on      it                                   11       that then          the    guard            turned             his   back         on                  Is that        what        he
                                                                                                                                                                                                                                                                     you.

12        sorry about                  that.        But           I    didnt have no part to none of                                              this.             12       did sir

13                                    had a        lot       of respect for                      Mr. Wiley.                 He                                      13              A.     He    turned away.                                                 wasnt
                                                                                                                                                                                                                                           guess he                                    wasnt
                                 I                                                                                                                                                                                                                                           --
                                                                                                                                                                                                                                      I                                           he

14       treated              me     like a friend                     and he was                 my supervisor.                            I     didnt             14       concerned            or     either             he   would           let    him die           in there         or what.

15       have no dealing with him getting                                                   killed.            Thats           all          Im         --           15              Q.     Did    that       cause               you       further       fear

16                              MR.           DURHAM                              Nonresponsive                     --                                              16              A.     For    someone                   to just         --   I --    I   said     -- I
                                                                                                                                                                                                                                                                              said because

17              A.    Just           listen        to    me.                                                                                                        17       he     --   for   someone             to just            walk       up      that      you dont know                        and

18                              MR.           DURHAM                              --    objection.                                                                  18       just    walk       up     and        slam           your head              in there          against          the   wall        or

19                              THE COURT                                    Ask        another         question please                                sir.         19       against the          door you know                              its       pretty       fear     because

                Q.    BY              MR. SIMS                          In regards to                   what        youve                   testified               20              Q.     Do you            recognize                    any of these people                     in the      back       of

21       to here              today have you said that because                                                 of   any         kind              of                21       the    courtroom

22       threats                                                                                                                                                    22              A.    They was some of my supervisors                                                  yes.

23              A.    No             sir.                                                                                                                           23              Q.     Some of the guards                               or supervisors

24                              MR.           DURHAM                              Bolstering              objection.                                                24              A.     Supervisors.

25                              THE COURT                                    Sustained.                                                                             25              Q.    Okay.


                                                                                                                                            Page            196                                                                                                                                              Page 198
 1                              MR.           DURHAM                         Instruction                                                                                 I                       MS.          HAMILTON                                  Ill pass           the witness.

 2                              THE COURT                              Jury        is   instructed           to    disregard.                                        2                               REDIRECT                                    EXAMINATION
 3              Q.    BY MR.                  SIMS                What do you                    feel   is   the    most                                             3       BY_M          R.     SIMS
 4       important thing                    you could                  do here          today                                                                        4              Q.    Do     you feel threatened                                   by them             being           here    today
 5           A.       The most important                                --
                                                                                                                                                                     5              A.    No      sir.



 6                              MR.           DURHAM                         Your Honor thats an open-ended                                                          6              Q.    Do     you feel threatened                                   at    all    being          in here         today

 7       question.             By       its
                                              very nature                    it   invokes         --                                                                 7       and testifying in front of this jury

 8                              THE COURT                              Okay.            Its     global.           Sustained.                                         8              A.    No      sir.



 9           Q.       BY             MR.      SIMS                In regards              to    what      you have             told                                  9              Q.    Were you                 ever              afraid that              you might be in trouble

10       these    jurors             here today              what            have       you      tried to         do   sir                                          10       because           possibly                it   was your               knife           that      was        used
11                              MR.         DURHAM                           Thats        bolstering.                                                               11                           MR.          DURHAM                               Thats            a leading              question Your

12                              THE COURT                              Sustained.                                                                                   12       Honor.

13                              MR. SIMS                         Ill    pass        the    witness           Your Honor.                                            13                           THE          COURT Overruled.
14                                          RECROSS-EXAMINATION                                                                                                     14                           MR.          DURHAM Objection.                                               Its      not       been

15       BYM
           MS.                 HAMILTON                                                                                                                             15       established              that        it    was           his knife              used         so the question

16           Q. Mr. Elkins                         do    you           feel       that the       threat      from        the                                        16       assumes facts not in evidence.

17       guards       was valid was real                                                                                                                            17                           THE          COURT That sustained.                      is


18           A.       Yes maam.                                                                                                                                     18                           MR.          DURHAM Thank you.
19                              MR. SIMS                     I    would object Your Honor.                                     He just                              19              Q.    BY          MR.          SIMS                    Because of the events                              of   January 29th

20       speculated             it    was from a guard he didnt                                     say      for    sure        that         it                     20       of    2003        did      you ever                     feel    concerned that you might be in

21       was.                                                                                                                                                       21       trouble

22                              THE COURT                              Sustained.                                                                                   22              A.    Yes         sir.




23           Q.       BY         MS.          HAMILTON                             Mr. Elkins             do      you     feel that               the               23              Q.    Why
24       threat   that         you      received             was real                                                                                               24              A.    Because             I    feel          like       Mr. Wiley was hurt with                                     my        tool.


25           A.       I   truly        believe          it   was real madame.                                                                                       25              Q.    How         do you                feel          about that               sir


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THE STATE OF TEXAS                     Multi-Page                                                                                                                            TRIAL ON THE MERITS
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     1                     MR.        DURHAM                   Objection              global   question           Your         1           Q.    Im      sorry           I       didnt         catch          the       last part.


     2   Honor.                                                                                                                2          A.     March of 2004.

     3                     THE COURT                        Sustained.                                                         3          Q.     Okay.             Just the general category                                   of       who you              felt



     4                     MR. SIMS                   Pass    the    witness Your              Honor.                          4   threatened           by who was that
     5                     THE COURT                        Ms. Hamilton                                                       5                        MR.         DURHAM                               Pardon           me        Your Honor.                         Im    going

     6                     MS. HAMILTON Pass Judge.                                                                            6   to    object     to that         as       calling             for       a hearsay               response            and

     7                     THE COURT Okay you can step down                                                sir.                7   speculation.


     8                     Do any         of   you      folks       want     a   break                                         8                        THE COURT                                Rephrase                the       question             please.


     9                     No      response                                                                                9              Q.     BY         MR. SIMS                         Well             Ill just         --   did        you know                 the

10                         Okay.          Call     your next witness.                                                     10       individual           that       threatened                 you
11                         MR. SIMS                Tony        Irvine        Your       Honor.                            11              A.     No     I    didnt           know             them            other          than       what they             told


12                         THE COURT                     Mr. Irvine              if   you would        come       right   12       me.

13       around here please                    sir     and take a seat on the witness                                     13              Q.     What was            that              individuals                   status         at   --       Im
14       stand.                                                                                                           14       assuming         --
                                                                                                                                                            you      said             it   happened             at      the unit so                   Im      assuming

15                         Mr. Irvine            once youre            comfortable              if   you                  15       it
                                                                                                                                         happened           inside        the          unit

16       would       just   sort      of straighten            that    mike       out pull       it   to   you a          16              A.     Yes        sir.     He          --
                                                                                                                                                                                       to    my knowledge                           he   was a gang

17       little bit      so that      you can speak                 into   it.                                            17       member         of    the        gang          called          the       Crypts.

18                         Okay        thanks.                                                                            18                            MR.         DURHAM                             Speculation                   Your Honor                         and also

19                                    TONY IRVINE                                                                         19       hearsay.

20       having      been       first     duly     sworn        testified         as   follows                            20                            THE COURT                                Overruled.

21                                 DIRECT EXAMINATION                                                                     21                            MR.         DURHAM                           May            I   be heard              on      that

22       BY-MR. SIM                 S                                                                                     22                            THE COURT                                Sure.          The reason                    I   overruled              it


23             Q.   Would you              state      your name please                    sir                             23       and     Ill   tell
                                                                                                                                                        you         is       because             the       first        words           out of the

24             A.   Tony        Irvine.                                                                                   24       witnesss         mouth were                        to     my knowledge                           he    is      a   member.

25             Q.   Where        are     you currently residing                                                           25                            MR.         DURHAM                           That           who       is    a    --    that     the person


                                                                                                           Page    200                                                                                                                                                    Page 202
 1             A.   Bill    Clements Unit.                                                                                 1       who threatened him                            is    a    member

 2             Q.   And     that      is --                                                                                2                            THE COURT Yes                                         sir.       Would           you          like    to    take




--11
 3             A.   Amarillo.                                                                                              3       the witness on voir dire

 4             Q.
                    --
                         your residence                is    that   correct                                                4                            MR.        DURHAM                            Yes         I      would.

 5             A.   Yes     sir.                                                                                           5                            THE COURT Go right                                              ahead.

                                                                                                       Youre                                                       VOIR                DIRE EXAMINATION




--13
 6             Q.   Youre          not    on transport              anywhere           transfer                            6

 7       not   on transfer from another                        unit                                                        7       BY      MR.      DURHAM
 8             A.   Yes     I   came from another                    unit.                                                 8              Q.    Do you know                           this   person            to       be a    member                of     the


 9             Q.   Okay.        What       unit did          you come from                                                9       Crypts

10             A.   Hunstville            Unit.                                                                           10              A.    This     is    something                     that      I   learned while


               Q.   And youre              currently in the prison                     system for a                       11              Q.    Sir do         you know                      this    person              to   be a       member               of the

12       credit card        abuse         conviction           a theft       from person             conviction           12       Crypts         Its a yes-or-no


         an    aggravated          robbery a robbery and another                               aggravated                 13              A.    Not beforehand                             no.

14       robbery         and obstruction                is   that    correct                                              14                            MR.        DURHAM                            Thats              my point You                        Honor.            I   ask

15             A.   No     sir the        first    three charges             you read out were                            15       the    testimony be              stricken                 and jury               instructed.


16       old   charges.         Im        currently in for            two        counts    of aggravated                  16                            THE COURT                                Overruled.                   Go     ahead.


17       robbery one robbery and obstruction.                                                                             17                                DIRECT                         EXAMINATION                              -    Contd

18             Q.   Okay.        Has anyone threatened                       you about          your                      18       BY-MR. SIM S
19       testimony         today                                                                                          19              Q.    When         did     you              arrive        to     the      Bill      Clements                Unit     this


20             A.   Yes     sir.                                                                                          20       time

21             Q.   When        did    that    happen           sir                                                       21              A.    This time           here

22             A.   It   happened          in Huntsville              at the      Wynne        Unit.                      22              Q.    Yes      sir.




23             Q.   When        did    that                   sir                                                         23              A.    Ive been            on       the           Clements            Unit approximately                              30 days
                                               occur

24             A.   Around         March         of    2003     --    2004        I   meant to say excuse                 24       now      I   would         say.           I
                                                                                                                                                                                 got        there        on    the       28th        I   believe.



25       me.                                                                                                              25              Q.    You      were        previously housed                                  on    that       farm          is    that




320TH DISTRICT COURT                                                                                                                                                                                                                Page              199           -
                                                                                                                                                                                                                                                                        Page        202
POTTER COUNTY TEXAS
THE STATE OF TEXAS                     Multi-Page                                                                                                                           TRIAL ON THE MERITS
  Case
vs.    2:12-cv-00074-D-BR
    TRAVIS  TREVINO       Document
                      RUNNELS      84-2 Filed 01/17/13                                                                                                            Page 55 of 67 PageID 273726 2005
                                                                                                                                                                                 OCTOBER
                                                                                                            Page        203                                                                                                                          Page 205
     1   correct                                                                                                               1            A.   I    would              say maybe three or four                            days at the most.

 2             A.   Yes         sir.                                                                                           2            Q.   And why                  is    that    sir

 3             Q.   When           was that          sir                                                                       3            A.   To my knowledge                             Mr. Wiley was on second shift and                                       I




 4             A.   I    would          say    I   got there     around         September             --                       4   worked             first     shift          and he had just been transferred                                    to the

 5       September           or        October       of 2002.                                                                  5   first shift            boot           factory       when           I   met him.           I    had heard          of   him

 6             Q.   When          were you shipped                 off that       farm                                         6   before            then       but       I    -- I   had just met him when he came to                                       first


 7             A.   I    would          say    January      the 30th        of    2003         the    day after                7   shift.


 8       the incident            happened.                                                                                     8            Q.   So he          --
                                                                                                                                                                         to   your knowledge                         he   had just been down

 9             Q.   What was your work assignment                                                                              9   there for three or four                            days on the                   first   shift


10             A.   I   worked           in the boot        factory.        I    ran a toe lasting                            10            A.   Yes        I   would            say    three or four                     days.

11       machine.                                                                                                             11            Q.   Now            do you know                      Travis         Runnels

12             Q.   Are you able to see whats been marked                                           for                       12            A.   Yes        sir.




13       identification                              as States        Exhibit             No. 50 from where                   13            Q.   See him here in the courtroom today
                                       purposes

14       youre          at sir                                                                                                14            A.   Yes        sir.



15             A.   Yes         sir.                                                                                          15            Q.   Would you                     please    point             him       out    and describe what

16             Q.   Are you able to recognize                        that       sir                                           16   hes wearing

17             A.   Yes         sir.                                                                                          17            A.   Hes        wearing a maroon shirt a yellow and black tie

18             Q.   What         does      that represent           to you sir                                                18   tan      khaki pants.

19             A.   Its     a    graph of the boot                factory.                                                    19            Q.   How         do you know                     this         defendant

20             Q.   Now          you      said      you were working in lasting                            is    that         20            A.   I    know him from                     the boot                factory.

21       correct                                                                                                              21            Q. There at the Clements                                  Unit

22             A.   Yes         toe     lasting.                                                                              22            A.   Yes        at the Bill               Clements                 Unit.


23             Q.   Where          is    that      on this particular diagram sir Ill                                         23            Q.   How         long             had you known                     the defendant             at that      time

24       come up          here         and Ill just        let   you point          it    to   me     and then                24         A.      About          the           same as        I   know           Mr. Wiley.

25       Ill   back away from you                         again.                                                              25            Q.   Why         is    that         sir


                                                                                                           Page 204                                                                                                                                  Page 206
 1             A.   I   was right here between 6 and                            7     I   would       say.                     I         A.      Mr. Runnels                    hadnt            --   he       wasnt        there   when           I first



 2             Q.   Between 6 and                   7                                                                          2   got      there.        He      previously             had came to work around the same

                                                                                                                               3   time         Mr. Wiley had                     started.
 3             A.   Yes         sir.



 4             Q.   Here         right in          here Indicating                                                             4            Q.   Do       you know                where Mr. Runnels                          came       from

 5             A.   Yes         sir.                                                                                           5         A.      No         sir      I    do not.

 6             Q.   If its        all    right with you            Im going               to put     your                      6                          MR.        DURHAM                       Based on hearsay.                       I   object.

 7       initials       there.                                                                                                 7                          THE            COURT               Well              his   answer was no.

 8                         Would          that      be the correct place sir where                           I                 8            Q.   BY         MR.           SIMS           Were you working around                                    730      on

 9       put   TI                                                                                                              9   January 29th                    2003           in close            proximity to some other inmates

10             A.   Yes         sir.                                                                                          10         A.      Yes        I   was.

11             Q.   What was your job                      there    sir                                                       11         Q.      Who        were they sir

12             A.   My job             was to take boots            off the rack               and put them                   12         A.      I    dont know                  any real names but there was a guy

13       in the toe lasting               machine and to             --   the     machine brought the                         13   named             J.R.       Mr. Elkins and                        J.J.


14       toe of the boot                together      and glued       the end of               it   together.                 14         Q.      Now            while          you were standing there                             or   working there

                    Who         does      the      work    there in the boot                                                  15   with         Mr. Elkins                about        that time               of    day what           if    anything        do
15             Q.                                                                          factory

16             A.   Inmates.                                                                                                  16   you recall happening

17             Q.   Okay.          Are        there other people            there                                             17         A.      That particular morning                                   me        and Mr. Elkins                and a

                                                                                                                              18                     of   more           other        guys       that      I   just       named were           all   standing
18             A.   Yes         sir.                                                                                               couple

19             Q.   Who         else     is   there besides         inmates                                                   19   around            having cups of coffee                                speaking          of the football               game
                                                                                                                              20   as   I   recall.
20             A.   Security             supervisors.

21                  Now          do you know               Stan    Wiley         or       Mr. Wiley                           21            Q.   What happened then
               Q.

22             A.   Yes         sir.                                                                                          22         A.      We       all     split        up and went                     to our      work     areas          as the


23                  Where          is    that      from Where             do you know                him from                 23   one      I    showed           you          on the poster there.                        And     prior to that             the
               Q.

                                                                   Unit in the boot                                           24   boots         that     we work on                   in the factory                     had got like behind so
24             A.   From         the Bill          Clements                                         factory.

25             Q.   About          how        long   had you known                Mr. Wiley sir                               25   in the        process a lot of times when the boots                                              get      behind

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POTTER COUNTY TEXAS
THE STATE OF TEXAS                     Multi-PageTM                                                                                                                                                        TRIAL ON THE MERITS
   Case 2:12-cv-00074-D-BR Document 84-2 Filed 01/17/13
vs. TRAVIS TREVINO RUNNELS
                                                                                                                                                                                                 Page 56 of 67 PageID
                                                                                                                                                                                                               OCTOBER273826 2005
                                                                                                                                       Page       207                                                                                                                                              Page 209
     1   other       inmates             may help            to   catch        up       catch       the    line   back         up.                           1           Q.    Okay.             Now             where are you referring to the trimming

     2          Q.       Youve            kind of got an                 assembly             line    out       there    for                             2       tables

     3   putting          the   boots and                shoes together                 is   that     correct                                            3              A.     Okay.             We         had trimming tables like ran up here                                                         all


 4              A.       Thats           correct.                                                                                                        4       the     way around                 here.              Indicating

 5              Q.       And     so what               happened              when you got behind                                                         5              Q.     From where 26                           is    on up toward                           30
 6              A.       Well when we got behind                                   me        myself         I   was looking                              6              A.     Right.

 7              a supervisor                                some help                                      And     while                                 7                     Okay.             What            else       were you going                           to               us




--15
         for                                    to get                          in the        area.                                I                                    Q.                                                                                                 tell


 8       was doing that                     I    observed         Mr. Runnels                  speaking          to     Mr.        Elkins.               8              A.     Well upon                    that       time            I    was        --   I   turned           my attention
 9       And        Mr. Elkins gave                      him a knife             that        we    use     to   cut     the    boots                     9       to     Mr. Wiley to ask                         --    to    go and ask him about getting                                            some

10       with.                                                                                                                                          10       help for the               assembly               line.


11                              So       at that       time       I   felt    like      Mr. Runnels               was                                   11              Q.     Where          was Mr. Wiley when you                                                did     that        sir

12       going       to    come          to     the    --   the   line       where          we was         working            and       help            12              A.     He was on                   the edge               of       one of the tables                          at the       end
13       us    to    catch up            on      the    boots.                                                                                          13       towards No. 30.

14              Q.       Now         at the        time      that      that    happened did you know                                   --               14              Q.     One        of the        trimming tables

         the    inmate          that      got     the       knife from           Mr. Elkins                did    you know                              15              A.     Yes        sir.


16       him by name                                                                                                                                    16              Q.     --   that      you          indicated               was           in through                here

17              A.       No     sir I didnt.                                                                                                            17       Indicating

18              Q.       Not    at that           time                                                                                                  18              A.     Yes        sir.



19              A.       No     sir.                                                                                                                    19              Q.     And you             said          back up here toward this No.                                                30
20              Q.       Do you           see     that      inmate           in the     courtroom               here    today                           20              A.     Yes        sir.


21              A.       Yes     sir.                                                                                                                   21              Q.     Okay.          What happened then

22              Q.       Point       him out             please.                                                                                        22              A.     As     I   turned            to    go to Mr. Wiley                               I    seen        Mr. Runnels

23              A.       Witness              complies                                                                                                  23       headed towards him also so out of respect                                                                  I    slowed            up to       let


24              Q.       The same one you previously                                    identified          earlier           is                        24       Mr. Runnels go ahead and approach                                                          Mr. Wiley.                  And         as he

25       that    correct                                                                                                                                25       approached                him         I    seen        him raise the knife                               up and             tilt




                                                                                                                                       Page     208                                                                                                                                            Page 210
 1              A.       Yes         sir.                                                                                                                1       Mr.     Wileys head back                         and        cut       his       throat.


 2              Q.       The defendant Mr. Runnels.                                                                                                      2              Q.     What happened                     at    that       point           sir

 3                              Okay.             Got the knife what happens then                                                                        3              A.     At    that     point         Mr. Wiley                  grabbed              his     neck        and     he

 4                       Well                                                                              Mr. Elkins                                                                                       Mr. Runnels                         and then he immediately
                A.                    prior to that                   after        I   observed                                                          4       turned and           looked           at


 5                       Mr. Runnels the knife                                 --                                                                        5       started       walking           towards           the       main            office.
         giving

 6                              MR.           DURHAM                         Im sorry               nonresponsive.                          The          6              Q.     And        from     this location                   here around                  the       30     where        is



 7       question           was What                        happens then                       He     said        Prior to that so                       7       that    main        office       on    this      diagram sir




--14
 8       that       would        not            be a responsive                     answer.                                                              8                            MR. SIMS                    Im         sorry              Im     doing         that       and     you

 9                              THE COURT                              Sustained.                                                                        9       folks       cant     see.


10              Q.       BY       MR.             SIMS             Had you                  seen    what the defendant                            was   10              Q.     BY MR.              SIMS                From here where                          --   this       is   where         you

11       doing           earlier that              day what kind of job he                                  had                                         11       say     the   incident          happened

12              A.       He was             a janitor             to    my knowledge.                           He was pushing                     a    12              A.     Yeah         this   area          here.


13       broom           around.                                                                                                                        13              Q.     Where        is    the

                                                                                                                                                        14              A.     The main                                                          Mr. Wiley             came between
                Q. Once              you had seen                      Mr. Elkins                                                                                                                  office                        here.
                                                                                                   give the knife                  to the                                                                         is
                                                                                                                                                                                                                       up

                                                                                                                                                                                                                         towards
         defendant what happened                                                                                                                        15       the    machines            and     went                                         the   office.
15                                                                                                                                                                                                               up

16              A.       Once        I    seen         Mr. Elkins               give         the knife           to the                                 16              Q.     Okay.         Then what                 happened

17       defendant               I    observed               the defendant                    walking around                           to the           17              A.     I
                                                                                                                                                                                   gave     my     attention                back           to   Mr.     Runnels             at       the time


18       right side of the                       trimming              tables          that     we have behind me. And                                  18       and     I   observed         him taking a white rag and wiping the knife off

19                   that       --                                                                                                                      19       and     walking          back         towards              the    tables.
         upon

20              Q.       Okay.            Let      me        interrupt you.                    You         said the           trimming                  20              Q.     Walking           back        toward               where sir

21       table       is   behind                you.        Weve             got
                                                                                       --   Im going             to stand               up and          21              A.     Towards            the trimming                    tables.


22       hold       it
                          up     I
                                      guess so you can point                                   to    it.                                                22              Q.     Okay.         Now            where           is    that          on the diagram                  here

                            Weve                                                                                                                                                                                             was here and                           observed           him
                                                            you working in this area correct
23                                                                                                                                                      23              A.     The    trimming              tables                                              I
                                                  got

24                                                                                                                                                      24       walking           back     this       way.        Indicating
         Indicating

25              A.       Yes      sir.                                                                                                                  25              Q. Back            toward           No.        24 on           the      diagram


320TH DISTRICT COURT                                                                                                                                                                                                                                         Page           207          -
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POTTER COUNTY TEXAS
THE  STATE
  Case       OF TEXAS
       2:12-cv-00074-D-BR Document 84-2Multi-Pagem
                                        Filed 01/17/13                                                                                                                                                Page 57 of TRIAL ON THE
                                                                                                                                                                                                                 67 PageID 2739MERITS
vs. TRAVIS TREVINO RUNNELS                                                                                                                                                                                                                              OCTOBER 26                                 2005

                                                                                                                                                     Page 211                                                                                                                                Page 213
     1           A.      Yes         sir.                                                                                                                            1
                                                                                                                                                                         supervisor.

     2            Q.     Whats                   the    next thing              you remember about                               that       day                      2         Q.        Did you ever              have any further communications                                                with

     3           A.      After Mr. Runnels                                was wiping                 the       knife off              I   kind                       3   Mr. Elkins              or     anyone regarding                       this right                 then
     4    of took         my        eyes off of                    him for a second.                           I    was looking back                                 4         A.    No      sir.


     5    up     to see        where              --   what         was going on with Mr. Wiley and then                                                             5                      MR.          SIMS            Pass           the   witness Your Honor.

     6    1    observed            Mr. Wiley                      had a        --
                                                                                    by    that       time           he had        got a
                                                                                                                                                --                   6                                   CROSS-EXAMINATION
     7    one of         the       green inmate jackets                              that      we        wear        on the       unit          and                  7   BYM R. DURHAM
                                                                                                   was speaking                                                                      Mr. Irvine
     8    he had              underneath                                neck        and    he                                             another                    8                                       your original statement                                      said    you did not
                         it                                   his                                                                 to                                           Q.

     9    supervisor and                         he    was bleeding                   pretty         bad.                                                        9       want       to    make          a statement            if you              had to testify in court

10                                 So        I    turned           to   look back              to    see       where                                            10       correct

11        Mr. Runnels                   was            and         at that      time           I   observed            him sitting down                         11             A.    Yes         sir.



12       on      a blue ladder                     that       was over by No. 24 on                                  the    board.                              12             Q.    Okay.              Now        Mr. Runnels                     didnt             --   has not threatened

13               Q.      And        what               did    you        do     at that        point            sir                                             13       you        has    he
14               A.      At    that          point            I   -- I
                                                                          got out of               the    -- I      moved out                                   14             A.    No      sir.



15       of    the     way came                        back        up     towards              I   would say by No.                             12              15             Q.    Theres             no   question              that       hes       the person                you saw who

16       machine.              And               then     I       observed           --                                                                         16       attacked         and killed Mr. Wiley                                is   there

17               Q.      Which               is    down            toward           the   end                                                                   17             A.    No      sir.



18               A.      Yes        sir.                                                                                                                        18             Q.    Okay.            And        he made no attempt                                 to    escape       is   that

19               Q.      Im        sorry again.                         Down         toward              the    end    down               here                  19       correct         or incorrect

20       indicating                 --                                                                                                                          20             A.    No      sir.



21               A.      Yes        sir.                                                                                                                        21             Q.    He    just sat          and waited for the authorities to                                             come
22               Q.
                         --
                              is   that           correct                                                                                                       22             A.    Yes         sir.



23               A.     Yes         sir.                                                                                                                        23             Q.    Did you ever                  hear       any confrontation                                between

24               Q.      Okay.                                                                                                                                  24       Mr. Wiley           and Mr. Runnels

25               A. Then             I       observed               Mr. Wiley              at       the    time        and       two        of                  25             A.    No      sir.




                                                                                                                                                 Page 212                                                                                                                                   Page 214
     1   the     other        supervisors or                        maybe more escorted him towards                                                              1
                                                                                                                                                                               Q.    Would         it
                                                                                                                                                                                                        surprise         you       if there        had     been

 2       the     --   the exit door.                      But as he got                   to       the    exit       door he came                                2             A.    No     sir it wouldnt.

 3       back         over towards                      the       work area where                        we was            at    first          which            3             Q.    Wouldnt             surprise you.                  Okay.           Have you ever had any

 4       is    -- I    would         say between                         10 and           7    as    like       he    was looking                                4       trouble with Mr. Runnels                        --
                                                                                                                                                                                                                              you didnt                 know him                as Travis

 5       around          for       Mr. Runnels                      or    whoever you know.                                 Thats what                 I         5       Runnels did             you
 6       took     it    to be.                                                                                                                                   6             A.    No     sir.



 7                                 MR.            DURHAM                       Then        Im        going           to object             to                    7             Q.    You    just        knew       him as another                   inmate




--17
 8       speculation Your Honor                                          what        Mr.       Runnels               sic was doing.                              8            A.     Yes     sir.



 9                              THE COURT                                 Sustained.                                                                             9             Q.    And     theres a            bunch        --   theres several out there

10               Q.     BY          MR.            SIMS                 He walked                  back        up    into       the       shop                  10       many       people out           there     at    the Clements               Unit

11       Mr. Wiley                 did           correct                                                                                                        11            A.     Yes     sir.



12               A.     Yes         sir.           He walked                  back        over       to    the       work area                                  12            Q.     And you dont know                         all      of   them




--18
13       where         the     incident                almost took                  place.                                                                      13            A.     Yes     sir.



14               Q.    What              if       anything               did he do             when he got there                                                14            Q.     Okay.         And youre              not trying               to   tell    this       jury   that


15               A.     He     just          stared           around.               He looked              at       several                                     15       bes associated               with   the        Crypts          are   you
16       inmates             looked               at   me         several           other inmates                   that    was           there.                16            A.     I   couldnt         say he         was associated                  with         them but          I




         And then             at the             time         the       other supervisor                       came and got him                                 17       1   was

         and     told     him        -           led    him         get    him out of here and                             get    him some                      18            Q.     That    was        my       question.          Are you trying                        to   make    that


                                                                                                                                                                                                  them You                                               him wearing
                                         1
19       help.                                                                                                                                                  19       impression         to                            have          not seen                                     gang

20                              MR.               DURHAM                       Objection                 thats        nonresponsive                    to       20       colors      have    you
21       the     question            its           also hearsay.                                                                                                21            A.     No     sir.



22                              THE COURT                                 Sustained.                                                                            22            Q.     You    didnt         know          him well enough                        to   even        know       who he

23               Q.     BY MR.                     SIMS                 Without           saying what                  was told what                            23       was       did   you
24       happened             then                                                                                                                              24            A.     No     sir.



                                                       was escorted out                                                                                         25                   So    you would have                 no            absolutely no                     idea about
                                                                                                                                                                                                                                   --                                                       his
25               A. Mr. Wiley                                                                 the    exit       door       by     a                                           Q.


320TH                  DISTRICT COURT                                                                                                                                                                                                                      Page                211     -
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POTTER COUNTY TEXAS
THE STATE OF TEXAS                                                                                                                                                                     ON THE
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                                         Filed 01/17/13                                                                                                               Page 58 of TRIAL
                                                                                                                                                                                 67 PageID 2740MERITS
vs_ TRAVIS TREVINO RUNNELS                                                                                                                                                                                    OCTOBER 26                           2005

                                                                                                                Page    215                                                                                                                 Page        217
     1   character           for violence               before        that    would          you                                   I   correct

     2         A.     No      sir.                                                                                                 2          A.        Correct.

     3         Q.     You would                  have no idea about                     his character         for being            3          Q.        Previously you were housed                              and your permanent
     4   peaceable            with        other prisoners               would           you                                        4   housing was                   at the       Clements            Unit   is   that   correct

     5         A.    No       sir.                                                                                                 5          A.        Yes.

     6         Q.    You would                   have no idea about                     his character         for                  6          Q.        Back        in    January of 2003 would                      that   be correct

     7   getting       along           with      other guards           and supervisors                 would         you          7          A.        Yes.

     8         A.    No       sir.                                                                                                 8          Q.        How         long    had you been at the Clements                           Unit at that

     9         Q.    All      youre            doing      is   testifying          what you saw               and you              9   time
10       saw       this   man           kill    another        man      didnt           you                                   10              A.        Probably about                  four    years.

11             A.    Yes          sir.                                                                                        11              Q.    Now             youre         currently           serving     a sentence        in the

12             Q.    And          it   was unfortunate                 and you have a hard                    time            12       prison           system for murder
13       testifying          to it as           any of us would                    is   that   correct                        13              A.    Yes.

14             A.    Yes          sir.                                                                                        14              Q.    And         also        for burglary           of a habitation            is   that

15                           MR.         DURHAM                  I    have no further questions of the                        15       correct

16       witness.                                                                                                             16              A.    Yes.

17                           MR. SIMS                   No     further questions                 Your Honor.                  17              Q.    On     the habitation                    you received          a seven-year

18                           THE          COURT                Okay       Mr. Irvine            you can step                  18       sentence            and on the murder conviction                              you received            a   life


19       down         sir.     Thank            you.                                                                          19       sentence            is       that    correct

20                           Break                                                                                            20              A.    Ninety-nine.

21                           No         reponse                                                                               21              Q.    Ninety-nine                   okay.

22                           THE COURT                         Okay.         Call       you next witness.                     22                           Those are the two                     sentences        youre       being       housed

23                           MR.         DURHAM                  I    think    the lawyers            need one         if     23       for     is   that       correct

24       they      dont.                                                                                                      24              A.    Yes.

25                           MS.         HAMILTON                     Please.                                                 25              Q.    Now             back in January 29th of 2003 were you assigned


                                                                                                               Page    216                                                                                                                  Page 218
 1                           THE         COURT                 Okay.         Ten minutes.                                          1   a particular                work      duty there at the Clements                     Unit
 2                           Break                                                                                             2              A.    Yes         I    was.

 3                           THE COURT                         Okay.         Lets proceed.                                     3              Q.    What was                it   that   you were doing at that time sir
 4                           MR. SIMS                   Eugene         Johnson.                                                4              A.    I    was nailing on                 --
                                                                                                                                                                                             stapling       on insoles for the

 5                           THE         COURT                 Eugene        Johnson.                                          5       boots.

 6                           If   you would             come          right   up here Mr. Johnson                              6              Q.    So you were working in the boot factory

 7       and take a seat there on the witness                                  stand.                                          7          A.        Yes.

 8                           All       right.      Mr. Johnson               pull that         microphone                      8              Q.    Approximately                   how        long     had you been working in the

 9       up   a    little    bit so its            sort of      aimed         at   you.        There you go.                   9       boot    factory

10       And      just kind             of     speak    --
                                                             you dont have to get right up to                                 10          A.        Probably two                   and a half years.

11       it but speak              sort of        toward        it.                                                           11          Q.        Now             they    had done some                rearranging        of     shifts    at the

12                           All       right.      Thank        you.                                                          12       boot factory                  is    that   correct

13                           MR. SIMS                   Thank         you     Judge.                                          13          A.        Yes.

14                                        EUGENE JOHNSON                                                                      14          Q.        On     that particular                day what           shift   did    you     work
15       having       been        first        duly sworn             testified         as   follows                          15          A.        First shift             A.M.

16                                      DIRECT            EXAMINATION                                                         16          Q.        What            shift   had you been working prior to that

17       BY-MR. SIM                     S                                                                                     17          A.        P.M.

18            Q.    Would you                   state   your name              please                                         18          Q.        Did you know                   -- at       that   time did you know                   a Travis

19            A.    Eugene              Johnson.                                                                              19       Runnels

20                  Where              are                                                                                    20          A.        Not personally                  no.
              Q.                             you currently residing
21            A.    Hughes              Unit.      Hughes         Unit.                                                       21          Q.        Okay.            Did you know                  a Stan    Wiley       or   Mr. Wiley

22            Q.    And       currently right                  now      youre           being    kept        at the           22          A.        Yes        I    did.

23       Clements            Unit right                                                                                       23          Q.        How         do you know                  Mr.      Wiley
24            A.    Clements                 Unit yes.                                                                        24          A.        I   worked             for    him at       the factory.

25            Q.    Youre on                 transfer        from the Hughes                   Unit     is   that             25          Q.        In    what capacity                   sir did      he serve


320TH DISTRICT COURT                                                                                                                                                                                              Page      215      -
                                                                                                                                                                                                                                          Page      218
POTTER COUNTY TEXAS
                                                  rM
THE STATE OF TEXAS                                                                                                                                                                                                     ON THE
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vs. TRAVIS TREVINO RUNNELS                                                                                                                                                                                                                                      OCTOBER 26                               2005




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                                                                                                                                           Page   219                                                                                                                                              Page 221
     1          A.     Did he              serve                                                                                                             1            A.       Right about                  here.         Indicating

     2          Q.     Yes.                                                                                                                                  2            Q.                     in    here
                                                                                                                                                                                   Along                                 Indicating

     3          A.     He was               line boss             over           the     --    over        the lasting                                       3            A.       Yes         sir.



     4    machines out                   there.                                                                                                              4            Q.       And you             said           you were             at    a table

     5          Q.     For approximately                              how          long        had you worked                              for               5          A.         Yes.        There         was a long                   table           right      here and         racks

     6    Mr. Wiley                                                                                                                                          6    running along                   this      wall         right       here         and          racks        running       right

     7         A.      Most           all    the time             I    was        there.                                                                     7    here.        Indicating                   And

               Q.      Okay.             So most of your four years he had been a                                                                            8          Q.         So youve got the                          table     between                  running between                26

     9                            to                                       --
         supervisor                    you in some                                                                                                           9    and     30       and     the        racks           along       24       to    31        is    that      correct

10             A.      No      for the time                   I    worked                at    the     --       at the factory                          10              A.         Yes        sir.



11       for about           two and a half years                                   I
                                                                                         guess.                                                         11              Q.         Okay.          If   its        all    right       with        you            Im        going    to   put

12             Q.    What happened                           to the             P.M.          shift    on the boot                     factory          12       your        initials          EJ           right here.                Would               that        be approximately

13             A.      They just decided                           to       end     it    and just do                    first shift                    13       the    place        that       you were                 working
14       only.                                                                                                                                          14              A.     Yes         sir.



15             Q.      So thats              how you wound up on                                       the        first shift              that         15              Q. Okay.                  Now            you indicated                       to    the jury where                you saw
16       morning             correct                                                                                                                    16       Mr. Wiley               and         the other inmate                       talking.                What was happening                   at


17             A.    Yes          sir.                                                                                                                  17       that     point

18             Q.    Did Mr. Wiley                          make            that transfer                   also                                        18              A.     Well what                   roughly             it   was          I   just        heard       Mr. Wiley

19             A.    Yes          he       did.                                                                                                         19       said     --
                                                                                                                                                                               saying something                              like    --    he said               I     dont      really

20             Q.    About             what time do you remember starting work that                                                                     20       care       just     go        on over            there       and      do        what           I   asked.

21       day sir                                                                                                                                        21              Q.     Had you seen                       that       particular               inmate              before

22             A.    Oh        530           or six          oclock.                                                                                    22              A.     Yes         on the           unit.            We     was         in    -- I       was moved              several


23             Q.    Was          that pretty                much               a typical         morning                    of   what time             23       times and               he     was        in     a     section        I    was           at    one time           and just

24       you would                start                                                                                                                 24       you know                 casual                 seeing each                other casually                       you know
                                                                                                                                                                                                           --



25             A.    Yes          it   is.                                                                                                              25       offhand.



                                                                                                                                       Page 220                                                                                                                                                   Page 222
     1         Q. At         some point during                         that       morning             shift       did        you                         1              Q.     So        you didnt                know him                  from           work you knew him from
 2       observe Mr. Wiley                       having        a conversation                     with another                    inmate                 2       where         your housing                     area         was     at     one       point

 3                           MR.           DURHAM                      Leading            question               objection.                              3              A.     Right.            And        like         I   didnt         know            him personally.

 4                           THE COURT                            Overruled.                                                                             4              Q.     Do you             see      that         same person here                            in the      courtroom

 5             Q.    BY        MR. SIMS                      Did        you        see    Mr. Wiley                  having        a                     5       today

 6       conversation             with another                 inmate                                                                                    6              A.     Yes         I   do.


 7             A.    Yes       sir.                                                                                                                      7              Q.     Would             you please point him out and describe what

                                                                                Where was                                                                        hes wearing




--17
 8             Q.    Lets pick up                     with    that.                                    this      taking                                  8

 9       place         Where did you                    see       Mr. Wiley               and     the       other         inmate                         9              A.     Yes.           Hes          at the        defendants                   table.              Hes    wearing       a




--15
10             A.    Theres            a    table      that    was          right there           where              I   was                            10       red    shirt       glasses and                       spotted        tie.



11       working        that      I
                                       put      the    --
                                                            put       the       staples        and gun            on and           stuff                11              Q.     What happened                            at that      point with                     the    inmate       and

12       like that.      So       at the         end of        the         table between                   it   and      a   row                        12       Mr.    Wiley

13       of racks       is   where           they were              speaking.                                                                           13              A.     I
                                                                                                                                                                                   guess he went                       on     over     to       where            he       was supposed            to


14                           MR.         SIMS               May        I   approach              Your Honor                                             14       go    and

                             THE COURT                            Sure.                                                                                 15              Q.     What            did     you        do
16             Q.    BY MR. SIMS Im                                    going        to    show you whats                           been                 16             A.      I   turned around                        and    continued                   working           and

         marked        for identification                                           as    States Exhibit No.                           50               17              Q.     Whats             the next thing                     you         recall          that      day besides
                                                             purposes

18       and   Ill     ask you             if   youre able                 to    recognize            that        sir                                   18       working

19             A.    Yes      I   am.           Thats         the      factory.                                                                         19             A.      All       right.        I   had         my      --
                                                                                                                                                                                                                                     slightly             to    the       side

20             Q.    Thats         the       boot      factory                                                                                          20       nailing       on        the    insole           --
                                                                                                                                                                                                                       stapling           on the insoles                     and    then Mr.

21             A.    Yes      sir.                                                                                                                      21       Wiley       kind of            made a lunging motion                                      back           off beside      me      like


22             Q.    While        Im         up here why dont you
                                                                                                  if    you          will point                         22       that and           it   caught            my         attention.            I    turned around                    and looked

23       so   the   ladies        and gentlemen                   of       the    jury can            see       --
                                                                                                                     sorry if          I                23       and    he     like      kind of            bounded two or                           three          steps.       He   turned

24       blocked                                                                                                                                                                                                      hand        like      this                                   and just
                       your view                                                        where         on                                                24       around        and        he had                                                          indicating
                                                --                                                              this                                                                                       his
                                                      approximately                                                      diagram           it



25       was    that   you were                 working.                                                                                                25       was blood coming                          all    out        like    that.           And            he kind of turned


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THE STATE OF TEXAS                                                                                                                                                                                                     ON THE
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vs.                                                                                                                                                                                                                                                      OCTOBER 26                           2005

                                                                                                                                             Page 223                                                                                                                                    Page      225
     1    like that        and then               he        looked             back           -- I    looked                  the direction he                1
                                                                                                                                                                          Q.       But you              --
                                                                                                                                                                                                             you used the word argument in your

     2    was looking                 at    and        I    saw Mr. Runnels                                standing                  there    with the        2    statement.                    Did you              or did           you     not
     3    blade      by his hand                   --
                                                           by his             side.           And      then               --                                  3          A.        I
                                                                                                                                                                                       only           heard the one                    side.        I
                                                                                                                                                                                                                                                        only      heard      Mr. Wiley

     4          Q.       Was        there       anyone else standing                                   around there                                           4    say    what             he     said.

     5          A.       Not where Mr. Wiley or Mr. Runnels                                                                   was.                            5          Q.        Then          you        dont know                    what           --   what was        --
                                                                                                                                                                                                                                                                                   you heard
     6          Q.       Did you see anyone else in close proximity                                                                     to                    6    all   of    it      or parts             of    it

     7    Mr. Wiley with a knife                                                                                                                              7          A.        I
                                                                                                                                                                                       only heard                 Mr. Wiley reply                            I   dont care             just   go
     8          A.       No     sir.                                                                                                                          8    on over             there          and do your job.

     9          Q.       Once       he     jumped                up        Mr. Wiley what happened                                                            9          Q.        Was           that the         only talk they had that day or do you
10              A.       Well        the       first       thing          I    did        I    moved             out of the                  way.         10      know
11       I   didnt know                    what was going                               on.     I    didnt know                        if    something   11              A.        I   dont know.
12       else    was going                 to happen or what you know.                                                           I   kind of moved       12              Q.        You werent around                                   close    enough to hear                 all      of it

13       over       to an      area        by myself.                                                                                                    13       were        you
14                            And          then        when           I       looked            back         I       saw Mr. Wiley                       14              A.    No           sir.


15       heading          towards the office area and then                                                       I       saw Mr. Runnels                 15              Q.    It          wasnt        --       at least they                 werent            screaming and
                                                                                         --
16       over       by the lavatory                         and then                a           he    was            I    believe           washing      16       shouting                 and waving                 their           fists    at   each other

17       his    hands          and then                he        went and got a drink                                     of water.                      17              A.    No           sir.


18             Q.    And        then           whats             the next thing                       you saw happen                                     18              Q. But something was going                                             on
19             A.    Mr. Wiley they was escorting                                                    him back by the tool                                19              A.    Obviously.

20       room area and then                             several               of us just              kind of got you                          know      20              Q.    Obviously.                        Okay.                Now       theres something in your

21       gathered          up       in     groups you                     know                and just said                          You      see        21       statement                 that      kind of puzzled me.                                You       said that       you were the
22       that            and stuff you know.                                                                                                             22       only        white          guy there                  so   you moved                       away   to a safe area.

23                            MR.          DURHAM                             Objection.                    Your Honor                        the        23              A.    Yes.

24       conversation                 would            be hearsay.                                                                                       24              Q.    What              did    you mean by that                                please sir

25                          THE COURT                                 Sustained.                                                                         25              A.    Well theres                        --    I    didnt know                      what was going down.


                                                                                                                                            Page 224                                                                                                                                    Page 226
     1         Q.    BY MR.                SIMS                 Approximately                        how     far           were        you from               I   Theres               a   lot    of animosity                        towards white people                     in      general




--10
 2       Mr. Wiley          when he jumped off                                this       table                                                            2       and     I    -- I        didnt        know            if       it   was      an isolated             thing      or   maybe
 3             A.    Seven          foot.                                                                                                                 3       something going down.                                      I    just got over                  out of the       way.

 4             Q.    So was           it   a    table       thats about                   the       size that             were                            4              Q.    How               is   there       a   lot     of animosity                    towards white

 5       using      for   counsel           tables a              little       bit      bigger                                                            5       people

 6             A.    It   would be              -- it      would be maybe two or                                         three       foot                 6              A.    In          prison that is not out                              -- I      didnt               out
                                                                                                                                                                                                                                                                       say

 7       longer than           the     counsel             tables.                                                                                        7       here        in prison.


 8                   You were on one end and Mr. Wiley                                                     was on                the   other              8              Q.    And how                  is       that       expressed




--16
               Q.

 9             A.    Yes.                                                                                                                                 9              A.    Well you mean                            in general              or

                            MR. SIMS                        Pass      the       witness              Your Honor.                                         10              Q.    Yeah              in general.                 I    mean          do the blacks                and whites

11                                         CROSSEXAMINATION                                                                                              11       just not get               along




--20
12       BY      MR.       DURHAM                                                                                                                        12              A.    No.           I   have several black                            friends.


13             Q.    Mr. Johnson                  I
                                                      just       have          a few          questions                  for     you                     13              Q.    Okay.                  Speaking              of black           friends            you had just been

14       but then         Im    sure youve                      heard         lawyers say                  that          before                          14       moved            to      Mr. Runnels                      unit

15       havent          you                                                                                                                             15              A.    No           Ive        --    Ive been                 here

             A.      Yes       sir.                                                                                                                      16              Q.    You had been on                               his unit for                some period           of      time

17             Q.    And       it
                                    proved            to    be    more          than a          few         at       least       more                    17              A.    Yes.

18       than you thought                  were        a few.             Would               that    be a       fair          statement                 18              Q.    How              long    had you been on the same unit as Travis

19           A.      Yes.                                                                                                                                19              A.    Probably four years maybe four                                                    and

             Q.      Im     going          to              and     keep            it   short        and    get          to    the                       20              Q.    So you had known                                  him for            four      years
                                                 try

21                here.                                                                                                                                  21              A.    I       didnt know                  him            no.
         point

22                          The       fact      -- is       it   or   is      it   not a        fact       that                                          22              Q.    Well you had                           seen        him around

23       Mr. Wiley          and       Mr. Runnels                   had         some type of verbal altercation                                          23              A.    Here and there                           yes.

24               raised     their        voices            at    each         other                                                                      24              Q.    Yeah.
         they

25           A.      I   did not hear them                       raise         their voices.                                                             25              A.    You          pass        people              in the       hallway and around.


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vs_ TRAVIS TREVINO RUNNELS                                                                                                                                                                                                                     OCTOBER 26                                        2005

                                                                                                                                         Page       227                                                                                                                                 Page 229
     1
                 Q.       But    you       really            do    know             --   if   youre            in   prison very                                I          Q.    Okay.            So when you used                        the       word he                said        something

     2    much        you       really          do       know           the    troublemakers                        dont you                               2       like         that      was      just a          misstatement

     3           A.   You can              tell         a   lot    of    the       hardheads               you know.                                           3          A.    Yes.

     4           Q.   They           get   in       trouble             dont they                                                                          4              Q.    Okay.            So     the misstatement                      that       was made two                        years

     5           A. Yes.                                                                                                                                   5       ago     on the same day of the incident                                         is   different           today

     6           Q.   They           get written                 up     for        fighting                                                                6       correct

     7           A.   Yes.                                                                                                                                 7              A.    He        said     what        he    said.


     8           Q.   Okay.             And             you       kind of           steer         clear    of them          because                        8              Q.    Well but two                      years      ago        or three          yearsago                   almost

 9       you know thats                      the        way        they       are                                                                          9       three years                ago your words                    was he                 said     something like and

10               A.   Yes.                                                                                                                                10       today        its       an exact           quote.          Its changed in two years and nine

11               Q.   Did        you find Travis                         to    be one of the                   hardheads                                  11       months            --   ten    --    ten     months from something like to exact

12               A.   Like                              didnt          know          the      gentleman              enough         to   --               12       correct
                                 I
                                      say           I



                                                                                                                                                                                Ill stand                                                 --
13       to   judge        one       way or             the      other.                                                                                   13             A.                            by my          statement                by my             written

14               Q.   But        sir       if   he had             been        a troublemaker                        you would                            14       statement.

15       have     made          it
                                     your business                       to    know           where        you could             avoid        him         15             Q.     You           stand     by your            written        statement                  which            says        he
16       wouldnt you                                                                                                                                      16       said        something           like.

17                              MR. SIMS                         Objection                Your Honor                   asked        and                   17             A.     Okay.

18       answered.                                                                                                                                        18             Q.     Is    that      correct

19                              THE COURT                               Overruled.                                                                        19             A.     Yes.

20               Q.   BY         MR.         DURHAM                            If    he had been                    one of    the                         20             Q.     Okay.            All    right.            And     Travis           was walking                   away
21       hardheads              you would have made                                      it
                                                                                              your business              to      know     where           21       washed           his       hands          sat    down and waited                        is    that      correct

22       you could avoid him isnt                                       --
                                                                              is   that       a    fair    assumption                                     22             A.     I    saw him go over                      and wash             his      hands and take                       a

23             A.     Yes        it is.                                                                                                                   23       drink       of    water and that was the                             last       I    saw     of him.

                                                                                                                                                                                All                                        --
24             Q.     Okay.             So as            far      as    you know                   he     was not a                                       24             Q.               right.       Did you                  you didnt                see     where he went

25       troublemaker                                                                                                                                     25       from there


                                                                                                                                         Page 228                                                                                                                                      Page 230
 1             A.     Not that             I        know           of.                                                                                     I             A.     No        I   didnt.

 2             Q.     Okay.             You had                    never            had any trouble                     with         him                   2             Q.     He didnt           seem        to    be running toward                    the    door       to get


 3             A.     No         sir.                                                                                                                      3       away
 4             Q.     And you dont know what                                                   the trouble              that      he was                   4             A.     He was very calm.

 5       having           with       Mr. Wiley                        exactly             stemmed from do                           you                    5             Q.     Didnt wave the knife                       that    he had          in his       hand

 6             A.     No         sir.                                                                                                                      6             A.     No.           The only time           I   saw     the    knife         was when he was

 7             Q.     And         you heard                      parts         of the             conversation                                             7       standing         there       with    it   by     his   side.


 8             A. Yes.                                                                                                                                     8             Q.     Okay.           Did you see blood on                     the    knife

 9             Q.     And you                   --
                                                        you actually                     didnt quote                   in    your                          9             A.     No        I   didnt.


                                                                                                           you used the words                                                   Thank
                                                                                                                                                    --    10
10       statement              exactly                 what       it    was because                                                                                     Q.                    you      sir.



11       and correct                 me if Im                    wrong             on this -- you used the words                                          11                          MR.        DURHAM                    Ill    pass    the          witness.

12                        said       something like                                I dont care go                       over        there     and         12                          MR. SIMS                                    else    Your Honor.
         Wiley                                                                                                                                                                                                     Nothing

13       do   it.          Those were not his exact                                            words.               Thats        a paraphrase             13                          THE COURT                       Okay.          You       can       step    down

14       of   what he said                      correct                                                                                                   14       Mr. Johnson.                 Thank        you.

15            A.      As        far as          I   know               thats             what he           said.                                          15                          Call your next                 witness.


16             Q.     Well you used                               the    word             in
                                                                                                  your statement                    you       said        16                          MR. SIMS                     Phillip      Yow.          He has not been                    sworn

17       something like that as opposed to                                                              he      said.         Do     you      see         17       Your Honor.

18       theres           a difference                                                                                                                    18                          THE COURT Come                              right       up       here and           take a       seat


19            A.      Well           he    might not have phrased                                          it       word      for    word                 19       on    the   witness stand                 if   you would             please          sir.



20       exactly          like       that.                                                                                                                20                          Okay.            Would         you     raise      your       right       hand       and        take

                                                                                                                                     what      he         21             oath of a witness
21            Q. Thats                  exactly                  my     point. Thats                       not exactly                                             the                                       please

22       said.        You        put       down your                         impression                   of    what        he    said right              22                          Witness            sworn

23            A.      I   know what                         he    said         I    was           there.                                                  23                          THE COURT                       Okay.        Thank               you.     Once youre

24            Q.      Okay.             Then                thats an exact                         quote                                                  24       comfortable and                 where          youre going            to    be       sort    of    aim that

25            A. Yes.                                                                                                                                     25       microphone                 toward    your mouth.               You dont                have       to    get       right   up


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                                                                                                            Page      231                                                                                                                    Page 233
     1    to    it   or   anything just keep                   it   in the general vicinity               and                     1          A.       Yes        sir.



     2    speak       toward            it.    Thank         you.                                                                2           Q.       How         long      had you known                   Mr. Wiley

     3                                        PHILLIP          YOWL                                                              3           A.       He was              my     boss     my    supervisor.

     4    having          been      first      duly sworn            testified      as    follows                                4           Q.       For approximately how long

     5                                  DIRECT               EXAMINATION                                                         5           A.       Awhile.

     6    BY-MR. SIMS                                                                                                            6           Q.       Describe             Mr. Wiley for the jurors                         please.

     7          Q.        Would you                state   your name          please       sir                                   7           A.       He was              my supervisor.
     8          A.        My name             is   Phillip     Yow.                                                              8           Q.    Did you also know                          a Travis        Runnels

                Q.        Mr. Yow             where are you currently residing                                                   9           A.    Yes           sir.



10              A.    At    the     Clements               Unit.                                                            10               Q.       --   at the         Clements         Unit
11              Q.    What         is    your status there                                                                  11                              How           did you know                Mr. Runnels

12              A.    As     far as line class or                   what    Im there           for                          12               A.    Stayed on the same section together                                        the   same

13              Q.    Youre             in transport           is   that    correct                                         13        building              stuff like           that.     Had        interaction           with each other in

14              A.    Im in         general population.                                                                     14        the rec         yard and stuff                   like   that.


15              Q.    Youre             in general           population                                                     15               Q.    So you had been around                              him       for a while         also would
16              A.    Yes        sir.                                                                                       16        that    be       fair      to       say
17              Q.    Okay.             My bad.            How      long    have you been            housed at the          17              A.     Yes           sir.



18       Clements            Unit            sir                                                                            18               Q.    Do       you           see   him      here in the        courtroom today

19              A.    Since        2002.                                                                                    19              A.    Yes            sir.



20              Q.    Prior to that                 where were you housed                      sir                          20              Q.    Would you                                           him        out   and describe the




 --6
                                                                                                                                                                                please     point

21              A.    I    was on the Robertson                      Unit.                                                  21        clothing             hes wearing
22              Q.    Youve             been in the penitentiary                    since      2000    is   that            22              A.    Red         shirt         yellow and black                tie black             boots look

23       correct                                                                                                            23        like tan pants.

24              A.    Yes        sir.                                                                                       24              Q.    Now             was       he    also    working at the boot                     factory
25              Q.    For the felony                  offense of injury to a child                   is   that              25              A.    Yes            sir.




                                                                                                          Page        232                                                                                                                    Page 234
 1       also        correct                                                                                                     1
                                                                                                                                            Q.    Now             specifically             on January             29th       of   2003      before

 2              A.    Yes        sir.                                                                                        2        you went              to    work           did   you go anywhere
 3              Q.    Youre             serving          a 60-year        sentence        is   that also                     3              A.    Before              I   went    to     work
 4       correct                                                                                                             4              Q.    Uh-huh.

 5              A.    Yes        sir.                                                                                        5              A.    Well when                     they called        us out that              morning

                Q.    I   want to take you back to January                                29th     of 2003.                  6              Q.    Yes            sir

 7       You were            living           at   the     Clements Unit then correct                                        7              A.    --
                                                                                                                                                           they called            us to the multipurpose                      room where           all


 8              A.    Yes        sir.                                                                                        8        the    workers go and we wait to be transported                                              to the    boot

 9              Q.    Did you have a job                      at   that    time sir                                          9        factory.

10              A.    Yes        sir.                                                                                       10              Q.    What happened                        while    you were in there                   sir

11              Q.    Where         were you working                                                                        I 1             A.    Travis              Runnels          he told        me    to    --   to   go back to the




--18
12              A.    The boot            factory.                                                                          12        building             dont come               to    work      today.

13              Q.    How        long         had you been           working at the boot               factory        at    13              Q. At that point did he give you any explanation                                                  as to

14       that    time                                                                                                       14        why
15              A.    I   had been working there awhile.                              I   dont know             how         15              A.    He       just         said     Dont go to work and I -- I asked
16       long.                                                                                                              16        him why.               He       just      said Dont come.  And I was like Im
17              Q.    Now         had you always worked                        --
                                                                                    well what         shift      were       17        not fixing to                get

         you working                                                                                                        18                              MS.           HAMILTON                    Objection             its   nonresponsive

19              A.    I   was working                 -- I   was working             at the prior time                      19        Judge.

20       this    take      place         I    was working second shift but then                            that    was      20                              THE           COURT               Sustained.


21       the    first      day      the       day of the offense              that they put          me     on              21              Q.    BY          MR.          SIMS           What        did   you say to him in response

22       first shift.                                                                                                       22        to that         sir

23              Q.    Okay.         Now             from being        on second           shift    and then       onto      23              A.    I    told       him that             Im not         going       to get      a case        Im
24       the    first      shift        were you           familiar with         Stanley          Wiley     I               24        going       to   work.                So he was like you                    know All              right you

25       believe          yall would                refer to   him as Mr. Wiley                                             25        know.           He was              like    All      right.


             COURT
320TH DISTRICT                                                                                                                                                                                                    Page            231   -
                                                                                                                                                                                                                                            Page      234
POTTER COUNTY TEXAS
THE  STATE
  Case       OF TEXAS
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                                                                                                                                                Page 63 of 67 PageID 2745MERITS
vs. TRAVIS TREVINO RUNNELS                                                                                                                                                                                                                              OCTOBER 26                                     2005

                                                                                                                             Page            235                                                                                                                                                 Page 237
     1          Q. Did you eventually                              make         it   to    work       that       day sir                                  I         A.    Yes             sir.


     2          A.   Yes         sir.                                                                                                                 2             Q.    --    about what                            happened that                     day
     3          Q.   What         duties        were you assigned                           to   do that              day                             3                             MR. SIMS                               May          I
                                                                                                                                                                                                                                            approach                   Your Honor

     4          A.   I    was on             the toe       lace.                                                                                      4                             Witness                       reading

     5                      MR. SIMS                       May       I
                                                                          approach               Your Honor                                           5             Q.    BY             MR. SIMS                            Does            that help refresh                    your memory

     6          Q.   BY          MR. SIMS                     Ill     show           you whats been marked                                     for    6       some sir
     7   identification                 purposes           as States                 No.    50     and are you able to                                7             A.    Yes            sir.


 8       recognize          that         sir                                                                                                          8             Q.    Okay.                 Did Mr. Runnels                               talk to             you about anything

 9              A.   Wheres              the front            door          Front           door front door                         --                9       else at that            point                  sir

10       sotto       voce                                                                                                                            10             A.    He was                   just saying                    that       he going                to   do something

11                          Im not             exactly          sure.       Im not               exactly              sure.         I                11       but he       really              wasnt               giving              any details what he was going to

12       cant really understand                            the board.                                                                                12       do.


                                       Well                                                                                                                               Did you hear any kind of arguments
13              Q.   Okay.                          if I   turn      it    this       way        does       it
                                                                                                                  help          you                  13             Q.                                                                                                      involving

14       out       any      I    should         have turned                it    that       way       to begin              with.                    14       Mr. Wiley or Mr. Runnels                                             that       day
15             A.    This        is    the front           door           sotto           voce                                                       15             A.    Them two                       particular                with each other or just any type

16                          Are these the machines part                                     the       machines that                                  16       of    argument                   period

17       they      have          Im trying               to understand                     where       Im at.               I    cant                17             Q.    Between                      each other.

                                                                                                                                                                          I    havent                   -- I      didnt hear                  Mr. Wiley                    and Mr. Runnels
18       really understand                     the board.                                                                                            18             A.

19             Q. So what was                      it
                                                        you were assigned                        to    do        sir                                 19       arguing          with each other.

20             A.    Toe        lace.                                                                                                                20             Q.    When             is       the next                time        you        remember                 seeing

21                   Whats that                                                                                                                      21       Mr. Runnels                       where was he at
               Q.

22             A.    Where            a person           --    the person                 before      me     --       its like                       22             A.    The next time he                                   --    well        I       see       him he was
23       an    assembly            line the person                    before              me   put a deal
                                                                                                                       --    a   boot                23       cleaning          a knife                 with a tissue or a cloth.                                         He was        cleaning        a

24       hoof on the deal and they send                                     it       to   where       Im at             the         guys             24       knife.          He had a                   cut       on his hand.




 --9
25       where       Im         at and we put                  it    in a       machine and we lace the top                                          25             Q.    Did you                   see        Mr. Runnels prior to that                                       sir


                                                                                                                            Page 236                                                                                                                                                             Page 238
 1       of   it
                   up     and then             we       pass    it   down.                                                                            1             A.    He was               --      all    I   know        is he          was behind me somewhere.

 2                   Did you see                this       defendant Mr. Runnels                                      out at the                      2       He was behind                    me            or   just      motion           in    the area               walking       back      and
               Q.

 3       boot      factory        that        morning                                                                                                 3       forth.      Thats           all       I    can remember him being behind me.

 4             A.    Yes        sir.                                                                                                                  4             Q.    Do you               recall             seeing Mr. Runnels                         do      anything        that


                     What was he doing                                                          you remember
 5             Q.                                               the       first      time                                           seeing            5       day
 6       him                                                                                                                                          6             A.    I   seen        him           -- I
                                                                                                                                                                                                                  seen      him walk by Wiley.                              Wiley       was

 7             A.    He was             talking to            me most                of the time.                                                     7       sitting like          on     the          table.         I   was waiting on another                             rack      to


 8             Q.    Do you             recall      what job              duties he            was      assigned                 if                   8       come       talking           to      a    guy named Chris                        Fuller



         any                                                                                                                                          9                             THE REPORTER                                       Talking              to   a   guy named what

10             A. Janitor.                                                                                                                           10             A.    Talking              to       another            offender           named Chris                   Fuller.         And

11             Q.    At some point that morning                                       after      --
                                                                                                      shortly after                                  11       the   next      thing        I    know              I   see Runnels                 go
                                                                                                                                                                                                                                                        --       and      Wileys back             is




12       getting      out there               did       you have another                       conversation                  with                    12       towards         me      and           Wiley turned around                                 I    seen blood           running out

13       Mr. Runnels                                                                                                                                 13       through         his    hands              and stuff and he                       started            coming         my way.
14             A.    We     was talking about                         --   we was              talking about                    a       book         14             Q.    BY          MR. SIMS                             Who         started         coming your               way
15       he   had     let   me         use.                                                                                                          15             A.    Wiley Officer Wiley.

16             Q.    Im sorry                                                                                                                        16             Q.    Was         there             anyone             else    standing             in the         immediate


17             A.    We was talking                      about        a    book he had                let    me         look            at           17       vicinity        of Mr. Runnels                          and     Mr. Wiley                 at that           time   when you

18       and read.                                                                                                                                   18       saw that

                                                                                                            point sir                                                     They was just right                                           by                       was
                                                                                                                                                                                                                            there             --
19                   Did he say anything                            else to                 at that                                                  19             A.                                                                                 they                right there
               Q.                                                                    you

20             A.    Not that            I   can     recall.                                                                                         20       by each other by                      --
                                                                                                                                                                                                          by the table and we was a few                                          feet   away
                                                                            in regards to                what occurred                               21       me    and       some other guys.
21             Q. Did you give a statement

                                                                                                                                                     22                   Mr. Wiley                     starts        towards                          What                         then
22       that      day                                                                                                                                              Q.                                                                      you.                     happens

23             A.    Yes        sir.                                                                                                                 23             A.    He        started             --   when he              started         towards              me --     well        I



                                                                                                 would                 --   would                    24       didnt       know what                     was going                 --
                                                                                                                                                                                                                                       well            didnt           know      exactly         what
                          you were to see that statement
                                                                                                                                                                                                                                                   I
24             Q.    If                                                                                          it



                                                                                                                                                     25       was going             on.            know            he      was holding                 his       neck.      And      then        when
              help refresh
                                                                     --                                                                                                                        I
25       it
                                        your memory

             COURT
320TH DISTRICT                                                                                                                                                                                                                                                   Page       235         -
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POTTER COUNTY TEXAS
 9

10
     --2
THE STATE OF TEXAS
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vs- TRAVIS TREVINO RUNNELS




     1




     3


     4

     5

     6

     7

     8
          I




         on
              started


         reaching

         way and



         my arm




         around

         what
                 working.

                 Q.

                 A.




                      Im
                          I
                               stuff




                               tell
                                     And




                          What did you

                              told


                              here

                                saying
                                         Filed 01/17/13


                               seeing blood

                               towards




                                         me to
                                            And


                                            him

                                            no Im
                                                      me like
                                               like that.


                                                then a

                                                          keep

                                                          I




                                                          Man

                                                          So
                                                              told




                                                               not
                                                                    it




                                                                   --




                                                                   I
                                                                         on

                                                                         him
                                                                            was

                                                                             for




                                                                            folks


                                                                            fixing


                                                                        grabbed
                                                                                      like


                                                                                      help and




                                                                    guy named Christopher

                                                                                 working keep
                                                                                      --




                                                                         okay go ahead.

                                                                                           getting


                                                                                               to

                                                                                                --
                                                                                                    --




                                                                                                     keep
                                                                                                          it   was

                                                                                                                   I




                                                                                                               their


                                                                                                                   on
                                                                                                                       just
                                                                                                                            like




                                                                                                                            on




                                                                                                                             necks


                                                                                                                            working
                                                                                                                                       he




                                                                                                                                       Fuller


                                                                                                                                      working
                                                                                                                                             was

                                                                                                                                      moved out of




                                                                                                                                             cut
                                                                                                                                                       grabbed

                                                                                                                                                            just




                                                                                                                                                       you know
                                                                                                                                                                    Page



                                                                                                                                                                     the




                                                                                                                                                                         keep
                                                                                                                                                                                239



                                                                                                                                                                                       2

                                                                                                                                                                                       3

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                                                                                                                                                                                       5

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                                                                                                                                                                                       9

                                                                                                                                                                                      10
                                                                                                                                                                                           1
                                                                                                                                                                                               you




                                                                                                                                                                                               by that



                                                                                                                                                                                               door




                                                                                                                                                                                               tell
                                                                                                                                                                                                       know
                                                                                                                                                                                                      Q.

                                                                                                                                                                                                      A.
                                                                                                                                                                                                                Who
                                                                                                                                                                                                                Chris




                                                                                                                                                                                               where the incident
                                                                                                                                                                                                                    --




                                                                                                                                                                                                           indicating
                                                                                                                                                                                               Mr. Williams and

                                                                                                                                                                                                       everybody

                                                                                                                                                                                               stuff like


                                                                                                                                                                                                      Q.        Everybody
                                                                                                                                                                                                                         we
                                                                                                                                                                                                                           he

                                                                                                                                                                                                                            is




                                                                                                                                                                                                                         that.
                                                                                                                                                                                                                                  start


                                                                                                                                                                                                                                    he
                                                                                                                                                                                                                               Fuller




                                                                                                                                                                                                                                    Get
                                                                                                                                                                                                                                            TRIAL ON
                                                                                                                                                                                                                                  Page 64 of 67 PageIDTHE

                                                                                                                                                                                                                                            --




                                                                                                                                                                                                                                            happened

                                                                                                                                                                                                                                          and then

                                                                                                                                                                                                                                            I




                                                                                                                                                                                                                                        respond
                                                                                                                                                                                                                                                think
                                                                                                                                                                                                                                                       2746MERITS




                                                                                                                                                                                                                                            and Mr. Runnels

                                                                                                                                                                                                                                 took a couple
                                                                                                                                                                                                                                                              2005


                                                                                                                                                                                                                                                  and he followed




                                                                                                                                                                                                                                                              I


                                                                                                                                                                                                                                                             it
                                                                                                                                                                                                                                                                  of steps

                                                                                                                                                                                                                                                                    but going

                                                                                                                                                                                                                                                                   think

                                                                                                                                                                                                                                                                   was
                                                                                                                                                                                                                                                                               I
                                                                                                                                                                                                                                                                                OCTOBER 26




                                                                                                                                                                                                                                                                             Captain

                                                                                                                                                                                                                                                 on the floor get on the floor and



                                                                                                                                                                                                                                                             to    that
                                                                                                                                                                                                                                                                                     seen
                                                                                                                                                                                                                                                                                         me


                                                                                                                                                                                                                                                                                     followed

                                                                                                                                                                                                                                                                                     like

                                                                                                                                                                                                                                                                                           back
                                                                                                                                                                                                                                                                                                     and he




                                                                                                                                                                                                                                                                                                    the


                                                                                                                                                                                                                                                                                                    Davis
                                                                                                                                                                                                                                                                                                            me.

                                                                                                                                                                                                                                                                                                    towards the back

                                                                                                                                                                                                                                                                                                           this way


                                                                                                                                                                                                                                                                                                          managers

                                                                                                                                                                                                                                                                                                                  come
                                                                                                                                                                                                                                                                                                                        Page




                                                                                                                                                                                                                                                                                                                       And then


                                                                                                                                                                                                                                                                                                                             by


                                                                                                                                                                                                                                                                                                                             in
                                                                                                                                                                                                                                                                                                                                   241




                                                                                                                                                                                                                                                                                                                                   the




                                                                                                                                                                                                                                                                                                                                   and




11               Q. What                    did      you           do       then                                                                                                      11              A.       Yes         sir.


12               A.       I   grabbed               two            of    the      --   the           boot deals                   that       they          --                         12              Q.        Including              yourself




--19
13       they     heavy                 like        if    --
                                                               they         real       heavy.                  I
                                                                                                                   grabbed               two of                                       13              A.       Yes         sir.


                                                                                                                                                                                      14                        Did you                     Mr. Runnels                  do anything
14       those and               I      put    my back                      up    against the wall                                because              I    really                                    Q.                            see                                                                   else after         you
15       didnt        know               if    it    was           like       one person                       doing             it   or a       lot   of                             15       saw him wiping                          the knife            off

16       people            so       I   wanted                to    secure myself                              so      I
                                                                                                                           put        my     back           up                        16              A.       Put a jacket                 on     because              --   just        put a jacket                 on.    I


17       against           the       wall.                                                                                                                                            17       think           it   -- I    dont know                  if    some blood was on his clothes or

18                                   When            I    started             seeing            what           was going on                            I   came                       18       not.        I    know           he


         on     back          -- I
                                        came up towards                                the          front          and           sat    in   the middle                               19                                 MS.        HAMILTON                        Objection                       thats nonresponsive.

20       of    the    table.                                                                                                                                                          20                                 MR.        YOW               Yeah.

21               Q.       Mr. Wiley                   goes             by you.                 Now             lets         tam your                                                  21                                 THE COURT                          Sustained.

22       attention             to       Mr. Runnels.                          Do you                 start         watching                 him some                     at           22              Q.       BY          MR. SIMS What                            else           if    anything did you                        see

23       that    point                                                                                                                                                                23       him     do
24               A.       Yeah.               He was washing                               --       he got a               cloth        or       some                                 24              A.       We        all     got    on our knees and waited.                                      And then              they

25       tissue       or a towel or something                                              I    dont know                         exactly what                      it                25       told    us to stick our hands out.                                       The officers                  all    came in

                                                                                                                                                                    Page        240                                                                                                                                    Page        242

 1
         was         he       was washing                          the      knife and                    stuff like               that.                                                I       told us to stick                     our hands out.                      They was looking                          at

 2               Q.       Okay.               What happened                            then              after         that                                                            2       everybodys                      hands and stuff like                          that.


 3               A.    Well              after        that             after      they got Mr. Wiley                                     out                                           3              Q.       Okay.             Did you           see       Mr. Runnels                       hands

 4       everybody                   ran       him out                  the      officer             got on                the        intercom             and                         4              A.       Yes         sir.



 5       said        Turn               your knives                      in       and           stuff like                  that.        So       after         I                      5              Q.       Tell us            about those.

 6       seen everybody                         going and                     turning                their         knives              in    I sat          -- I                       6              A.       I    dont know                   exactly       which           hand             it    was.     I   know he

 7       sat in the            middle               in        a chair            me            and        this      guy was                 talking.                                   7       had a cut because                        I   gave him some                      tissue               out of   my pocket              to

 8       Then        Mr. Runnels                          came over and                              sat       with us and                   stuff          like                       8       put    on his              cut.      Thats         all    I    can       remember                    exactly        about his

 9       that.                                                                                                                                                                         9       hands.


10               Q. Sat             down            with           you                                                                                                                10                                 MR.        SIMS           Pass           the   witness Your Honor.

11               A.    Yes              sir.                                                                                                                                          11                                            CROSS-EXAMINATION
12               Q.    What happened                                   then                                                                                                           12       BY-MS. HAMILTON
13               A.    I      asked            him you know why                                           --
                                                                                                               you know why                                he cut                     13              Q.       Mr.        Yow          you       --   did     you say youre                          still   in the


14       Mr.     Wiley why he would do                                                that.              He said                 It could              have         been              14       Clements                  Unit

15       any offender or inmate                                         you know                         as long as they                         was white.                           15              A.       Yes maam.

16               Q. What happened                                      after      that                                                                                                16              Q.       Okay.             And how              long did           you know                     Travis

17              A.     I      said       --
                                               I    told       him           if   he die                 that       he going                to    --                                  17              A.       Im not sure exactly                           how        long         I   knew             him.


18       you know                    that      he could                  get      a    death              --
                                                                                                               you know                      he could               get               18              Q.       A day a week
19       the    death penalty                        if       he die you know.                                                                                                        19              A.       Some months.

20               Q.    What happened                                   then                                                                                                           20              Q.       Several            months

21              A.     He        told          me that                 a dead          man cant                         talk.                                                         21              A.       Several            months.             Im not            sure       if     it    was        quite      a year


22               Q. After that                       what              happened Mr.                            Yow                                                                    22       yet but some months.

                A.                                                     --   because                      seen everybody                                                               23              Q.       Okay.             How        long      had you known                            Mr. Wiley
23                     I
                              got       up      started                                              I                                            going

24       every which                    a     way             and        Im       just trying                      to      make sure               --
                                                                                                                                                            you                       24              A.       Since        Ive been working                            in the       boot factory                     and    Im
25       know Im                    trying          to        get      away.               I   just        got         up        started          moving                              25       not sure             how          long     Ive been working                           in the boot                 factory.


             COURT                                                                                                                                                                                                                                                                                     239                         242
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POTTER COUNTY TEXAS
THE STATE OF TEXAS                     Multi-PageTM                                                                                                                                                 TRIAL ON THE MERITS
  Case 2:12-cv-00074-D-BR Document 84-2 Filed 01/17/13
vs. TRAVIS TREVINO RUNNELS
                                                                                                                                                                                          Page 65 of 67 PageID 274726 2005
                                                                                                                                                                                                         OCTOBER
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         1
                    Q.       Longer             than       youve known Mr. Runnels                                        though                       I    sic       When         things happen                     in the      penitentiary                    you put your
     2             A.        Yes maam.                                                                                                                 2    wall against the back                         sic        until      you know                 whats going on.

     3              Q.       Okay.             In the time that                     you had known                    Travis           had              3         Q.     Okay.            And         he    was        trying         to       prevent          you from           doing

     4
             you observed                      him to be                in fights             with other people                                        4    that

     5             A.        Have          I   seen        him fight anybody                                                                           5         A.     Yes.        It    was        like    --      when he grabbed                          me      it   was

     6             Q.        Yes.                                                                                                                      6    like   you know                   he probably                  knew what                 was going              on.       He       --   he

     7             A.        No maam.                                                                                                                  7   was     telling     me         Just        keep           working                  because           he seen       the


     8             Q.        Did he seem to get along                                    with      the people             that   you                   8   officer      grab       me --        trying          to    grab       for       me.        He was like Keep

     9       saw him with                         When            you saw him did he seem to be getting                                                9   working.          But          I   didnt         know            exactly            was       it   more than one

 10          along        with         people                                                                                                     10       person       or not so              Im         like    trying         to get         away.

 11                A.        Inmate-wise                    as far as              --   he    --   he    wasnt        getting         in          11             Q.   Okay.              After       this       occurred              you       said          that


12           any    physical                   conflicts with                 anybody               but    mentally he was                   --   12       Mr. Runnels              put a jacket                 on
13                 Q.        Mentally             he        was                                                                                   13             A.   No       I   said        --
                                                                                                                                                                                                     no     I    said Mr. Runnels                         put a jacket
                             --
14                 A.             having          conflict.                                                                                       14       on    like   when we was headed                                  like      --
                                                                                                                                                                                                                                              just   a   little      bit    before

15                 Q.        Okay.             Now          in    your        statement                 you       said that      --   or          15       the   officers      came            in.



                             you dont say that Mr. Runnels and Mr. Wiley
16                   --
             you                                                                                                                      were        16             Q.   Yes          sir.



17           arguing                                                                                                                              17             A. After          I     walked           away.

18                 A.     No maam                       I   dont             say    that.                                                         18             Q. After Mr. Wiley                         had         left    the       building

19                 Q. But you do say that Mr. Wiley was                                                       arguing       with                  19             A.   After the other two                         officers            was       getting
                                                                                                                                                                                                                                                                 --
                                                                                                                                                                                                                                                                      about           a

20           someone                                                                                                                              20       second       before they walked                           in.



21                 A.     Yes          I   did     say          that.                                                                             21             Q.   And      Mr. Runnels                      put a jacket                   on
22                 Q.     Who          was he arguing                         with                                                                22             A.   Yes maam.
23                 A.     I   said         -- I   said an               inmate          was        arguing         with                           23             Q.   And      then           did he        comply with what                             he    was asked              to       do
24           Mr. Wiley                 and another                    officer           if    Im not       mistaken.                              24             A.   Yeah          he applied               --
                                                                                                                                                                                                                  yeah he complied.

25                 Q.     Okay.                                                                                                                   25                         MS.          HAMILTON                             Ill   pass        the     witness            Judge.


                                                                                                                                 Page       244                                                                                                                                           Page 246
     1             A.     But not Travis                         Runnels.                It   was       another      inmate           I                1                     MR. SIMS                            No        other questions                           Your Honor.
 2           dont know                  his      name.                                                                                             2                         THE COURT Okay                                               Mr.        Yow             you can step down.




--11
 3                 Q.     And how                 long before this incident
                                                                                                          --      before this did                  3       Thank        you very  much                           sir.



 4           you    see       Mr. Wiley arguing                              with        the other         inmate                                  4                         MR. SIMS May we                                          approach
 5                 A.     Excuse               me      I    couldnt             hear you.                                                          5                         THE COURT Sure.
 6                 Q.    Im         sorry.            How          long before this happened                               did
                                                                                                                                  you              6                         At           the      bench on                 the      record

 7           see the inmate                     arguing           with        Mr. Wiley                                                            7                         MR. SIMS                           Thats            all       the witnesses                    we have                 for

 8                 A.    This          particular
                                                                 --   it   had been            about          I
                                                                                                                  guess     five                   8       the guilt/innocence                        stuff.            The rest of its going                                to       start


 9           or ten      minutes approximately                                      five or ten            minutes because                   I     9       the   punishment                   stuff         and         weve              got    them lined up to be here

10           thought          --   I   thought              the other inmate                       was going          to fight         one        10       in the morning.                     I
                                                                                                                                                                                                     mean            with        what they did

             of the officers that                       was arguing.                                                                              11                         THE           COURT Hes out                                        of witnesses                  for today.

12                 Q.    And why                  did       you         think       that                                                          12                         MR.           DURHAM Okay.                                         Thats            all right.                I   need

13                 A.    Because he was cursing                                     and stuff the inmate was                                      13       to get     my     afternoon                    nap        in.


14           cursing          and saying                all      kinds         of       stuff.                                                    14                         Open court
15                 Q.    Okay.             And         --       but     you didnt see Mr. Runnels                                doing            15                         THE COURT Okay                                               folks          this        is    one of those

16           that                                                                                                                                 16       times      where            regardless                of        the planning                  weve done weve                                   run

17                 A.    No maam.                                                                                                                 17       short of witnesses                        for the          day        so           were        going            to break             early

18                 Q.    Okay.             You         said that Chris                        Fuller     grabbed your                 arm         18       today.       Ill see           you         at nine              oclock              in the          morning.

19              A.       Yes maam.                                                                                                                19                        Please             remember                    what           I   told       you about

20                 Q.    Okay.             And what were                           --   when        he    grabbed your ann                        20       television        radio and the newspapers                                                 or allowing                 anyone to

21           what were you trying to                                  do                                                                          21       approach you                   and discuss                   anything                with you.

22              A.       Let me go.                         I   dont want him holding                                me.                          22                        Ill see             you at            900           in the morning.

23                 Q.    Okay.             What            --    where were you going                              when     he    grabbed         23                        10/26/05                      proceedings                     adjourned

24           your    arm                                                                                                                          24

                                                                        --
25              A.       I    was going                to get                put    my        wall       against      the back.                   25


320TH DISTRICT COURT                                                                                                                                                                                                                                 Page             243         -
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POTTER COUNTY TEXAS
THE  STATE
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                                         Filed 01/17/13                                                                                Page 66 of TRIAL ON THE
                                                                                                                                                  67 PageID 2748MERITS
vs_ TRAVIS TREVINO RUNNELS                                                                                                                           OCTOBER 26               2005

                                                                                                                          Page   247


  THE     STATE      OF    TEXAS




  COUNTY       OF    POTTER




           I      JILL     ZIMMER         Official          Court       Reporter       in    and      for     the




  320th        District        Court      of    Potter                        State    of    Texas           do
                                                             County




  hereby       certify         that      the    above       and    foregoing          contains          a    true




  above-styled
  and     correct         transcription            of     the     proceedings          in    the


               and    numbered           cause        all    of    which       occurred          in   open        court


  or    in chambers            and    were      reported          by    me.


           I   FURTHER         CERTIFY         that     this      transcription             of    the       record


  of    the    proceedings             truly      and     correctly           reflects       exhibits              if


  any      offered              the



                                                            _
                          by             respective          parties.


                                          this                                 of
           WITNESS        my hand                  the                  day


                                                   2006.




                               JILL      ZIMMER


                               Official         Court       Reporter


                               Certificate            Number       533


                                                   Date         12-31-2006
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320TH DISTRICT COURT                                                                                                                                  Page   247   -
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                                                                                               247


       THE   STATE     OF TEXAS

       COUNTY       OF POTTER




               I     JILL     ZIMMER     Official        Court Reporter    in and   for the

       320th       District     Court    of Potter       County State     of   Texas do

       hereby       certify     that    the    above     and foregoing contains     a   true




       above-styled
       and correct          transcription

                    and numbered
                                                 of the    proceedings in the

                                        cause all of which occurred in open court

       or in chambers           and were       reported    by me.

               I    FURTHER     CERTIFY that this transcription of the record

       of the proceedings              truly    and correctly reflects         exhibits    if


       any     offered        by the    respective       parties.

               WITNESS      my hand      this the             day   of

                                                 2006.




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                               Official Court Reporter
                               Certificate Number 533
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                               Amarillo Texas   79101
                               806 379-2372
